Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 1 of 296 PageID1#:
                                    1729
   1

   2    UNITED STATES DISTRICT COURT

   3    EASTERN DISTRICT OF NEW YORK
        ---------------------------------------X
   4    EARLINE SKATES,

   5                        Plaintiff,

   6               - against -

   7    INCORPORATED VILLAGE OF FREEPORT,

   8
                          Defendant.
   9    ---------------------------------------X

  10               DEPOSITION OF VICTORIA DINIELLI, taken by

  11    Plaintiff, pursuant to Notice, at the offices of

  12    Henry Law Group, P.C. 1597 Grand Avenue, Baldwin,

  13    New York, on Wednesday, January 4, 2017, commencing

  14    at 1:15 p.m., before Chandra D. Brown, a Registered

  15    Professional Reporter and Notary Public within and

  16    for the State of New York.

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 2 of 296 PageID2#:
                                    1730
   1

   2    A P P E A R A N C E S:

   3

   4                    HENRY LAW GROUP, P.C.
                        Attorneys for the Plaintiff
   5                    1597 Grand Avenue
                        Baldwin, NY 11510
   6                    By: CHAUNCEY D. HENRY, ESQ.

   7

   8
                        BEE READY FISHBEIN HATTER
   9                    & DONOVAN, LLP
                        Attorneys for the Defendant
  10                    170 Old Country Road
                        Mineola, NY 11501
  11                    By: DEANNA D. PANICO, ESQ.

  12    ALSO PRESENT:

  13           Earline Skates

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 3 of 296 PageID3#:
                                    1731
   1

   2                       IT IS HEREBY STIPULATED AND AGREED

   3         by and between the attorneys for the respective

   4         parties herein, that filing and sealing be and

   5         the same are hereby waived.

   6                       IT IS FURTHER STIPULATED AND AGREED

   7         that all objections, except as to the form of

   8         the question, shall be reserved to the time of

   9         the trial.

  10                       IT IS FURTHER STIPULATED AND AGREED

  11         that the within deposition may be sworn to and

  12         signed before any officer authorized to

  13         administer an oath, with the same force and

  14         effect as if signed and sworn to before the

  15         Court.

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 4 of 296 PageID4#:
                                    1732
   1                          Proceedings

   2               MR. HENRY:    The record reflects that we

   3         are seated here in the middle of the

   4         deposition.    Counsel showed up 30 minutes

   5         late -- instructed --

   6               MS. PANICO:    That's incorrect.

   7               MR. HENRY:    -- 40 minutes late.     She

   8         instructed her client, her witness to get up

   9         from the deposition on the grounds that she

  10         believes that the deposition cannot be

  11         videotaped, which I've never heard of in --

  12         I've never heard of this.       I've done dozens of

  13         depositions and they are all videotaped.

  14               Counsel now has, in my opinion, frustrated

  15         this process and has prevented us from moving

  16         forward.    We've been here on notice.      She's had

  17         this deposition notice.      We provided her an

  18         accommodation for her to get here and instead

  19         she shows up 40 minutes late and instructs the

  20         witness to leave the deposition.        At this

  21         point, we're going to seek judicial

  22         intervention and we will begin the record again

  23         based upon the outcome of that.

  24               (Whereupon, a short recess was taken.)

  25               THE COURT:    On the record.
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 5 of 296 PageID5#:
                                    1733
   1                          Proceedings

   2               So I understand from what I heard that

   3         there is an issue as to whether or not there is

   4         going to be a videographer at this deposition.

   5               Is that right?

   6               MR. HENRY:    Well, in part, Your Honor.

   7         There's two parts.

   8               THE COURT:    Did you notice the deposition

   9         as being taken by a videographer?

  10               MR. HENRY:    There is no videographer here,

  11         Your Honor.    That's what I wanted to explain to

  12         the Court initially.

  13               The issue here, Judge, this video -- and

  14         I'm looking for the precedent now, which I have

  15         but my server is acting up -- this is a video

  16         that's produced by our office for my purposes.

  17         This is a work product.      And the precedence in

  18         this area, based off of what I've done, and

  19         I've dozens of depositions this way, I'm able

  20         to keep this for my own usage, which doesn't

  21         require any notice because it's not a part --

  22         I'm not using it in terms of this litigation.

  23         In the event that I do, however, I would,

  24         obviously, have to go through the motions and

  25         produce that.     But this is entirely for my own
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 6 of 296 PageID6#:
                                    1734
   1                          Proceedings

   2         purposes.    It's no different than me placing a

   3         tape recorder here and recording it.

   4               As an attorney, I need to be able to

   5         understand and evaluate and analyze this

   6         witness' responses to my question.        This

   7         deposition is being recorded by stenographic

   8         means but I need it.      This is what I need.

   9         This is a tool of my trade that I've used in

  10         trials that I've done in the Eastern District,

  11         and also that I've used in other depositions

  12         that I've had.

  13               We don't have a videographer here that's

  14         videotaping this, that's going to produce this

  15         as a certified representation of this.         This is

  16         me -- our office activating a video for my

  17         usage so that I can prepare and get ready for

  18         trial in this case, Your Honor.

  19               Again, I'm bringing up the case that I

  20         have.   I'm just having some issues.       But this

  21         is a case that I've looked into before.          That's

  22         how I even learned that I was able to do it,

  23         because of the case.      So that's our position.

  24               And to have counsel get up before we even

  25         make a record of our respective positions and
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 7 of 296 PageID7#:
                                    1735
   1                          Proceedings

   2         instruct the witness not to even be sworn in,

   3         and then to storm out of my office and then

   4         tell the witness that she doesn't have to be

   5         here, right, to then also having us wait while

   6         we call the Court, you know, that to me is no

   7         justification whatsoever for this.        If there's

   8         a dispute, she has a legitimate concern that

   9         the video was there, then we raise it like

  10         professionals and we make or record and we call

  11         the Court as I did.      To me, I've never seen

  12         that before.     I've never seen that.

  13               MS. PANICO:    Good afternoon, Your Honor.

  14               If I may just address what Mr. Henry said.

  15         The reason that I needed to leave the office

  16         was because I needed to make a phone call to my

  17         office to find out whether or not the Notice of

  18         Deposition that Mr. Henry sent to my office,

  19         whether or not it indicated whether or not the

  20         deposition was going to be recorded by

  21         stenographic means or audio visual.

  22               Mr. Henry made the misrepresentation to me

  23         while we were sitting here that his notice

  24         indicated that --

  25               MR. HENRY:    I did not say that.     That's
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 8 of 296 PageID8#:
                                    1736
   1                          Proceedings

   2         why we have the video recording.        I'll play it

   3         back.    I did not tell you that.

   4               MS. PANICO:    Mr. Henry had indicated that

   5         the Notice of Deposition indicated that it was

   6         supposed to be recorded by stenographic and

   7         audio visual means.      I asked him to produce a

   8         copy of the Notice of Deposition to me, which

   9         he refused to do.

  10               MR. HENRY:    That's not true.     I did not

  11         give -- if you're going to tell the truth, tell

  12         the truth.    I did not give you a copy.

  13               MS. PANICO:    I didn't interrupt you,

  14         Mr. Henry.

  15               THE COURT:    Counsel, stop.

  16               One question.     The Notice of Deposition,

  17         did it mention videographer at all?

  18               MR. HENRY:    No, Your Honor, it did not.

  19               THE COURT:    Okay.

  20               In that case, the ruling is this:        The

  21         deposition will go forward by stenographic

  22         means.    There will be no videotaping of the

  23         deposition.

  24               Get on with it.

  25               MR. HENRY:    Your Honor, may I respond?
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 9 of 296 PageID9#:
                                    1737
   1                          Proceedings

   2               THE COURT:    You've already responded.

   3         Thank you.

   4               MR. HENRY:    Well, I mean, at this point,

   5         I'm going to have to make an application,

   6         Judge.

   7               THE COURT:    Do what you want to do.

   8               MR. HENRY:    I'm asking you.     I mean, in

   9         light of the Court's ruling, I'm going to have

  10         to make an application pursuant to Rule 60.

  11         And also with respect to the motion for the

  12         deposition.    I mean, we'll -- there's no way

  13         for me to move forward without the judge ruling

  14         on that application because, again, I have the

  15         case law that I'm looking up now that would

  16         provide the Court with clarity as to the

  17         purpose of this.     And for the Court to issue a

  18         decision without that, I think is tough.

  19               THE COURT:    You're saying you have a case

  20         law, but you don't have it.       I don't know what

  21         you're talking about.

  22               Here's what I'll do.      Why don't we take 15

  23         minutes and see if you could find a case for me

  24         and I'll hear back from you in 15 minutes.

  25               MR. HENRY:    Thank you, Judge.
                                                                            10 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 10 of 296 PageID
                                     1738
   1                          Proceedings

   2                MS. PANICO:    Your Honor, if I may, I

   3          didn't have the opportunity to brief this

   4          matter and to look up cases prior to today

   5          because Mr. Henry didn't provide me with prior

   6          notice.

   7                THE COURT:    I understand that.

   8                MS. PANICO:    I'm also at Mr. Henry's

   9          office.   So I --

  10                THE COURT:    I get it.   I understand all of

  11          that, but I'll hear from you in 15 minutes.

  12                MR. HENRY:    Thank you, Judge.

  13                (Whereupon, a short recess was taken.)

  14                MR. HENRY:    On the record.

  15                Let the record reflect that we just had a

  16          substantive discussion with the Court.        I

  17          agreed that I would not be recording this

  18          deposition.    I agreed that our office will not

  19          record this deposition at this point in time.

  20                Furthermore, during the discussion that we

  21          had with the Court, I made it clear that the

  22          parties agreed to stipulate to the continuation

  23          of depositions that were noticed months ago

  24          outside of the discovery period, and if there's

  25          any issue with respect to any -- the recording
                                                                            11 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 11 of 296 PageID
                                     1739
   1                          Proceedings

   2          of those depositions at a later date, then we

   3          can cross that bridge and raise our objections

   4          when we get there.

   5                 As of today, the Court gave me my options,

   6          either to proceed without recording or set a

   7          briefing schedule.     I am proceeding without

   8          recording.

   9                 Counsel wants me to turn off our

  10          conference room computers.      I am not doing

  11          that.   I'm making a representation to her that

  12          the recording -- that it's not recording.          I

  13          mean, I don't know what else she wants me to

  14          say.    When she stormed up and went out of

  15          conference room, there's a button here that was

  16          pressed to stop it because she left.        Now when

  17          she came back, it was not reactivated.

  18                 Counsel may refer to certain conversations

  19          that we had in the beginning, yes, those

  20          conversations were picked up because we were

  21          getting ready to swear this witness in before

  22          the attorney asked the witness to leave and

  23          before she herself left.

  24                 So we don't see any issues here.      The

  25          recording is off.     We're not recording it and
                                                                            12 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 12 of 296 PageID
                                     1740
   1                          Proceedings

   2          we'll move forward.

   3                 And the time now is 2:45.

   4                 MS. PANICO:   If I may, the audio recording

   5          device is still on.

   6                 MR. HENRY:    It's not on.   This is a

   7          conference room camera.      This is a conference

   8          room.

   9                 MS. PANICO:   Mr. Henry, I didn't interrupt

  10          you.

  11                 MR. HENRY:    It's a power -- I'm telling

  12          you what it is.      This is my office and this

  13          light is the power light on this particular

  14          device that's connected to this.

  15                 MS. PANICO:   It may be your office but I

  16          have a right to make a record.

  17                 MR. HENRY:    Make a record but we got to

  18          go.    It's not recording.    I made that

  19          representation to you.

  20                 MS. PANICO:   You continue to interrupt me

  21          while I'm trying to make my own record --

  22                 MR. HENRY:    Go ahead.

  23                 MS. PANICO:   -- which is that the audio

  24          recording device which Mr. Henry has agreed not

  25          to use is still on.     There's a blue light on
                                                                            13 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 13 of 296 PageID
                                     1741
   1                          Proceedings

   2          and it's directly pointing at the witness.

   3          I've asked Mr. Henry to turn it off.

   4                MR. HENRY:    It is off.

   5                MS. PANICO:    He has refused to do so.

   6                MR. HENRY:    The recording is off.     I'm

   7          making a representation to you it is off.         You

   8          want me to it shut down my computer.        I'm not.

   9                MS. PANICO:    I want you to answer whether

  10          or not there's a power button on the --

  11                MR. HENRY:    It is not being recorded.       My

  12          representation to you is that it is not being

  13          recorded.    You cannot direct me how my IT works

  14          and what to shut down.      It's not recording.

  15                MS. PANICO:    If it has a power button --

  16                MR. HENRY:    There is no power button.

  17                MS. PANICO:    I've asked you several times

  18          and you haven't told me that.

  19                MR. HENRY:    Can we please bring the

  20          witness in.

  21                There is no power button on it.       What are

  22          you doing?    There's no power button on it.        Why

  23          would I tell you -- there's no power button on

  24          it.

  25                MS. PANICO:    There's no way this could
                                                                            14 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 14 of 296 PageID
                                     1742
   1                          Proceedings

   2          just be unplugged?

   3                MR. HENRY:    No.   It's not recording.

   4                MS. PANICO:    So why don't we point it at

   5          you then?

   6                MR. HENRY:    No.   We leave it alone.     It's

   7          not recording.

   8                MS. PANICO:    Then don't point it at my

   9          witness.

  10                MR. HENRY:    Anyway, can you please bring

  11          the witness in.     It's not recording.

  12                MS. PANICO:    If you don't agree --

  13                MR. HENRY:    I'm going to call the Court.

  14                Are you not bringing her in?

  15                I represented to you now six times on the

  16          record --

  17                MS. PANICO:    It's clearly on.

  18                MR. HENRY:    But it's not recording.

  19                MS. PANICO:    Why don't you just point it

  20          at yourself then.

  21                MR. HENRY:    It's not recording.

  22                MS. PANICO:    You want to call the Court,

  23          then call the Court again.

  24                MR. HENRY:    I'm not.   It's not recording.

  25                MS. PANICO:    I don't care.    Call the Court
                                                                            15 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 15 of 296 PageID
                                     1743
   1                      V. Dinielli - 1/4/17

   2          again.   It's clearly still on.      You're not

   3          agreeing to turn it the other way.

   4                MR. HENRY:    Okay.   Whatever you say.

   5                (Whereupon, a short recess was taken.)

   6    V I C T O R I A      D I N I E L L I, called as a

   7          witness, having been first duly sworn by a

   8          Notary Public of the State of New York, was

   9          examined and testified as follows:

  10    EXAMINATION BY

  11    MR. HENRY:

  12          Q     Ms. Dinielli, please state your full name.

  13          A     Victoria Dinielli.

  14          Q     And your current address, please.

  15          A     50 Dartmouth Street, Rockville Centre.

  16          Q     And what is your educational background?

  17          A     Four years college.

  18          Q     All right.

  19                Can you provide me a little bit of details

  20          about that, please?

  21          A     I just have four years.      I don't have a

  22          diploma.

  23          Q     Four years.    Do you have an actual degree

  24          from that college?

  25          A     No, I don't.
                                                                            16 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 16 of 296 PageID
                                     1744
   1                      V. Dinielli - 1/4/17

   2          Q     And what college did you attend?       What

   3          were the years?

   4          A     St. John's University, '77 to '81.

   5          Q     Okay.

   6                And what was the degree program that you

   7          were pursuing?

   8                MS. PANICO:    Objection to form.

   9          Q     You may answer.

  10                MS. PANICO:    You can answer, if you

  11          understand.

  12          A     Could you repeat the question, please?

  13                MR. HENRY:    May I have a readback, please.

  14                (Whereupon, the requested record was read

  15          back by the Court Reporter.)

  16          A     I believe it was a bachelor's of science.

  17          Q     Okay.

  18                And what year was that, what year of

  19          attendance?

  20          A     '77 to '81.

  21          Q     Okay.

  22                And I know I jumped right into it, but I

  23          wanted to just lay a little bit of ground

  24          rules.

  25                Have you ever been in a deposition before?
                                                                            17 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 17 of 296 PageID
                                     1745
   1                      V. Dinielli - 1/4/17

   2          A     I don't believe so.

   3          Q     Have you ever been in a room where you

   4          were asked questions where there was a Court

   5          Reporter?

   6          A     I have been in a deposition before, yes.

   7                MS. PANICO:    Just let him finish the

   8          question before you answer.

   9                THE WITNESS:    I'm sorry.

  10    BY MR. HENRY:

  11          Q     So your testimony is that you were in a

  12          deposition before?

  13          A     Yes, I believe so.

  14          Q     You testified a few moments ago that you

  15          didn't believe that you were in a deposition

  16          before.

  17          A     I was -- you know, it's a lot of years.

  18          Q     Do you usually give inaccurate testimony

  19          under oath?

  20                MS. PANICO:    Objection to form.

  21          Q     You can answer my question.

  22          A     Yes.

  23          Q     You usually give inaccurate information?

  24          A     I thought you said "an accurate."

  25                No.
                                                                            18 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 18 of 296 PageID
                                     1746
   1                      V. Dinielli - 1/4/17

   2          Q     Is there a particular reason why you said

   3          you hadn't been at a deposition before although

   4          you had?

   5                MS. PANICO:    Objection to form.

   6                MR. HENRY:    Counsel, speaking

   7          objections -- your objections are noted, but

   8          speaking objections, there's no need for it.

   9          Q     During the course of this deposition, you

  10          may hear your attorney say -- note objections.

  11          At no point in time should you not answer my

  12          question unless your attorney instructs you

  13          specifically not to answer my question.

  14                Do you understand?

  15          A     Yes.

  16          Q     Okay.

  17                So with respect to the question that I

  18          asked you as to whether or not you've been in

  19          depositions before, the first response you gave

  20          was an inaccurate one; isn't that right?

  21                MS. PANICO:    Objection to form.

  22          Q     Isn't that right?

  23          A     The first a response was inaccurate.

  24          Q     So do you usually give inaccurate

  25          responses after taking an oath?
                                                                            19 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 19 of 296 PageID
                                     1747
   1                      V. Dinielli - 1/4/17

   2                MS. PANICO:    Objection to form.

   3          A     I corrected myself and after thinking

   4          about it.     I believe I was in a deposition

   5          before.

   6          Q     Okay.

   7                MS. PANICO:    Let me just take a break with

   8          my client.

   9                MR. HENRY:    I'm sorry.   One moment.     No.

  10          There's open questions, number one.

  11                MS. PANICO:    There is no pending question.

  12                MR. HENRY:    There's no break.     How could

  13          you take a break with your client?        We're in

  14          the middle of a deposition.

  15                MS. PANICO:    Doesn't matter.

  16                MR. HENRY:    Let record reflect that

  17          counsel now is standing up and instructing her

  18          client to, I guess, leave the conference room

  19          while I'm in the middle of my questioning.         I'm

  20          going to have no choice at this point but to

  21          call the Court.

  22                MS. PANICO:    We're taking a break.

  23                MR. HENRY:    We're not taking a break.

  24          We're on the record now.      We just started.

  25          We've only been on the record not even four
                                                                            20 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 20 of 296 PageID
                                     1748
   1                      V. Dinielli - 1/4/17

   2          minutes.   I'm going to call the Court.

   3                MS. PANICO:    Fine.   I'm trying to clarify

   4          your record to make it clear for you.

   5                MR. HENRY:    You can't coach her.

   6                MS. PANICO:    Go ahead then.    I'm not going

   7          to bother the Court again.

   8                MR. HENRY:    Let the record reflect that

   9          within the first four minutes of this

  10          deposition counsel wanted to take a break, I

  11          guess to go out and give her client some

  12          instruction on how to answer my questions.

  13                MS. PANICO:    I object to Mr. Henry's

  14          misrepresentation as to whether or not I was

  15          going to coach my client or not coach my

  16          client.    I ask that he keep his opinions and

  17          personal beliefs to himself rather than

  18          disrupting and destroying the record with what

  19          he believes and what he doesn't believe.

  20                MR. HENRY:    May we move forward now,

  21          please.

  22    BY MR. HENRY:

  23          Q     So with respect to this deposition, the

  24          deposition that you were in before, can you

  25          describe the nature of that deposition?
                                                                            21 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 21 of 296 PageID
                                     1749
   1                      V. Dinielli - 1/4/17

   2          A     I don't recall.    I don't recall.

   3          Q     How many times were you in a deposition?

   4          A     I'm not sure.

   5          Q     Well, when was the last time you were in a

   6          deposition?

   7          A     I don't even know if it was a deposition.

   8          I'm not --

   9          Q     Let the record reflect that you've now

  10          within a matter of five minutes given three

  11          different versions.

  12                MS. PANICO:    Objection to Mr. Henry's

  13          misrepresentation.

  14          Q     You said that you weren't in one, then you

  15          said that you were in one, and now you're

  16          saying --

  17                MS. PANICO:    Objection to Mr. Henry's

  18          misrepresentation of Ms. Dinielli's testimony.

  19          A     I'm not sure I was --

  20          Q     Did you testify earlier that you didn't --

  21          you don't know if -- you were not in a

  22          deposition before?

  23          A     I may or may not have been.      I'm not quite

  24          sure.

  25          Q     I see.
                                                                            22 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 22 of 296 PageID
                                     1750
   1                      V. Dinielli - 1/4/17

   2                Then you testified again that you were in

   3          a deposition, right?

   4          A     I'm not sure if I was.

   5          Q     And then you testified just a few moments

   6          ago that you are now not sure if you even were

   7          in a deposition, right?

   8                MS. PANICO:    Objection to Mr. Henry's

   9          representations of what my client testified to.

  10          Q     What's your current occupation?

  11          A     I'm the manager of the Freeport Recreation

  12          Center.

  13          Q     How long have you been in that position?

  14          A     Seven years.

  15          Q     And what was your title before that?

  16          A     I was a manager of a private company.

  17          Q     So is the course of your employment with

  18          Freeport limited to those seven years that you

  19          served as a manager?

  20          A     Yes.

  21          Q     What was the private company that you were

  22          with prior to --

  23          A     Sportime in Lynbrook.

  24          Q     Okay.

  25                Is that the only position that you
                                                                            23 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 23 of 296 PageID
                                     1751
   1                      V. Dinielli - 1/4/17

   2          maintained while employed at Freeport?

   3          A     Yes.

   4          Q     And what are some of your responsibilities

   5          in that position?

   6          A     I manage the facility.     I manage the

   7          people.     I run the programs; rent the space;

   8          make sure the facility is clean and maintained;

   9          and I bring new programs and activate new -- I

  10          activate new programs.

  11          Q     Has your responsibilities been the same

  12          over the course of this -- of that time in

  13          Freeport or have they changed?

  14          A     The same.

  15          Q     Are you under the influence of any

  16          medication or any other substance at this point

  17          that may affect your ability to tell the truth

  18          here?

  19          A     No.

  20          Q     Do you have any problems recalling or

  21          remembering events?

  22                How would you say your memory is?

  23          A     Average.

  24          Q     What would you define as "average"?

  25          A     I could forget things.     That's possible.
                                                                            24 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 24 of 296 PageID
                                     1752
   1                      V. Dinielli - 1/4/17

   2          Q     How often do you forget things?

   3          A     Not very often.

   4          Q     So for the most part, you recall and

   5          remember everything?

   6                MS. PANICO:    Objection to form.

   7          Q     That's right?

   8          A     I remember today.     I remember yesterday.

   9          I may or may not remember time past.

  10          Q     Do you know why you're here today?

  11          A     Yes, I do.

  12          Q     And why is that?

  13          A     Ms. Skates has a lawsuit with the Village.

  14          Q     What do you understand about that lawsuit

  15          with the Village?

  16          A     I understand that Ms. Skates was -- she

  17          was in my employment.      She was terminated and

  18          she is fighting that.

  19          Q     Why are you here?

  20          A     I was her manager.

  21          Q     How did you learn of today?

  22          A     I was contacted by our legal counsel.

  23          Q     And had there ever been any requests made

  24          upon you to appear for a deposition any time?

  25          A     I don't understand the question.
                                                                            25 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 25 of 296 PageID
                                     1753
   1                      V. Dinielli - 1/4/17

   2          Q     Were you ever advised, prior to today,

   3          that you would be required to be here to be

   4          deposed?

   5          A     Prior to today?

   6          Q     Yes.

   7          A     No.

   8          Q     When was the first time you learned that

   9          you needed to be here to be deposed today?

  10          A     We had a schedule of about -- maybe about

  11          a month ago and then it was -- the date was

  12          changed to today.

  13          Q     And prior to that date change from a month

  14          ago, were you ever provided with any dates with

  15          any other earlier dates?

  16          A     Yes.

  17          Q     Okay.

  18                Were there any reasons why you didn't

  19          appear for those dates?

  20                MS. PANICO:    Can you specify the dates?

  21          Q     You may answer.

  22          A     I don't know what the reasons are.

  23          Q     Was there ever any reason that you

  24          provided why you were unavailable for any of

  25          the previous dates?
                                                                            26 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 26 of 296 PageID
                                     1754
   1                      V. Dinielli - 1/4/17

   2          A     No.   No.

   3          Q     So how did you learn that those previous

   4          dates were cancelled?

   5                MS. PANICO:    Objection to form.

   6          Q     You may answer.

   7          A     I got a phone call last week asking if I

   8          could come today.     I said, yes.

   9          Q     Prior to today for the deposition that

  10          were -- the dates that you were given, that you

  11          testified that you had earlier, did you ever --

  12          A     No.

  13          Q     -- cancel?

  14                MS. PANICO:    Objection to form.

  15          A     No.   No.

  16          Q     The decision to cancel or not appear for

  17          those depositions, was that your decision?

  18          A     No.

  19                MS. PANICO:    Objection to form.

  20                MR. HENRY:    Your objection is noted,

  21          Counsel.

  22                Let the record reflect that, again, just

  23          reminding you that frequent objections are

  24          perceived and can be perceived as oppressive.

  25          I would kindly ask that you limit your
                                                                            27 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 27 of 296 PageID
                                     1755
   1                      V. Dinielli - 1/4/17

   2          objections to those that are meaningful.

   3                MS. PANICO:    I'm going to continue to

   4          object until you specify what dates you're

   5          referring to because it's confusing to my

   6          client.

   7                MR. HENRY:    The speaking objections --

   8                MS. PANICO:    I'm allowed to make a record,

   9          Mr. Henry.

  10                MR. HENRY:    I'm going to call the Court.

  11          I'm calling the Court.      I'm not going to have

  12          the speaking objections.      This is not your

  13          deposition.

  14                (Whereupon, a short recess was taken.)

  15                MR. HENRY:    Back on the record.

  16                We had a discussion with the Court.        Each

  17          side raised their respective concerns.        From

  18          what I drew from the Court or the clerk from

  19          the Court's instruction was that Counsel does

  20          have the right to make objections and that

  21          those objections should be based on reasonable

  22          grounds, from my interpretation of it.

  23                With that said, we are going to be moving

  24          forward with the deposition.

  25                MS. PANICO:    Just for the record, that is
                                                                            28 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 28 of 296 PageID
                                     1756
   1                      V. Dinielli - 1/4/17

   2          Mr. Henry's interpretation of the court

   3          conference.    I don't think it's necessary to

   4          put my beliefs on the record.

   5                Let's just move forward.

   6                MR. HENRY:    Okay.

   7    BY MR. HENRY:

   8          Q     So with respect to -- with respect to the

   9          reason why you're here today, were you provided

  10          with any documents to review?

  11          A     No.

  12          Q     Did you review any documents before coming

  13          here?

  14          A     I reviewed my own notes.

  15          Q     When you say your own notes, what do you

  16          mean you reviewed your own notes?

  17          A     I had a file at the time.

  18          Q     Were those notes provided to your

  19          attorney?

  20          A     Yes, they were back when.

  21          Q     Can you recall when?

  22          A     No.

  23          Q     When you say -- I'm sorry?

  24          A     No.   Go ahead.

  25          Q     You can finish.
                                                                            29 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 29 of 296 PageID
                                     1757
   1                      V. Dinielli - 1/4/17

   2          A     No.    Go ahead.

   3          Q     When you say your file, were these

   4          handwritten notes?

   5          A     Memos that were written.

   6          Q     When you say "memos," were they

   7          handwritten memos or were they typed up memos?

   8          A     Typed memos.

   9          Q     Okay.

  10                Were all of those -- are those maintained

  11          in your private file or are those maintained

  12          elsewhere?

  13                MS. PANICO:    Objection to form.

  14          A     They were in my private file and I submit

  15          then I gave copies to our Village legal

  16          counsel.

  17          Q     And your Village legal counsel, who was

  18          that?

  19          A     Howard Colton.

  20          Q     And when you say you gave copies to your

  21          counsel, how many pages were they, if you can

  22          recall?

  23          A     Give or take 20.

  24          Q     You said you looked at those today?

  25          A     Yes.    I did look at them this morning
                                                                            30 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 30 of 296 PageID
                                     1758
   1                      V. Dinielli - 1/4/17

   2          before I left the house.

   3                MR. HENRY:    At this time, I would like to

   4          call for the production of those documents and

   5          those records that the witness has testified

   6          that she looked at today.

   7                In light of the limited discovery

   8          schedule, Counsel, and the ease of accessing

   9          those records in that the witness testified she

  10          reviewed them today, would you have any

  11          objection in getting those to me sooner than

  12          later?

  13                MS. PANICO:    Those records have already

  14          been produced.

  15                MR. HENRY:    Well, I'm not sure if they

  16          have and I'm not sure if they are the same ones

  17          because, as this witness just testified, those

  18          records that she reviewed were records that

  19          were, in part, in her own file that she

  20          maintained and elsewhere, as she testified.

  21          And she also testified that she provided those

  22          records to someone other than you.

  23                So again, just to avoid any confusion, I

  24          know there were some initial productions made

  25          that contained the contents of Ms. Skates'
                                                                            31 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 31 of 296 PageID
                                     1759
   1                      V. Dinielli - 1/4/17

   2          file.   I believe that our demand is limited to

   3          those records that this witness testified she

   4          looked at today, which may include records that

   5          are in her own file, as she just testified to.

   6                So my question again is:      Would you have

   7          any objection with getting those to us in a

   8          relatively expedient matter?

   9                MS. PANICO:    I am not the individual who

  10          is being deposed here today; however, I will

  11          answer you the same way that I did previously,

  12          which is that those records have already been

  13          produced.

  14                MR. HENRY:    Okay.

  15                So my question is:     Will you, as you

  16          represent this witness here, and we're making

  17          that demand upon you as her counsel, how soon

  18          do you think you can get the documents that

  19          this witness claims she reviewed today?

  20                MS. PANICO:    Clearly you're not

  21          understanding my prior response.       Those records

  22          have already been produced.

  23                MR. HENRY:    Well, how would you know that

  24          if she said she looked at them today and gave

  25          them to someone other than you?
                                                                            32 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 32 of 296 PageID
                                     1760
   1                      V. Dinielli - 1/4/17

   2                MS. PANICO:    Because I already spoke --

   3          again, I'm not the witness here.       If you want

   4          to ask Ms. Dinielli --

   5                MR. HENRY:    We're making a document --

   6                (Counsel speaking simultaneously.)

   7                MS. PANICO:    I'm telling you that I've

   8          already produced the records.       Period.

   9                MR. HENRY:    Let the record reflect Counsel

  10          is raising her voice and grasping our table,

  11          conference room table.      But we're going to move

  12          forward, nevertheless.

  13                MS. PANICO:    Let the record reflect that I

  14          am not raising my voice and I am not -- what

  15          was the word that you used?      Rasping.     Rasping

  16          on the conference room table.

  17                MR. HENRY:    Grasping.

  18                MS. PANICO:    Grasping.

  19    BY MR. HENRY:

  20          Q     Can you describe your first interaction

  21          with Ms. Skates?

  22          A     Human Resources sent her over to our

  23          department and I was told that she would be

  24          working in our department.

  25          Q     When you say "Human Resources sent her
                                                                            33 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 33 of 296 PageID
                                     1761
   1                      V. Dinielli - 1/4/17

   2          over," do you have a particular person within

   3          Human Resources that sent her over?

   4          A      Conor Kiran.    He's the executive

   5          director.

   6          Q     When was she sent over to your department?

   7          A     I believe it was April 2013.

   8          Q     And was she sent from a prior from -- a

   9          previous department, from another department?

  10          A     I believe so.

  11          Q     What department was that?

  12          A     I believe it was the assessor's office.

  13          Q     So why was she transferred to your

  14          department?

  15          A     That wasn't my -- I don't know.

  16          Q     What was her prior position?

  17          A     I don't know.

  18          Q     But you knew that it was within the

  19          assessor's office; isn't that right?

  20          A     That's what I heard.

  21          Q     Now, was her transfer to you considered a

  22          promotion?

  23          A     No.

  24          Q     What was it considered?

  25          A     I don't know.    I don't work in Human
                                                                            34 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 34 of 296 PageID
                                     1762
   1                      V. Dinielli - 1/4/17

   2          Resources.

   3          Q     Would you consider it a demotion?

   4          A     I don't know what her duties were in the

   5          other department.     I wasn't involved in that

   6          conversation.

   7          Q     So who was -- well, withdrawn.

   8                What year was that?

   9          A     2013.

  10          Q     And you said that Conor --

  11          A     Conor Kiran.

  12          Q     Can you spell his name, please?

  13          A     C-O-N-O-R.    K-I-R-A-N.

  14          Q     What's his title?

  15          A     He's the director of Human Resources.

  16          Q     So would you consider the transfer to

  17          the -- the transfer from the assessor's office

  18          to the -- you said you were in the

  19          recreation --

  20          A     Department of Recreation.

  21          Q     Would you consider that to be a promotion?

  22                MS. PANICO:    Objection.    Asked and

  23          answered.

  24          Q     You may answer.

  25          A     Not my --
                                                                            35 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 35 of 296 PageID
                                     1763
   1                      V. Dinielli - 1/4/17

   2                MR. HENRY:    I would request that, if

   3          counsel could -- if you want to note your

   4          objection, that's fine.      But as far as the

   5          adding my appendage to it, I would,

   6          respectfully, request that you not do so.

   7                MS. PANICO:    I'm actually required to

   8          state the reason for my objection.

   9                MR. HENRY:    Although I understand you're

  10          preserving your rights, I would just ask that

  11          you limit the speaking components of the

  12          objection because it makes it difficult for me

  13          to continue my line of questioning.

  14                MS. PANICO:    That's exactly why I just

  15          asked the Court to make clear for you because

  16          clearly you had that misunderstanding, that me

  17          saying "objection, asked and answered" or me

  18          saying "objection to form," that's not a

  19          speaking objection.     I'm actually required to

  20          do that under the Federal Rules to preserve the

  21          objection.    So I will continue to do that.

  22                MR. HENRY:    And I will continue to make my

  23          record.

  24    BY MR. HENRY:

  25          Q     So what year was it that you began with
                                                                            36 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 36 of 296 PageID
                                     1764
   1                      V. Dinielli - 1/4/17

   2          Ms. Skates?

   3          A     2013.

   4          Q     Do you recall the month?

   5                MS. PANICO:    Objection.    Asked and

   6          answered.

   7          Q     Have I asked you what month?

   8          A     Yes.

   9          Q     What month was that?

  10          A     April.

  11          Q     My apologies if I did.      Counsel's

  12          objections are throwing me off my outline.

  13                Do you recall what Ms. Skates' position

  14          was when she began in the recreation

  15          department?

  16          A     He was a rec attendant.      That's a civil

  17          service title.

  18          Q     You were her direct manager; is that

  19          right?

  20          A     I'm the manager of the facility.

  21          Q     As part of her position as a rec

  22          attendant, what were some of her

  23          responsibilities?

  24          A     Rec attendant is a very broad title.        It

  25          encompasses the whole facility.       Maintenance,
                                                                            37 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 37 of 296 PageID
                                     1765
   1                      V. Dinielli - 1/4/17

   2          activities, housekeeping, setup, breakdown.

   3          All of our daily activities.

   4          Q     And that would be a demoted position for

   5          someone who was previously in the assessor's

   6          office?

   7                MS. PANICO:    Objection.    Asked and

   8          answered.

   9          A     I don't know what her title or I don't

  10          know what she was doing in the assessor's

  11          office.

  12          Q     Do people generally request transfers from

  13          the assessor's office to the recreational

  14          department?

  15                MS. PANICO:    Objection.    Calls for

  16          speculation.

  17          A     I never -- not while I was there.        I don't

  18          know of any.

  19          Q     Would you yourself have requested --

  20          withdrawn.

  21                Did there ever come a time that -- what

  22          type of training did you receive prior to

  23          becoming the supervisor of this department, of

  24          the recreational department?

  25          A     I was a manager of a similar facility for
                                                                            38 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 38 of 296 PageID
                                     1766
   1                      V. Dinielli - 1/4/17

   2          20 years.

   3          Q     What facility was that?

   4          A     Sportime in Lynbrook.

   5          Q     Why did your employment there end?

   6          A     I was offered this position.

   7          Q     So your testimony here today is that you

   8          only left Sportime in Lynbrook because of the

   9          opportunity in Freeport?

  10          A     Yes.

  11          Q     Okay.

  12                Did you have to submit a resume or a job

  13          application as part of this --

  14          A     Yes.

  15          Q     -- part of the application process in

  16          Freeport?

  17          A     Yes.

  18                MR. HENRY:    At this time, I would like to

  19          call for the production of this witness' job

  20          application with Freeport.

  21    BY MR. HENRY:

  22          Q     You said you've been with them about seven

  23          years?

  24          A     Yes.

  25          Q     So would that have been in 2010 or '09?
                                                                            39 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 39 of 296 PageID
                                     1767
   1                      V. Dinielli - 1/4/17

   2          A     Yes.

   3                MR. HENRY:    Counsel, in light of the

   4          limited discovery schedule and our forthcoming

   5          stipulation to depose the remaining witnesses,

   6          would you be able to provide me, I guess, a

   7          timeline or an approximation or agree to

   8          provide me with a copy of this witness' job

   9          application?

  10                MS. PANICO:    I'm going to ask that you

  11          follow up in writing and I'll respond to you

  12          then.

  13                MR. HENRY:    Well, the rules -- I'll cite

  14          the rules for you that we are able to make

  15          document requests during the course of the

  16          deposition.    And those document requests, I

  17          believe, will be treated or should be treated

  18          as rules -- I'm sorry -- as demands that are

  19          made during the course of a deposition.        I'll

  20          give you the rule now.      I'll put it on the

  21          record.   And I'll also ask that the Court

  22          Reporter annex in the rear of this deposition

  23          transcript document requests and label this one

  24          Number 2.    And as far as the first document

  25          request, we can have that a Number 1.
                                                                            40 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 40 of 296 PageID
                                     1768
   1                      V. Dinielli - 1/4/17

   2                Counsel, will you like me to read that

   3          rule into the record for you?

   4                MS. PANICO:    I don't need you to read the

   5          rule into the record.      No.   Thank you.

   6                MR. HENRY:    So my question again is:      Do

   7          you think that, in light of the limited

   8          discovery period, that you may be able to get

   9          that to me?    Or when do you reasonably think

  10          that you would be able to get it to me?

  11                MS. PANICO:    Again, I'm asking that you

  12          follow up in writing and I'll respond to you

  13          appropriately then.

  14                MR. HENRY:    I just want to go ahead and

  15          just note this for the record, then, just so

  16          that the record is clear.

  17                So there's two parts to it, but in sum and

  18          substance, rule -- Federal Rule Civil Procedure

  19          30 provides that requests may be made for

  20          documents.    And then there's another rule here

  21          which is Rule 34, which also provides that we

  22          are able to make these requests for the

  23          production of documents; also provides that

  24          Counsel should respond within the time provided

  25          under that rule, which, I believe, is 30 days.
                                                                            41 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 41 of 296 PageID
                                     1769
   1                      V. Dinielli - 1/4/17

   2                So my question to Counsel was:       In light

   3          of the limited discovery period in the

   4          forthcoming stipulation, would counsel agree to

   5          produce those documents in a shortened period

   6          than the 30 days that the rules permit?

   7                MS. PANICO:    Are you asking me again for

   8          the third time?

   9                MR. HENRY:    Yeah.   I'm asking if you would

  10          be willing to -- the rules allow that you're

  11          able to provide a response to that request

  12          within 30 days.

  13                My question to you is:     In light of

  14          forthcoming close of discovery and our

  15          stipulation, would you be willing to -- would

  16          you be amenable to getting me the -- any

  17          documents requested during this deposition in a

  18          shortened period than the rules provides?

  19                MS. PANICO:    No.    Not at this time.

  20                MR. HENRY:    So you'll get it to me within

  21          the time frame that the rule provides?

  22                MS. PANICO:    I will respond to your

  23          request within the time period, yes.        That

  24          doesn't necessarily mean that I'm producing it.

  25                MR. HENRY:    Okay.   We would just ask that
                                                                            42 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 42 of 296 PageID
                                     1770
   1                      V. Dinielli - 1/4/17

   2          a privilege log accompany any objection that

   3          you feel that you're grounded in.

   4    BY MR. HENRY:

   5          Q     As part of your position as the supervisor

   6          of the rec department in Freeport, did you ever

   7          receive any training from Freeport in -- with

   8          regards to the Family Medical Leave Act?

   9          A     No.

  10          Q     Were you ever provided with any training

  11          as it relates to the Americans with

  12          Disabilities Act?

  13          A     No.

  14          Q     Were you ever provided with any training

  15          whatsoever?

  16          A     No.

  17                MR. HENRY:    At this time, though we've had

  18          a number of discussions pertaining to

  19          defendant's deficiencies, we had requested from

  20          defendant its policies including FMLA policies,

  21          all policies in Document Request No. 15,

  22          Document Request No. 20, and as of date, those

  23          have not been produced.      So we will be making

  24          the necessary application as it relates to

  25          those documents unless Counsel -- unless
                                                                            43 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 43 of 296 PageID
                                     1771
   1                      V. Dinielli - 1/4/17

   2          Counsel can advise as to when she may get us

   3          those documents.

   4                MS. PANICO:    Mr. Henry's misrepresentation

   5          or Mr. Henry's representation regarding whether

   6          or not those records have or have not been

   7          produced is inaccurate.      The Village's FMLA

   8          policy has, in fact, been produced.

   9                What was the other policy that you're

  10          seeking?

  11                MR. HENRY:    And what was the Bates numbers

  12          on that?

  13                MS. PANICO:    I don't have that in front of

  14          me, but it was produced.

  15                MR. HENRY:    Well, we don't have any record

  16          of the FMLA policy.     And if I'm incorrect, I

  17          would just request that you let me know the

  18          Bates numbers of that production by later

  19          today.

  20                MS. PANICO:    I'm going to request that you

  21          look back at what we produced and --

  22                MR. HENRY:    I don't have it.

  23                MS. PANICO:    It has been produced.

  24                MR. HENRY:    So if you can point me to

  25          where it's been produced, that would be greatly
                                                                            44 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 44 of 296 PageID
                                     1772
   1                      V. Dinielli - 1/4/17

   2          appreciated.    Because based upon my records, I

   3          don't have that.     So if you can give me the

   4          Bates numbers by tomorrow, that would be

   5          greatly appreciated.

   6                We will reserve our right to seek --

   7          continue this deposition, as needed, to discuss

   8          issues within that policy.

   9                MS. PANICO:    We will not be re-conducting

  10          or holding this deposition open with respect to

  11          the FMLA policy since that has already been

  12          produced.

  13                MR. HENRY:    Well, we don't have it and you

  14          don't have any record of producing it to me.

  15                MS. PANICO:    That's not correct.

  16                Mr. Henry, if you don't have it, then it's

  17          only because your office lost it.

  18                MR. HENRY:    Well, what's the Bates numbers

  19          for it?

  20                MS. PANICO:    You want me to call my

  21          office?   We'll take a break right now.

  22                MR. HENRY:    No.   Just get it to me by

  23          tomorrow.    If you're willing to call your

  24          office now, then I'm sure you'll be willing to

  25          call them later.
                                                                            45 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 45 of 296 PageID
                                     1773
   1                      V. Dinielli - 1/4/17

   2                 MS. PANICO:   I just want to make it clear

   3          that we are not re-producing Ms. Dinielli with

   4          respect to the FMLA policy because it has

   5          already --

   6                 MR. HENRY:    I have seven hours.    I have

   7          one day.

   8                 MS. PANICO:   Okay.

   9                 MR. HENRY:    I have a full seven hours with

  10          her, so...

  11                 MS. PANICO:   Okay.   But we're not going to

  12          be producing her with respect to that --

  13                 MR. HENRY:    I'm not going to argue with

  14          you.   With the same enthusiasm that you were

  15          going to be calling your office now, I hope you

  16          have that same enthusiasm tomorrow to ensure

  17          that I get the Bates numbers to that policy.

  18    BY MR. HENRY:

  19          Q      Ms. Dinielli, were you ever provided with

  20          any policies and procedures --

  21                 MS. PANICO:   Objection.

  22                 MR. HENRY:    Let the record reflect, again,

  23          that I'm not even able to get my question out.

  24          Counsel's objections have been frequent and

  25          fruitful.    Again, bordering oppressive.      And
                                                                            46 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 46 of 296 PageID
                                     1774
   1                      V. Dinielli - 1/4/17

   2          although I don't want to call the Court, I may

   3          have to call the Court again.

   4                Please allow me to finish my question.

   5                May I have a readback, please, of the

   6          question that I attempted to -- nevermind.

   7          I'll try to --

   8                MS. PANICO:    That's because you did

   9          complete the question.

  10                MR. HENRY:    No, I didn't.

  11    BY MR. HENRY:

  12          Q     Were you trained on how to deal with -- or

  13          rather did your employer ever provide you with

  14          policies and procedures about discrimination in

  15          the workplace?

  16          A     I believe so, yes.

  17                MS. PANICO:    Same objection.

  18                MR. HENRY:    Again, what is the -- what is

  19          your grounds for your objection?

  20                (Court Reporter interruption.)

  21                MS. PANICO:    There's not discrimination

  22          component to this lawsuit anymore.        I'm

  23          preserving my objection for the record.

  24                MR. HENRY:    I'm not asking about

  25          discrimination.     I'm asking if she was provided
                                                                            47 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 47 of 296 PageID
                                     1775
   1                      V. Dinielli - 1/4/17

   2          with policies and procedures about

   3          discrimination in the workplace.       It does not

   4          only mean discrimination in terms of what you

   5          believe to be a part of the lawsuit or not.         It

   6          also deals with disability discrimination;

   7          discrimination on the basis of retaliation;

   8          discrimination on a number of basis.

   9                If you would allow me to finish my

  10          question without noting these frivolous

  11          objections, then we can get through this.

  12                MS. PANICO:    I did not direct my client

  13          not to answer.     That's number one.     Number two,

  14          a ADA discrimination is no longer a component

  15          of this case.

  16                Retaliation under --

  17                MR. HENRY:    Your speaking objections are

  18          ridiculous.

  19                (Counsel speaking simultaneously.)

  20                MR. HENRY:    This is an FMLA claim where we

  21          are alleging that she was discriminated against

  22          because of her disability.

  23                MS. PANICO:    There's no ADA claim.

  24                MR. HENRY:    There's a FMLA claim.

  25                MS. PANICO:    That's not disability
                                                                            48 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 48 of 296 PageID
                                     1776
   1                      V. Dinielli - 1/4/17

   2          discrimination.

   3                MR. HENRY:    FMLA requires that there be a

   4          qualified disability.      I'm asking this witness

   5          if she was provided with any policies and

   6          procedures pertaining to discrimination in the

   7          workplace.

   8                I only ask that you please refrain from

   9          the meritless objections.

  10                MS. PANICO:    I'm permitted to make an

  11          objection on the record.      I'm allowing my

  12          client to answer.

  13                You're the one that continues to --

  14                MR. HENRY:    I'm really not.

  15    BY MR. HENRY:

  16          Q     Were you ever provided with any policies

  17          and procedures about discrimination in the

  18          workplace at Freeport?

  19          A     Upon employment, yes.

  20          Q     And do you know the title of those

  21          policies?

  22          A     No.

  23          Q     Do you know how many pages they were?

  24          A     I don't remember.

  25          Q     How long ago was that?
                                                                            49 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 49 of 296 PageID
                                     1777
   1                      V. Dinielli - 1/4/17

   2          A      Seven years ago.

   3          Q      Are there any ongoing training

   4          requirements with respect to discrimination and

   5          with respect to being familiar with the laws?

   6          Does Freeport have any ongoing training?

   7          A      Yes, they do.

   8          Q      Do you participate in those trainings?

   9          A      Yes, I do.

  10          Q      What is the name of those trainings, if

  11          you recall?

  12          A      I don't recall.

  13          Q      Is it an online training?

  14          A      No.

  15          Q      What type of training is it?

  16          A      A training with a lector.

  17          Q      How often is this training given?

  18          A      Periodically.   I can't really say.

  19          Q      When was the last time you had such

  20          training?

  21          A      There was a training a couple of months

  22          ago.

  23          Q      How frequently do they give it?

  24          A      Maybe once a year, twice a year.

  25          Q      Are you graded on your performance during
                                                                            50 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 50 of 296 PageID
                                     1778
   1                      V. Dinielli - 1/4/17

   2          these trainings?

   3          A     No.

   4          Q     What are some of the subjects covered?

   5          A     The last one was violence in the

   6          workplace.

   7          Q     Do you recall ever having any training

   8          with respect to disabilities, employees with

   9          disabilities?

  10          A     Training, no.

  11          Q     What were you provided with respect to

  12          employees with disabilities?

  13          A     I wasn't provided with anyone.

  14          Q     Did you bring any experience with or

  15          knowledge in the area of employees with

  16          disabilities to this position at Freeport?

  17          A     Well, 20 years of working in another

  18          facility, I had my -- I believe I come across

  19          it.

  20          Q     Were you provided any direct training for

  21          dealing with employees with disabilities at

  22          Sportime in Lynbrook?

  23          A     Direct training, no.

  24          Q     How about informal training?

  25          A     Informal training, yes.
                                                                            51 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 51 of 296 PageID
                                     1779
   1                      V. Dinielli - 1/4/17

   2          Q     Okay.

   3                Now, did you have any -- were you provided

   4          with a copy of the Family Medical Leave Act

   5          during your time at Sportime in Lynbrook?

   6          A     Was I provided with it, no.

   7          Q     Were you provided with a copy in Freeport?

   8          A     Was I provided with it, no.

   9          Q     So how would you know that you received

  10          training informally if you never were provided?

  11                MS. PANICO:    Objection to form.

  12          A     Topic was discussed and I read up on it

  13          myself over the years.

  14          Q     So your testimony here today is the scope

  15          of your training, as it relates to the FMLA, is

  16          limited to topics discussed and self-directed

  17          study?

  18                MS. PANICO:    Objection to form.

  19          Q     You may answer.

  20          A     Well, it's related to as need.

  21          Q     So the scope of your -- the scope of your

  22          training, as you testified here today as it

  23          relates to the FMLA, is topics discussed, as

  24          needed and -- what was the other?

  25          A     And my own.
                                                                            52 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 52 of 296 PageID
                                     1780
   1                      V. Dinielli - 1/4/17

   2          Q     And your own-self study.

   3                MS. PANICO:    Objection to form.

   4          Q     Is that right?

   5          A     Basically, yes.

   6          Q     Did there ever come a time that you

   7          learned of a complaint that Ms. Skates filed

   8          against you with the New York State Division of

   9          Human Rights.    Withdrawn.

  10                Did there ever come a time that you became

  11          aware of a complaint that Ms. Skates filed with

  12          the New York State Division of Human Rights

  13          against the Incorporated Village of Freeport?

  14          A     Yes.

  15          Q     How many complaints did you hear that she

  16          filed?

  17          A     I don't know.    I was given -- I don't

  18          know.

  19          Q     Now, this complaint that you learned of,

  20          when did you learn of it?

  21          A     Within the last couple of years.

  22          Q     Were you named in that complaint?

  23          A     I don't recall.

  24          Q     Did there ever come a time that you

  25          learned of a complaint that was filed against
                                                                            53 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 53 of 296 PageID
                                     1781
   1                      V. Dinielli - 1/4/17

   2          you by Ms. Skates while she was still an

   3          employee with Freeport?

   4          A     No.

   5          Q     So your testimony here today is at no

   6          point in time Ms. Skates filed a complaint

   7          against you while she was working at Freeport?

   8                MS. PANICO:    Objection.    Asked and

   9          answered.

  10          Q     You may answer.

  11          A     Not that I'm aware of.

  12          Q     Did there come a time that you became

  13          aware that Ms. Skates had a disability?

  14          A     No.

  15          Q     So your testimony here today is that

  16          there's no point in time during the time that

  17          Ms. Skates worked in your department that you

  18          learned that she had a disability?

  19          A     No.

  20          Q     Did there come a time that you learned

  21          that Ms. Skates required a leave because she

  22          had a disability?

  23          A     No.

  24          Q     Did there ever come a time that Ms. Skates

  25          made a request for you for sick leave or
                                                                            54 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 54 of 296 PageID
                                     1782
   1                      V. Dinielli - 1/4/17

   2          medical leave because of her disability?

   3                MS. PANICO:    A request?

   4                MR. HENRY:    Yes.

   5                MS. PANICO:    Objection to form.

   6          Q     You may answer.

   7          A     Because of -- can you restate?

   8                MR. HENRY:    May I have a repeat of that

   9          last question, please.

  10                (Whereupon, the requested record was read

  11          back by the Court Reporter.)

  12          A     No.

  13          Q     Did there ever come a time that Ms. Skates

  14          presented to you a request for medical leave or

  15          sick leave?

  16          A     A request, no.

  17          Q     Can you describe the recreational center's

  18          parking lot during the time -- during the

  19          period of 2013, beginning January 2013, ending

  20          December 2013?

  21          A     Parking lot is in the front of the

  22          building.    It is very large.     I don't want to

  23          estimate how many spots, but it's a very, very

  24          large parking spot in the front of the

  25          building.
                                                                            55 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 55 of 296 PageID
                                     1783
   1                      V. Dinielli - 1/4/17

   2          Q     Is that parking spot used for employees

   3          and the general public?

   4          A     Yes.

   5          Q     Are there any portions of that parking

   6          lot, as you remember in 2013, that was just

   7          limited to employees' usage?

   8          A     No.

   9          Q     Can anyone just pull in and park?

  10          A     Yes.

  11          Q     Are there any sections of that parking lot

  12          designated for staff and employees?

  13          A     No.

  14          Q     Are there any key access or access cards

  15          or anything of that nature required to access

  16          that parking lot?

  17          A     No.

  18          Q     Can you describe some of the duties that

  19          Ms. Skates' title had?

  20                MS. PANICO:    Objection to form.

  21          A     Her duties were to maintain -- to do

  22          general housekeeping in all of the areas of the

  23          recreation center.

  24          Q     Now, with respect to the position that

  25          Ms. Skates was transferred from in the
                                                                            56 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 56 of 296 PageID
                                     1784
   1                      V. Dinielli - 1/4/17

   2          assessor's office, did that position in the

   3          assessor's office include sweeping?

   4          A     I have no idea.

   5          Q     Dusting?

   6          A     No idea.

   7          Q     Was it janitorial in nature?

   8          A     Never worked in the assessor's office.        No

   9          idea.

  10          Q     The position that Ms. Skates had in the

  11          recreational center, was that a janitorial

  12          position?

  13          A     It was a housekeeping position.

  14          Q     Did it have janitorial components?

  15                MS. PANICO:    Objection to form.

  16          A     We all maintained the building.

  17          Q     Did her position include sweeping?

  18          A     Yes.

  19          Q     Dusting?

  20          A     Yes.

  21          Q     Painting?

  22          A     Maybe.

  23          Q     Cleaning recreational center equipment?

  24          A     Yes.

  25          Q     Mopping floors?
                                                                            57 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 57 of 296 PageID
                                     1785
   1                      V. Dinielli - 1/4/17

   2          A      Yes.

   3          Q      Cleaning paint off walls and tables?

   4          A      Yes.

   5          Q      Cleaning bathrooms?

   6          A      Yes.

   7          Q      Cleaning the recreational center's parking

   8          lot?

   9          A      Yes.

  10          Q      What was Ms. Skates' title?

  11          A      Recreation attendant.

  12          Q      How many recreation attendants did you

  13          have at that time in 2013?

  14          A      Possibly five.

  15          Q      Did all of their responsibilities include

  16          all of the items that I just listed?

  17          A      Yes.

  18          Q      So your testimony here today is that every

  19          rec attendant serving, as far as you could

  20          recall, in 2013 maintained the responsibilities

  21          listed including cleaning the recreational

  22          parking lot?

  23          A      Some.   Not everyone might do that.     But,

  24          yes, we all would do that.      I've done it

  25          myself.
                                                                            58 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 58 of 296 PageID
                                     1786
   1                      V. Dinielli - 1/4/17

   2          Q     Did you maintain the discretion to

   3          determine what job duties Ms. Skates would have

   4          had during that time?

   5          A     I and my rec leaders.

   6          Q     So you could have came and said, perhaps,

   7          Ms. Skates you're going to clean the parking

   8          lot today, right?

   9          A     I wouldn't have done that.

  10          Q     But you could have?

  11          A     I could have, but I had other managers

  12          below me or supervisors below me that would

  13          have done that.     I really wasn't involved with

  14          her to tell her what to do.

  15          Q     Well, why don't you give me an

  16          organizational chart, with you in the middle,

  17          of downward organizational chart during the

  18          period of 2013.

  19          A     I am the manager.     I have two rec leaders.

  20          Q     And who were they?

  21          A     John Henry and James Beauford.       Those are

  22          senior rec leaders.     One rec leader, which is

  23          Carol Murphy.

  24          Q     And so you're the manager.      Two rec

  25          leaders.
                                                                            59 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 59 of 296 PageID
                                     1787
   1                      V. Dinielli - 1/4/17

   2          A     Two senior rec leaders.

   3          Q     Two senior rec leaders.

   4          A     Yes.

   5          Q     And then beneath them?

   6          A     One rec leader.

   7          Q     So beneath them, between the two senior

   8          rec leaders would be one rec leader?

   9          A     Yes.

  10          Q     And who was that?

  11          A     Carol Murphy.

  12          Q     And then?

  13          A     Then underneath that are -- well, there's

  14          a building maintenance supervisor.        Just

  15          another person.     He would probably be the same

  16          level as the rec leaders.      And then I have

  17          recreation attendants, laborers.

  18          Q     Where did Ms. Skates fit in this?

  19          A     She was a rec attendant.

  20          Q     So she would have received her command or

  21          her chain of command would have been the

  22          building maintenance?

  23          A     No.    It would be from the senior rec

  24          leaders.

  25          Q     So Ms. Skates would have received, as a
                                                                            60 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 60 of 296 PageID
                                     1788
   1                      V. Dinielli - 1/4/17

   2          rec attendant, instruction from John Henry or

   3          James Beauford?

   4          A      Yes.

   5          Q      Would you also have given her instruction?

   6          A      We all work together.

   7          Q      My question is:   Would you have also given

   8          her instruction?

   9          A      If need be.

  10          Q      So when she made requests, who would she

  11          make those requests to?

  12          A      Depends on the request.

  13          Q      If she made a request pertaining to sick

  14          leave, who would that be?

  15          A      It would be me.

  16          Q      If she made a request for a change of

  17          assignment, who would that be?

  18          A      A change of duty?

  19          Q      Change of duty.   Who would that be?

  20          A      Senior rec leader.

  21          Q      Would she also make those requests to you

  22          too?

  23          A      If she chose to, she could.

  24          Q      Had she ever made any such requests to

  25          you?
                                                                            61 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 61 of 296 PageID
                                     1789
   1                      V. Dinielli - 1/4/17

   2          A     Not that I recall.

   3          Q     So she complained or had a complaint about

   4          something, who would she raise that complaint

   5          with?

   6                MS. PANICO:    Objection.    Calls for

   7          speculation.

   8          Q     In the organizational chart that you just

   9          provided me, who would Ms. Skates, as a rec

  10          attendant, go to with her complaints?

  11                MS. PANICO:    Same objection.

  12          A     She would go to one of the senior rec

  13          leaders if they were on hand.       If they weren't

  14          she certainly could come to me.       Door was

  15          always open.

  16          Q     Was there a policy that provided the chain

  17          of command when an employee has a complaint?

  18          A     Policy, no.

  19          Q     Or a guideline?

  20          A     When she came into our department, she was

  21          introduced to all of the people.       And so she

  22          knew who the people -- the acting managers and

  23          the supervisors were.

  24          Q     So it's your testimony here today that

  25          Ms. Skates only was able to rely on her own
                                                                            62 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 62 of 296 PageID
                                     1790
   1                      V. Dinielli - 1/4/17

   2          knowledge in terms of how she would raise a

   3          complaint or a concern?

   4                MS. PANICO:    Objection to form.

   5          Q     Is that your testimony?

   6          A     She worked for the Village.      So she knew

   7          we had a Human Resource department and she knew

   8          who the people in our building were.

   9          Q     James Beauford, what's his race?

  10          A     What is his race?

  11          Q     Yes.

  12          A     He's half white, half black.

  13          Q     And how do you know this?

  14          A     Because I've seen his mother and father.

  15          Q     John Henry, what's his race?

  16          A     White.

  17          Q     And how do you know this?

  18          A     Because he's white.

  19          Q     Have you seen his mother and father?

  20          A     No, I haven't.

  21          Q     Did there ever come a time that you

  22          learned that Ms. Skates complained about being

  23          verbally insulted or abused by her co-workers

  24          during the period of 2013?

  25          A     That she was -- no.
                                                                            63 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 63 of 296 PageID
                                     1791
   1                      V. Dinielli - 1/4/17

   2          Q     Did there ever come a time that Ms. Skates

   3          complained about you mistreating her during the

   4          course of -- beginning in 2013, ending in 2013?

   5          A     Complained to me?

   6          Q     Complaining about you, have you ever

   7          learned that --

   8          A     No.

   9          Q     How about mistreatment?

  10                MS. PANICO:    Objection to form.

  11          A     I didn't mistreat her.     I wasn't directly

  12          working with her.

  13          Q     What's your understanding of the term

  14          "comp time"?

  15          A     Comp time?

  16          Q     Yes.

  17          A     It's anything past your regular hours that

  18          you're not being paid for and that you're

  19          taking in time to use in the future.

  20          Q     How about vacation days?

  21          A     Time that is designated by the Village to

  22          its employees.

  23          Q     Is there any particular policy or manual

  24          or writing anywhere that contains information

  25          about vacation days and comp time that you're
                                                                            64 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 64 of 296 PageID
                                     1792
   1                      V. Dinielli - 1/4/17

   2          aware of?

   3          A     Every employee has an attendance card.

   4          Q     Some of your -- as part of your duties,

   5          were you able to approve or deny vacation days

   6          or comp time requests?

   7          A     Yes.

   8          Q     Did you look at a policy when you made

   9          such decisions?

  10          A     The union book, the union manual.

  11          Q     Are you familiar with the individual by

  12          the name of Victoria Grotton?

  13          A     Yes.

  14          Q     Who is that?

  15          A     She's another rec attendant, full-time rec

  16          attendant that works for us.

  17          Q     Does she still work there?

  18          A     Yes, she does.

  19          Q     Is there any particular reason why you

  20          would have discussed Ms. Skates' vacation days

  21          and comp time in the presence of Victoria

  22          Grotton?

  23                MS. PANICO:    Objection to form.

  24          A     I didn't.

  25          Q     So is it your testimony here today that
                                                                            65 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 65 of 296 PageID
                                     1793
   1                      V. Dinielli - 1/4/17

   2          you never speak to Victoria Grotton about

   3          Ms. Skates' comp time or vacation time?

   4          A      She was at the far end of a room, of a

   5          large room, of a skate lounge, when I was

   6          walking in the back door and I approached

   7          Mrs. Skates.

   8          Q      When you say you approached Mrs. Skates,

   9          can you elaborate?

  10          A      I was walking in.    She was at the front of

  11          the room and I had the opportunity to speak to

  12          her.

  13          Q      Well, it must have been a loud

  14          conversation for Victoria Grotton to hear it,

  15          right?

  16                 MS. PANICO:   Objection to form.

  17          A      I don't know that she heard it.

  18          Q      Well, you don't know that she didn't hear

  19          it, right?

  20          A      I don't know.

  21          Q      Why -- do you consider a discussion about

  22          vacation days and comp time a private one with

  23          an employee?    Do you consider that to be a

  24          conversation that's private in nature?

  25          A      Not really, no.
                                                                            66 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 66 of 296 PageID
                                     1794
   1                      V. Dinielli - 1/4/17

   2          Q     So your testimony here today is that

   3          discussions that deal with an employee's

   4          vacation days and comp time days that you, as

   5          the supervisor, would have with that employee

   6          is not one that's private in nature?

   7          A     Broadly, no.

   8          Q     Did you have an office during that time?

   9          A     I did.

  10          Q     Did your office have a door?

  11          A     Yes, it did.

  12          Q     Why didn't you have that discussion in the

  13          office where you could have closed the door?

  14          A     Because I very rarely saw Ms. Skates.

  15          Q     So instead of having a conversation in

  16          your office where you could have closed the

  17          door, you decided to have it in a big room?

  18          A     It wasn't a discussion.

  19          Q     You decided to have a discussion or

  20          approach Ms. Skates in a big room where there

  21          was someone else present, right?

  22                MS. PANICO:    Objection to form.

  23          A     It was a statement.

  24          Q     Well, couldn't you had made the statement:

  25          "Ms. Skates, I would like to talk to you in my
                                                                            67 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 67 of 296 PageID
                                     1795
   1                      V. Dinielli - 1/4/17

   2          office"?     Couldn't you have made that

   3          statement?

   4                MS. PANICO:    Objection.    Calls for

   5          speculation.

   6          Q     You may answer.

   7          A     I could have.

   8          Q     But instead you chose to have such a loud

   9          statement -- to make such a loud statement that

  10          someone on the far end of the room, Victoria

  11          Grotton, could have or could not have heard it,

  12          right?

  13                MS. PANICO:    Objection to form.

  14          Q     Isn't that right?

  15                MS. PANICO:    You're misrepresenting --

  16          A     It wasn't loud.

  17          Q     You may answer the question.

  18          A     It wasn't loud.

  19          Q     Well, wouldn't you agree that something

  20          that's loud to me may not be loud to you?

  21          A     Yes.

  22          Q     So instead of having a private discussion

  23          with an employee in your office with a door you

  24          could have closed, you decided to make a loud

  25          statement, loud enough for someone on the far
                                                                            68 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 68 of 296 PageID
                                     1796
   1                      V. Dinielli - 1/4/17

   2          end of the room to hear it, right?

   3                MS. PANICO:    Objection to form.

   4          A     I don't believe it was loud and I don't

   5          believe she heard it.

   6          Q     Well, as you're sitting here today, you

   7          have no idea whether she heard it or not,

   8          right?

   9          A     I don't believe she heard it.

  10          Q     Did there ever come a time that you

  11          threatened that you would strip Ms. Skates of

  12          her accumulated time?

  13          A     I passed on information that was given to

  14          me from Human Resources.

  15          Q     Who gave you this information?

  16          A     Conor Kiran.

  17          Q     What information was provided to you and

  18          when?

  19          A     Her attendance card was not to be found

  20          and I was told by Human Resources to let her

  21          know that we would -- we were starting at no

  22          time.

  23          Q     And did you let her know that?       When did

  24          that conversation happen, what year or --

  25          A     I don't recall.
                                                                            69 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 69 of 296 PageID
                                     1797
   1                      V. Dinielli - 1/4/17

   2          Q     Was it in or around the year of 2013?

   3          A     Yes.

   4          Q     Okay.

   5                Did you have that conversation with

   6          Ms. Skates in a private -- in your private

   7          office with a door?     Was that another statement

   8          you made in a loud room?

   9                MS. PANICO:    Objection to form.

  10          A     I believe was in my office.

  11          Q     I'm sorry?

  12          A     I believe it was in my office.

  13          Q     Did you consider that conversation a

  14          private one, private in nature?

  15          A     I don't know.    I really don't know.

  16          Q     This we know.

  17                So is there any particular reason why you

  18          threatened to strip her time away when you

  19          really don't know?

  20                MS. PANICO:    Objection to form.

  21                Please stop mischaracterizing my client's

  22          testimony.

  23          Q     You may answer.

  24          A     I didn't threaten anything.      I was passing

  25          on information from Human Resources.
                                                                            70 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 70 of 296 PageID
                                     1798
   1                      V. Dinielli - 1/4/17

   2          Q     So you were the middleman or middle-woman.

   3                MS. PANICO:    Objection to form.

   4          A     One could say.

   5                MS. PANICO:    Same objection.

   6          Q     Isn't that right?

   7          A     Yes.

   8          Q     You were just passing information along.

   9          A     I'm not Human Resources.

  10          Q     Did you ever question what information

  11          Human Resources gives you to pass on or do you

  12          just pass it on?

  13          A     I pass on Village policy from Human

  14          Resources.

  15          Q     So the decision to threaten Ms. Skates

  16          with stripping her of her accumulated time was

  17          one that came from higher up?

  18                MS. PANICO:    Objection to form.

  19                That's not what my client testified to.

  20          Please stop mischaracterizing her testimony.

  21          Q     You may answer the question.

  22          A     Human Resources advised me of how we were

  23          going to move forward.

  24          Q     Human Resources, are they in a higher

  25          position than you are?
                                                                            71 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 71 of 296 PageID
                                     1799
   1                      V. Dinielli - 1/4/17

   2          A      I wouldn't say higher but they handle

   3          different -- they have different, you know --

   4          Q      Human Resources, they could fire you,

   5          right?

   6          A      Yes.

   7          Q      So wouldn't they have more power than you?

   8          You can't fire yourself.

   9          A      I don't believe they could fire me on

  10          their own.    That would have to come from our

  11          mayor.

  12          Q      But they would handle it, right?

  13          A      They would handle it, yeah.

  14          Q      So in essence Human Resources is its

  15          own --

  16          A      I guess so.   I never thought about it.

  17          Yes.

  18          Q      So you received marching orders from Human

  19          Resources to threaten Ms. Skates with stripping

  20          heard of her accumulated time, right?

  21                 MS. PANICO:   Objection.    Please stop

  22          mischaracterizing testimony.

  23          Q      Didn't Human Resources give you the

  24          instruction to threaten to strip her time?

  25          A      They didn't tell me to threaten anybody.
                                                                            72 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 72 of 296 PageID
                                     1800
   1                      V. Dinielli - 1/4/17

   2          Q     You threatened her on your own?

   3          A     I passed on information.

   4          Q     That information was if you don't give me

   5          your attendance card, we're taking away your

   6          accumulated time, right?

   7          A     That's not how it was said.

   8          Q     How was it said?

   9          A     It was said we need your attendance card.

  10          Do you have any idea where it was.

  11          Q     Or?

  12          A     Or is.

  13          Q     What would be the consequence if she

  14          didn't?

  15          A     I never -- that wasn't the conversation.

  16          The conversation is we need your attendance

  17          card.   Attendance card could not be found.        I

  18          said if the attendance card -- if we don't find

  19          the attendance card, this is what Human

  20          Resources has said.

  21          Q     And what did Human Resources say?

  22          A     That we're going to -- we're going to have

  23          to start at zero.

  24          Q     So isn't that a threat?

  25          A     I don't believe so.     It's a statement.
                                                                            73 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 73 of 296 PageID
                                     1801
   1                      V. Dinielli - 1/4/17

   2          Q     So if I tell you that if you don't do

   3          this, then I'm going to do that, isn't that a

   4          threat that that is going to happen?

   5                MS. PANICO:    Objection to form.

   6                Please -- again, stop mischaracterizing

   7          the testimony.

   8          A     I didn't say "if you don't do this."        I

   9          said "if we don't come up with the attendance

  10          card" --

  11          Q     Then?

  12          A     -- "then this is what Human Resources has

  13          instructed me to tell you."

  14          Q     This is the threat that Human Resources

  15          told me to tell you?

  16                MS. PANICO:    Objection to form.

  17          Q     Isn't that right?

  18          A     I don't call it a threat.

  19          Q     What would you call it?

  20          A     I don't call it a threat.

  21          Q     What do you recall it?

  22          A     A directive.

  23          Q     An ultimatum?

  24          A     A directive.

  25          Q     You received a directive from a higher
                                                                            74 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 74 of 296 PageID
                                     1802
   1                      V. Dinielli - 1/4/17

   2          source, right?

   3          A     Uhm-uhm.

   4          Q     Did there ever come a time that you later

   5          learned that that directive was incorrect?

   6                MS. PANICO:    Objection to form.

   7          A     Incorrect, no.

   8          Q     Did there ever come a time that you

   9          learned that Ms. Skates deserved the credit for

  10          her hours that she accumulated?

  11          A     I might have been given new information.

  12          I don't recall what the new information was.

  13          Q     But that -- did that new information

  14          include a finding that Ms. Skates' attendance

  15          card was accurate?

  16                MS. PANICO:    Objection to form.

  17          A     I don't know.

  18          Q     Well, did she lose her time?

  19          A     I don't know.    I don't recall.

  20          Q     So your testimony here today is that you

  21          don't recall if Ms. Skates lost her accumulated

  22          time?

  23          A     I don't -- I don't recall exactly what

  24          time she claimed to have or she said she had

  25          and what time she actually received, no.         She
                                                                            75 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 75 of 296 PageID
                                     1803
   1                      V. Dinielli - 1/4/17

   2          did receive time.

   3          Q     Who is Peter Renki?

   4          A     At the time he was the union president.

   5          Q     Would there ever come a time during that

   6          period in 2013 that you would have possibly met

   7          with Mr. Renki?

   8          A     He might have been with Ms. Skates.        He

   9          doesn't meet with me, no.

  10          Q     Did there ever come a time that had you a

  11          meeting with Mr. Renki, Mr. Beauford and

  12          yourself?

  13          A     Yes.   Well, not -- and Ms. Skates.

  14          Q     And Ms. Skates?

  15          A     Yes.

  16                He represents Ms. Skates.      He doesn't work

  17          with us.

  18          Q     During that meeting, was there an

  19          acknowledgment that Ms. Skates deserved the

  20          credits for the hours that you directed or gave

  21          her a directive that she would have lost?

  22                MS. PANICO:    Objection to form.

  23          Q     Isn't that right?

  24          A     Human Resources was there.      I was just

  25          present at the meeting.
                                                                            76 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 76 of 296 PageID
                                     1804
   1                      V. Dinielli - 1/4/17

   2          Q     But wasn't that right?

   3          A     Was what right?

   4          Q     That during that meeting you or there was

   5          an acknowledgment that Ms. Skates deserved the

   6          hours that she accumulated.

   7                MS. PANICO:    Objection to form.

   8          Q     Right?

   9          A     It was discussed, yes.

  10          Q     And that acknowledgment was made during

  11          that meeting; isn't that right?

  12          A     Determination was made as a result of that

  13          meeting, yes.

  14          Q     So, in fact, the directive that you gave

  15          the threat was based on incorrect information,

  16          right?

  17                MS. PANICO:    Objection to form.

  18          A     No.   It was changed.

  19          Q     It was based on incomplete information,

  20          right?

  21                MS. PANICO:    Objection to form.

  22          A     It was updated.

  23          Q     So it was based on outdated information,

  24          right?

  25          A     No.
                                                                            77 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 77 of 296 PageID
                                     1805
   1                      V. Dinielli - 1/4/17

   2          Q     Well, how could you update something that

   3          wasn't outdated?

   4          A     It was a meeting to discuss it and this is

   5          what was determined from that meeting.

   6          Q     So it was a reversal from the position

   7          they took when you gave the directive, right?

   8                MS. PANICO:    Objection to form.

   9          Q     You may answer.

  10          A     I don't know that "reversal" is the

  11          correct word.

  12          Q     Well, you threatened that she would lose

  13          the time?

  14          A     I didn't threaten.

  15          Q     You directed?

  16          A     I passed on information.      The information

  17          was changed.    Agreement was made.     An agreement

  18          was made as a result of that meeting.

  19          Q     That agreement was different than the

  20          directive that you were ordered to give; isn't

  21          that right?

  22          A     Yes.

  23          Q     Do you usually give directives that you

  24          later change when new information comes?

  25          A     I've given directives that have changed,
                                                                            78 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 78 of 296 PageID
                                     1806
   1                      V. Dinielli - 1/4/17

   2          yes.

   3          Q      How does that make you feel when your

   4          directives have changed?      Does that make you

   5          angry?

   6          A      No.

   7          Q      Does it make you happy?

   8          A      That's the business.

   9          Q      What do you mean that's the business?

  10          A      That's the business.    As far as that is

  11          how -- that is how Human Resources is worked.

  12          That is how the union works.

  13          Q      Are you in the business of giving out

  14          directives that are changed?

  15          A      I'm in the business of giving out

  16          directives as I am told -- instructed to do so.

  17          Q      And when you give those directives, you're

  18          confident that those directives are correct?

  19          A      I'm hopeful.

  20          Q      So you hope that your directives are

  21          correct?

  22          A      I hope that the directives that I'm giving

  23          stay, yes.

  24          Q      How would you -- how would you describe

  25          hope?    Is that a feeling of joy?
                                                                            79 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 79 of 296 PageID
                                     1807
   1                      V. Dinielli - 1/4/17

   2                 MS. PANICO:   Objection to form.

   3          Q      You may answer.

   4          A      Maybe I should say confident.      I'm

   5          confident that the directives that are given to

   6          me are the directives that will continue.

   7          Q      So confident, is that joy?     Confident.

   8          Enthusiastic.

   9          A      It's business.

  10          Q      Positive?   Is it a positive feeling?

  11          A      Not always positive.    It's just a feeling

  12          of assurance.

  13          Q      That makes you feel good when you're

  14          confident, right?

  15          A      When I'm confident, when I have -- give a

  16          directive, it's not a matter of feeling good or

  17          bad.   It's just --

  18          Q      Confidently assured, right?

  19          A      Yes.

  20          Q      So then how do you feel when those

  21          directives that you're confidently assured

  22          about you later learn that those directives are

  23          reversed?

  24          A      Sometimes I agree.

  25          Q      Well, why would you give a directive that
                                                                            80 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 80 of 296 PageID
                                     1808
   1                      V. Dinielli - 1/4/17

   2          you disagreed with to begin with?

   3          A     Because I was instructed.

   4          Q     So your testimony here today is that you

   5          do what you're told without any second

   6          guessing?

   7          A     Sometimes I have to.

   8          Q     When you say you have to, describe that a

   9          little bit more.

  10          A     There are people above me, higher-ups, I

  11          am part of the big picture and sometimes I am

  12          instructed to do things or to say things or to

  13          pass on information that I might not always

  14          agree with but I follow -- I'm told to follow

  15          orders.

  16          Q     So with respect to the directive that you

  17          got with respect to Ms. Skates, right, was that

  18          one of the higher-ups that you received a

  19          directive from?

  20          A     I told you Human Resources gave me the

  21          directive.

  22          Q     Did you agree with that directive?       As you

  23          just testified, sometimes you agree, sometimes

  24          you don't.

  25          A     No, I didn't agree with the directive.
                                                                            81 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 81 of 296 PageID
                                     1809
   1                      V. Dinielli - 1/4/17

   2          Q     So do you usually give directives that you

   3          disagree with because it came from a higher

   4          source?

   5          A     If -- yes.

   6          Q     What's the fear?     Why are you afraid to

   7          not disagree with the higher source?

   8          A     Because I am just a manager of the

   9          recreation center.     The Village runs the

  10          whole -- the mayor and -- the mayor and Human

  11          Resources are in charge of the whole Village.

  12          I'm just one department in a Village.

  13          Q     So if you disagree with a decision that

  14          the mayor or Human Resources makes pertaining

  15          to one of your subordinate employees, you don't

  16          feel it's your position to have a voice?

  17                MS. PANICO:    Objection.    Calls for

  18          speculation.

  19          Q     You may answer.

  20          A     When Ms. Skates' card was not found, I did

  21          agree with her that that wasn't her

  22          responsibility; however, I do not make the

  23          rules.

  24          Q     So now that we know that you disagree

  25          sometimes and one of those times that you
                                                                            82 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 82 of 296 PageID
                                     1810
   1                      V. Dinielli - 1/4/17

   2          disagreed was with respect to that card, are

   3          there any other things about the Village

   4          business that you disagree with as it pertains

   5          to Ms. Skates?

   6          A     Not that I could recall or not that I

   7          could say at this point.

   8          Q     As it relates to the employee parking lot,

   9          is there a card key that requires -- that an

  10          employee or anyone requires to access the

  11          employee parking lot?

  12          A     There's an -- there's a back lot in the

  13          back of the building not different from the

  14          front of the building that we spoke about

  15          before that has a key pass, an electronic gate

  16          that is opened with a pass or by sirens on a

  17          police car or a emergency vehicle.

  18          Q     Who has access to those key cards?

  19          A     Well, the people that had access to

  20          them -- well, that still do -- is the people

  21          that open the building, close the building, the

  22          girl that makes the monetary deposit with the

  23          Village Hall every day, facility mechanic and

  24          myself.

  25          Q     Did there ever come a time where
                                                                            83 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 83 of 296 PageID
                                     1811
   1                      V. Dinielli - 1/4/17

   2          plaintiff -- I'm sorry -- where Ms. Skates

   3          closed the building?

   4          A     No.

   5          Q     How about open the building?

   6          A     No.

   7          Q     Is there any reason why she wasn't

   8          provided with a key card?

   9          A     Because she didn't open the building.        She

  10          wasn't the first one there.      She wasn't the

  11          last one to leave.     She didn't make the money

  12          drop during the day.     And she's not the

  13          manager.

  14          Q     Well, did she have a key card at any point

  15          in time?

  16          A     No.

  17          Q     So it's your testimony here today that

  18          Ms. Skates never had a key card, never parked

  19          in the employee parking lot?

  20          A     Not to my knowledge.

  21          Q     Is there anything that would refresh your

  22          recollection as to whether or not Ms. Skates

  23          had a key card?

  24                MS. PANICO:    Objection to form.

  25          A     Key cards -- the only way key cards were
                                                                            84 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 84 of 296 PageID
                                     1812
   1                      V. Dinielli - 1/4/17

   2          obtained was through a request through a

   3          company that made the key cards and request

   4          would come to me and go to Human Resources.

   5          That company -- that -- is not even in business

   6          anymore.     We can't even get new key cards.

   7          Only key cards accessible are key cards that

   8          were existing.

   9                If somebody gave her a key card, I'm not

  10          aware of that.    I never gave her a key card.

  11          Q     Did there ever come a time that you --

  12          withdrawn.

  13                Did you ever write Ms. Skates up?

  14          A     Yes.

  15          Q     And what was that for?

  16          A     That was when I believe she came and asked

  17          for a key card.     She got angry in my office.      I

  18          called her back.     She was pointing her finger

  19          at me and waving at me and she left the office

  20          angry.

  21          Q     What did she ask you for?

  22          A     A key card.

  23          Q     What was your response?

  24          A     I cannot -- I'm not giving you a key card.

  25          I cannot give you a key card.       I'm not giving
                                                                            85 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 85 of 296 PageID
                                     1813
   1                      V. Dinielli - 1/4/17

   2          you a key card.

   3          Q     Did you give her any instruction during

   4          that conversation?

   5          A     I don't understand.

   6          Q     You testified she walked away and you

   7          called her back.

   8          A     I called her back, yes.

   9          Q     Why did you call her back?

  10          A     Because she was angry and I wanted to

  11          discuss it.

  12          Q     When she walked away, was the conversation

  13          over?

  14          A     She was waving her hand at me and I didn't

  15          feel like I deserved to be treated like that.

  16          Q     So when you called her back what -- she

  17          had already left and her hands had already been

  18          waved?

  19          A     She turned her back to me and she was

  20          walking away from me out of the door into the

  21          main office.

  22          Q     Did you ask her to do anything?

  23          A     I said please come back here.

  24          Q     What did you write her up for?

  25          A     Insubordination.
                                                                            86 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 86 of 296 PageID
                                     1814
   1                      V. Dinielli - 1/4/17

   2          Q     It's your testimony here today that

   3          Ms. Skates walking away when she was upset --

   4          walking away when he was upset that that's

   5          insubordination?

   6          A     And waving her hand at me.

   7          Q     So your testimony here today is that

   8          someone --

   9          A     Raising her voice at me.      Waving her hand

  10          at me.    Walking away.

  11          Q     You testified previously that she raised

  12          her voice.    You just said that she waved her

  13          hand.

  14                MS. PANICO:    Objection to form.

  15          Mischaracterization of her prior testimony.

  16          Q     So your testimony here today that

  17          Ms. Skates by walking away from you and waving

  18          her hand while she walks away --

  19          A     And raising your voice.

  20          Q     Was she walking away with her back to the

  21          door like this (indicating)?

  22          A     She was like that and then she turned

  23          around.   She had both hands in the air and she

  24          was walking out of the door.

  25          Q     I find it quite odd that your description
                                                                            87 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 87 of 296 PageID
                                     1815
   1                      V. Dinielli - 1/4/17

   2          of the events have evolved.

   3                MS. PANICO:    Objection to the

   4          mischaracterization of my client's testimony.

   5                The record will reflect what she testified

   6          to.   We don't need you to characterize it.

   7    BY MR. HENRY:

   8          Q     Well, how can one walk away and wave their

   9          finger at you at the same time?

  10          A     She did.   That's the way I recall.

  11          Q     You consider that insubordination?

  12          A     Yes.

  13          Q     Is there anything in the policy that you

  14          can point to that says when an employee walks

  15          away, waves their finger and raises their voice

  16          that that's considered insubordination?

  17          A     It's disrespect.     Disrespect is

  18          insubordination.

  19          Q     You would agree that in some cultures

  20          people wave as a from of a term of endearment,

  21          right?

  22                MS. PANICO:    Objection.

  23          Q     Isn't that right?

  24          A     I would know the difference.

  25          Q     Because you know all cultural terms of
                                                                            88 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 88 of 296 PageID
                                     1816
   1                      V. Dinielli - 1/4/17

   2          endearment.    Is that your testimony here today?

   3          A     Because I heard the tone of her voice.        I

   4          heard the context that she was speaking.         And I

   5          could see her body language.

   6          Q     So you're a certified body language

   7          reader?

   8          A     No.

   9          Q     You know the difference between cultural

  10          terms of endearment, right?

  11          A     I'm not saying I do, no.

  12          Q     So you rely on your own opinion as to what

  13          you believe is disrespect or not, right?

  14          A     Yes.

  15          Q     As you testified earlier, sometimes your

  16          opinion could be influenced, right?

  17                MS. PANICO:    Objection to form.

  18                Again, please refrain from

  19          mischaracterizing Ms. Dinielli's testimony.

  20          Q     In fact, you wrote Ms. Skates up for

  21          insubordination because you were upset that the

  22          way she handled your denial of her key pass,

  23          right?    You felt disrespected; isn't that

  24          right?

  25          A     I wrote her up because of the way she
                                                                            89 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 89 of 296 PageID
                                     1817
   1                      V. Dinielli - 1/4/17

   2          reacted to what I was telling her.

   3          Q      Well, if she gave you a hug, would you

   4          have written her up?

   5          A      No.

   6          Q      But because she expressed --

   7          A      -- anger.

   8          Q      -- frustration with your denial of the key

   9          card, you found that to be disrespectful,

  10          right?

  11                 MS. PANICO:   Objection to form.

  12          A      Yes.

  13          Q      Had she blown you a kiss, would you have

  14          written her up?

  15          A      She wouldn't have been angry and it

  16          wouldn't be considered insubordination.

  17          Q      As a result of that writeup, what

  18          consequence did Ms. Skates receive?

  19          A      I sent the writeup to Human Resources and

  20          Human Resources determined that she would go to

  21          EAP.   I don't recall what that stands for, an

  22          anger management program.

  23          Q      So how did it make you feel now knowing

  24          that a directive you gave Ms. Skates was later

  25          acknowledged and reversed and Ms. Skates
                                                                            90 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 90 of 296 PageID
                                     1818
   1                      V. Dinielli - 1/4/17

   2          expressed frustration with you in response to

   3          her request for a key card?      How did that make

   4          you feel about Ms. Skates?

   5          A     I didn't connect it.

   6                MS. PANICO:    Objection to form.

   7          Q     You may answer.

   8          A     I didn't connect it to -- they were not

   9          related.

  10                MS. PANICO:    Just give me a second after

  11          you answer because I don't want to speak over

  12          him while he is asking the question.

  13    BY MR. HENRY:

  14          Q     What month was that writeup, if you

  15          recall?

  16          A     Possibly May.

  17          Q     Does April 17, 2013 sound right?

  18          A     Possibly, yes.

  19          Q     So did there ever come a time --

  20          withdrawn.

  21                So the EAP program counseling that you

  22          described, do you know when that ended?

  23          A     No, I don't recall.

  24          Q     How long does that usually last?

  25          A     It was a number of days.      I'm not sure how
                                                                            91 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 91 of 296 PageID
                                     1819
   1                      V. Dinielli - 1/4/17

   2          many days.

   3          Q     Does April 19, 2013 through May 10, 2013

   4          sound about right?

   5          A     It wasn't every day.     It was probably once

   6          a week.     Yes.   That might be right.

   7          Q     Were you aware that Ms. Skates was in that

   8          EAP program?

   9          A     Yes.

  10          Q     How did that make you feel?

  11          A     Not good because I lost an employee.

  12          Q     So is there any reason why while

  13          Ms. Skates was at EAP that you changed her job

  14          duties to cleaning the exercise room?

  15          A     It has nothing to do with the EAP.

  16          Q     Did it have to do with the disrespect?

  17          A     No.    It had nothing to do with that.

  18          Q     Why would you stick her in the exercise

  19          room when you had never stuck anyone else in

  20          the exercise room?

  21                MS. PANICO:    Objection to form.

  22          Q     Why did she deserve the exercise room and

  23          no one else did?

  24          A     The exercise room was actually -- can I

  25          tell you -- can I say the story of how that
                                                                            92 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 92 of 296 PageID
                                     1820
   1                      V. Dinielli - 1/4/17

   2          came about?

   3          Q     No.   I just want to know why was

   4          Ms. Skates singled out for the exercise room.

   5          A     For protection for herself.

   6          Q     So your testimony here today is that

   7          she -- Ms. Skates was singled out and put in

   8          this exercise room for protection for herself?

   9                MS. PANICO:    Objection to form.

  10          Q     Is it for herself or from herself?

  11          A     For herself.

  12          Q     Protection from who?

  13          A     The seniors in the senior lounge.

  14          Q     Who were the seniors, John and --

  15          A     The senior patrons.

  16          Q     Your testimony here today is that you

  17          stuck Ms. Skates in the exercise room, a less

  18          desirable position, for protection for herself

  19          from the senior patrons?

  20                MS. PANICO:    Objection to form.

  21                Please don't mischaracterize.       She never

  22          testified that it was a less desirable

  23          position.

  24          A     It was not less desirable and there were

  25          other people that cleaned the senior room.
                                                                            93 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 93 of 296 PageID
                                     1821
   1                      V. Dinielli - 1/4/17

   2          Obviously -- I mean, that cleaned the fitness

   3          center because it's a very well-kept area.

   4          Q     But Ms. Skates was the only one that was

   5          assigned to that particular duty?

   6          A     No.

   7          Q     You just testified a few moments ago that

   8          you did it for protection from herself.        So

   9          which one is it?

  10          A     She was not the only one that cleaned the

  11          fitness center.

  12          Q     Not cleaned but assigned exclusively to

  13          the fitness center.

  14          A     Only one out of who?

  15          Q     The others that you listed.

  16                Was there anyone else that was in there on

  17          a full-time basis?

  18          A     She wasn't there on a full-time basis.

  19          Q     The record reflects exactly what you said

  20          so we'll move forward.

  21                How about Naomi?     How about Gwen?

  22          A     Who?

  23          Q     Naomi and Gwen.

  24          A     Who is Gwen?

  25          Q     Are you familiar with the name Naomi?
                                                                            94 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 94 of 296 PageID
                                     1822
   1                      V. Dinielli - 1/4/17

   2          A     Yes.

   3          Q     How about Naomi?

   4                MS. PANICO:    How about Naomi what?

   5                MR. HENRY:    Let the record reflect again

   6          counsel's continuous objection.       I'm in the

   7          middle of asking my question.

   8                MS. PANICO:    That was a complete question.

   9          You said:    "How about Naomi?"

  10                MR. HENRY:    It was not.

  11                MS. PANICO:    I will just object to form.

  12                MR. HENRY:    Counsel is exceptionally

  13          trigger happy with these objections.

  14    BY MR. HENRY:

  15          Q     Naomi, who was that?

  16          A     Naomi is another employee at the Village.

  17          Q     Was Naomi relegated to the rec room?        I'm

  18          sorry.   Was she relegated to the exercise room

  19          as in the same manner Ms. Skates was?

  20                MS. PANICO:    Objection to form.

  21          Q     You may answer.

  22          A     Naomi spends her whole day cleaning the

  23          locker room.

  24          Q     My question was:     Was she stuck in the

  25          exercise room like Ms. Skates for her
                                                                            95 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 95 of 296 PageID
                                     1823
   1                      V. Dinielli - 1/4/17

   2          protection?

   3                MS. PANICO:    Objection to form.

   4          A     I think -- no.

   5          Q     So Ms. Skates was the only one that was

   6          stuck in the exercise room for her protection,

   7          right?

   8                MS. PANICO:    Objection to form.

   9          Q     Right?

  10          A     From a situation, yes.

  11          Q     And when you stuck her in the --

  12          A     I didn't stick her anywhere.

  13          Q     When you --

  14          A     -- relocated her.

  15          Q     -- relocated her to the exercise room, you

  16          did so while she was still at EAP receiving EAP

  17          counseling, right?

  18          A     I don't recall.

  19                MR. HENRY:    Can we take a break?

  20                (Whereupon, a short recess was taken.)

  21                MR. HENRY:    Back on the record.

  22    BY MR. HENRY:

  23          Q     Did there ever come a time that Ms. Skates

  24          complained to you about your decision to stick

  25          her in the exercise room?
                                                                            96 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 96 of 296 PageID
                                     1824
   1                      V. Dinielli - 1/4/17

   2                MS. PANICO:    Objection to form.

   3          Q     Or her reassignment.

   4                Did there come a time that Ms. Skates

   5          complained to you about her reassignment?

   6          A     No.

   7          Q     So your testimony here today that

   8          Ms. Skates did not complain to you about her

   9          reassignment?

  10          A     No.

  11          Q     So your testimony here today is that you

  12          never had a discussion with Ms. Skates about

  13          her dissatisfaction with being reassigned to

  14          the exercise room?

  15                MS. PANICO:    Objection.    Asked and

  16          answered.

  17          A     No.

  18          Q     Did there ever come a time that Ms. Skates

  19          during that period that the reassignment that

  20          she requested that she leave work to seek

  21          medical attention because she had chest pains?

  22          A     Yes.

  23          Q     Why did she have chest pains?

  24          A     I don't remember.

  25          Q     Could it possibly be because you raised
                                                                            97 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 97 of 296 PageID
                                     1825
   1                      V. Dinielli - 1/4/17

   2          your voice, screamed at her in a hostile

   3          manner?

   4          A     No.

   5          Q     Did she ask you to leave work?

   6          A     Did she ask me to leave?

   7          Q     Did she make the request to you directly

   8          that she leave work to seek medical attention

   9          for her chest pains?

  10          A     Yes.   She was leaving.    She was leaving.

  11          Q     When you say she was leaving, what do you

  12          mean?

  13          A     She didn't ask me.     Another employee came

  14          into my office and said Mrs. Earline Skates is

  15          having chest pains, she's leaving.        With that,

  16          I walked out in the lobby and saw her heading

  17          towards the door.

  18          Q     Why was she leaving?

  19          A     Because she had chest pains.

  20          Q     Did anyone or any other employee ever come

  21          to your office and say that Ms. Skates is upset

  22          because she is in -- she was reassigned to the

  23          exercise room?

  24          A     No.

  25          Q     Was there ever any connection between the
                                                                            98 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 98 of 296 PageID
                                     1826
   1                      V. Dinielli - 1/4/17

   2          chest pains and her leaving work to seek

   3          medical attention to the fact that she was

   4          reassigned to the rec room?

   5          A     At that time I was not aware of any

   6          connection.

   7          Q     But later on you became aware?

   8          A     Just through statements that I'm hearing.

   9          Q     Did there ever come a time thereafter that

  10          you learned that Ms. Skates was instructed by

  11          her doctor not to return to work for one week?

  12          A     No.

  13          Q     Earlier I asked you a question pertaining

  14          to whether or not there was ever a request made

  15          or whether you learned of a request where

  16          Ms. Skates requested sick leave or to leave or

  17          had some form of disability.       You testified no.

  18          A     Yes.

  19          Q     Well, you just testified a few moments ago

  20          that you learned that Ms. Skates requested

  21          medical attention, to leave work for medical

  22          attention because she was experiencing chest

  23          pains and that you actually met her in the

  24          lobby, right?

  25          A     She didn't request.     She was leaving
                                                                            99 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 99 of 296 PageID
                                     1827
   1                      V. Dinielli - 1/4/17

   2          because she was having chest pains which was

   3          understood.

   4          Q      Leaving for medical attention, right?

   5          A      She was leaving to go home because she

   6          was -- she had -- she was having chest pains.

   7          Q      How would you know if she was leaving to

   8          go home if you didn't know what she was leaving

   9          for?

  10          A      I know.   She was leaving because she

  11          had -- she wasn't feeling well and she was

  12          having chest pain.

  13          Q      It's your testimony here today that

  14          leaving because of chest pains or not feeling

  15          well is not the same as leaving to seek medical

  16          attention?

  17          A      I don't know why she was -- she was

  18          leaving to go home.     She wasn't feeling well.

  19          Q      Well, when you testified --

  20          A      It wasn't a request.    She was leaving

  21          which was understood.

  22          Q      When you testified earlier that you never

  23          had any occasion to know of Ms. Skates leaving

  24          due to a disability or being sick or because of

  25          a medical condition, that was inaccurate
                                                                           100 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 100 of 296 PageID
                                     1828
    1                      V. Dinielli - 1/4/17

    2         testimony, right?

    3               MS. PANICO:    Objection to form.

    4         A     No.    Because I didn't know it was a

    5         condition.    I didn't know she was seeking

    6         medical attention.     She was leaving to go home.

    7         Q     Well, you just testified a few moments ago

    8         that you learned that Ms. Skates' treating

    9         doctor told her not to return to work for a

   10         week, right?

   11         A     What?

   12         Q     You just testified a few moments ago that

   13         you later learned that Ms. Skates' treating

   14         doctor told her not to return to work for a

   15         week.

   16         A     I said -- no, I didn't say --

   17               MS. PANICO:    Object to form.

   18         A     I said I was not aware.      I was not

   19         advised.

   20         Q     Did there ever come a time that you

   21         changed Ms. Skates' work schedule to include

   22         Sundays?

   23         A     Yes.

   24         Q     Did that change occur on or around May 22,

   25         2013?
                                                                           101 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 101 of 296 PageID
                                     1829
    1                      V. Dinielli - 1/4/17

    2         A     Yes.

    3         Q     So after Ms. Skates disrespected you and

    4         you wrote her up for insubordination on

    5         April 17, 2013 while she was in EAP program

    6         from April 19th through May 10th, you stuck her

    7         in the exercise room and then put her on

    8         Sundays --

    9               MS. PANICO:    Objection to form.

   10         Q     -- put her on Sundays when she never

   11         worked Sundays before?

   12         A     I didn't stick her anywhere.

   13         Q     You reassigned her?

   14         A     I reassigned her which people were

   15         reassigned quite often as need be.       And I, as

   16         far as Sundays, everybody -- every employee in

   17         the recreation center, aside from myself and

   18         one other employee, works a day on the

   19         weekends, Sunday through Thursday or Tuesday

   20         through Sunday.

   21         Q     Is every employee also reassigned to the

   22         rec room for their -- to the exercise room --

   23         A     As needed, yes.

   24         Q     -- for their own protection?      Does that

   25         happen to every employee?
                                                                           102 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 102 of 296 PageID
                                     1830
    1                      V. Dinielli - 1/4/17

    2         A     If an employee was being harassed in a

    3         certain area, I would reassign them so that

    4         they would not go -- they would not be

    5         subjected to treatment like that, yes.

    6         Q     But Ms. Skates was the only one that you

    7         reassigned to the exercise room for her

    8         protection during that period, right?

    9         A     It was only her and another individual.

   10         Q     Well, she was the only one, right?

   11         A     Yes.   Because the other individual had

   12         been in that room for a number of years.

   13         Q     She was the only one that you changed her

   14         schedule to include Sundays?

   15         A     No.

   16               MS. PANICO:    Objection to form.

   17         A     No.    Everybody.   Everybody worked a

   18         weekend.     We are recreation.    We are nights and

   19         weekends.

   20         Q     Well, didn't you know prior to making that

   21         change Ms. Skates couldn't work on Sunday due

   22         to religious commitment?

   23         A     No.

   24         Q     So it's your testimony here today that you

   25         were not aware that Ms. Skates could not work
                                                                           103 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 103 of 296 PageID
                                     1831
    1                      V. Dinielli - 1/4/17

    2         on Sundays due to her religious convictions?

    3         A     Yes.

    4         Q     Well, why is it that you told her that

    5         this is the schedule and I'm not going to

    6         change it?    Why did you say that to her then?

    7         A     Because after the schedule was changed,

    8         she said, I go to church on Sundays.        So I

    9         said, well, other people go to church on

   10         Saturdays.    Maybe you could switch your -- if

   11         your church is -- has services on Saturdays.

   12         We are a recreation and we're open seven days a

   13         week.

   14         Q     Well, I just asked you whether or not you

   15         knew that Ms. Skates said that she couldn't

   16         work on Sundays due to her religious

   17         convictions.    You said no.

   18         A     Before I made the ruling, before I sent

   19         her the assignment.

   20         Q     But there came a point in time that you

   21         learned that she couldn't work on Sundays due

   22         to her religion.

   23         A     That was afterwards.

   24         Q     And then in response you said, I'm not

   25         going to change it.     In fact, you elaborated
                                                                           104 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 104 of 296 PageID
                                     1832
    1                      V. Dinielli - 1/4/17

    2         and said that she needed to tell her pastor to

    3         change service to Saturday.

    4         A     I didn't tell her to tell her pastor to

    5         change service to Saturday.

    6         Q     Well, you told her to go to a Saturday

    7         service.

    8         A     I just said maybe your church offers

    9         services on Saturdays.      It was a suggestion.

   10         Q     You suggested that her pastor come in on

   11         Saturday for her because you put her on a day

   12         to work less than 20 days after she

   13         disrespected you?

   14               MS. PANICO:    Object to form.

   15         A     My church has -- I didn't ask anything

   16         extra.   My church has services on Saturday.

   17         Q     You usually do that to people who

   18         disrespect, Ms. Dinielli, you change their

   19         schedule and stick them in the exercise room?

   20         A     That was her schedule to be.      She was

   21         trained on Monday through Friday and she had to

   22         adhere to the same schedule that everybody else

   23         was working.

   24         Q     Did you ever receive a policy from

   25         Freeport with respect to retaliation?        Do you
                                                                           105 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 105 of 296 PageID
                                     1833
    1                      V. Dinielli - 1/4/17

    2         know what retaliation means, Ms. Dinielli?

    3         A     Yes, I do know what it means.

    4         Q     What does it mean?

    5         A     Means getting back at somebody, getting

    6         even.

    7         Q     You felt disrespected when Ms. Skates

    8         complained that she didn't have a key card,

    9         right?

   10         A     At that moment, she was disrespecting me

   11         and I wrote her up and it was over.

   12         Q     Was it really over when you stuck her in

   13         the exercise room while she was getting --

   14         A     Yes it was.

   15         Q     -- while she was still in EAP counseling?

   16               MS. PANICO:    Object to form.

   17         A     Yes.

   18         Q     Was it really over when you told her that

   19         she needed to go to her pastor and have him --

   20         suggest that he change his program from Sunday

   21         to Saturday?

   22               MS. PANICO:    Objection to form.

   23         Q     Was it really over then?

   24         A     It was just a suggestion that maybe she'd

   25         look into it.    I didn't tell her to go to her
                                                                           106 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 106 of 296 PageID
                                     1834
    1                      V. Dinielli - 1/4/17

    2         pastor.

    3         Q     Well, you concede and appreciate why we

    4         believe that that's retaliation, right?

    5               MS. PANICO:    Object to form.

    6         A     No.   To work the same schedule as every

    7         other employee in that building, no.

    8         Q     Do you tell every other employee or

    9         suggest to their pastor that they change their

   10         service from the day that the service is?

   11               MS. PANICO:    Objection to form.

   12         Q     You may answer.

   13         A     I've had other employees that have also

   14         stated religious preferences, yes.

   15         Q     Did there ever come a time that you

   16         learned thereafter -- well, withdrawn.

   17               So after you suggested that she tell her

   18         pastor --

   19         A     I didn't suggest she tell her pastor

   20         anything.

   21         Q     Suggest a new service, right?

   22         A     I suggest she seek.     I didn't suggest she

   23         told anybody anything.

   24         Q     When you later learned that her request

   25         for a religious accommodation to be off on
                                                                           107 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 107 of 296 PageID
                                     1835
    1                      V. Dinielli - 1/4/17

    2         Sundays, did you go back and adjust the

    3         schedule so she was off on Sunday?

    4         A     Yes, I did.

    5         Q     So you made a decision to strip her of a

    6         day that she was entitled to without having the

    7         full information or knowledge as to what you

    8         could have or couldn't do.

    9               MS. PANICO:    Objection to form.

   10         Q     Right?

   11         A     I don't understand what you mean.

   12         Q     Well, why would you give her a day that

   13         you took away if you knew that you couldn't

   14         take it away to begin with?

   15               MS. PANICO:    Objection to form.

   16         A     I don't understand what you're saying.

   17         Q     Why would you give Ms. Skates her Sundays

   18         back if you knew that you didn't have the right

   19         to take it away to begin with?

   20               MS. PANICO:    Objection to form.

   21         A     I had the right to take it away.       I gave

   22         it back to her because she agreed -- my

   23         lightest days are Fridays and Mondays because

   24         of the Saturday/Sunday schedule.       She agreed to

   25         keep the Monday and split her days off.        So we
                                                                           108 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 108 of 296 PageID
                                     1836
    1                      V. Dinielli - 1/4/17

    2         sort of made an agreement.      It was a

    3         negotiation on both of our parts.

    4         Q     Do you usually negotiate with people who

    5         disrespect you?

    6         A     I negotiate with my employees, yes.

    7         Q     Do your employees disrespect you?

    8         A     On a whole, no.

    9         Q     Do you usually negotiate with employees

   10         that disrespect you?

   11         A     I negotiate with anybody if it's something

   12         that can be talked about, yes.

   13         Q     How is it negotiation when you took the

   14         day away?

   15               MS. PANICO:    Objection to form.

   16         A     Because I assign schedules to all my

   17         employees.

   18         Q     So generally employees are given two

   19         consecutive days off, right?

   20         A     Yes.

   21         Q     Is that a long-standing practice and

   22         policy?

   23         A     We like to do that.

   24         Q     So is there any reason why after

   25         Ms. Skates complained about her schedule that
                                                                           109 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 109 of 296 PageID
                                     1837
    1                      V. Dinielli - 1/4/17

    2         she was the only employee during that time that

    3         wasn't given two consecutive days off?

    4         A     She agreed to it.

    5         Q     Do you have that agreement in writing?

    6         A     She did it.

    7         Q     I'm asking you.    Do you have it in

    8         writing?    Is that part of the notes you

    9         reviewed before you came here today?

   10         A     No.   I don't recall seeing it.      I'm not

   11         really quite sure.

   12         Q     Why would she agree to something and then

   13         later complain about it?

   14         A     I don't know.    You would have to ask her.

   15         Q     Is it possible that she didn't agree to

   16         it?

   17         A     Well, she didn't come -- she worked the

   18         day -- she worked on the Monday and she didn't

   19         work on the Sunday.     So I would assume she

   20         agreed.

   21         Q     Did there ever come a time that you

   22         learned that Ms. Skates required

   23         hospitalization in or about June of 2013

   24         through July 2nd of 2013?

   25         A     I did learn that at some point, yes.
                                                                           110 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 110 of 296 PageID
                                     1838
    1                      V. Dinielli - 1/4/17

    2         Q     And what was the reason why you learned

    3         that Ms. Skates required hospitalization?

    4               MS. PANICO:    Objection to form.

    5         A     She -- when she called -- when she -- I

    6         had sent her -- when she hadn't come to work, I

    7         sent her a letter and she replied.       She called

    8         me up and told me that he had been in the

    9         hospital.

   10         Q     Do you know why she was in the hospital?

   11         A     No.

   12         Q     Does stress-induced stomach pains sound

   13         about right?

   14         A     I was not informed what her ailment was.

   15         Q     How about back pains; does that sound

   16         right?

   17         A     No.

   18         Q     How about possible suicidal ideation; does

   19         that sound right?

   20         A     No.   I was not privy to her medical

   21         history.

   22         Q     Well, you testified earlier that you were

   23         privy that she needed to go home early because

   24         she had chest pains, right?

   25         A     She told me.
                                                                           111 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 111 of 296 PageID
                                     1839
    1                      V. Dinielli - 1/4/17

    2         Q     Is that not a medical history?

    3         A     Well, she told me.

    4         Q     Did you send her a letter in June 5th of

    5         2013 telling her that she needed to give you

    6         medical documents?

    7         A     Yes.

    8         Q     Did she ever respond to that letter?

    9         A     She sent me a doctor's note stating that

   10         when she could return to work.

   11         Q     You just testified a few moments ago that

   12         you didn't have any documentation pertaining to

   13         her medical history.

   14         A     It doesn't say on it what her problem was.

   15         Q     Would you consider a letter from a doctor

   16         medical documentation?

   17         A     I said I was aware that she had seen a

   18         doctor and was hospitalized.       Said I did not

   19         know why she was hospitalized.

   20         Q     Do you usually testify with incomplete and

   21         inaccurate responses?

   22               MS. PANICO:    Objection to form.

   23         Q     Do you usually give inaccurate testimony

   24         while under oath?

   25         A     I try my best.
                                                                           112 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 112 of 296 PageID
                                     1840
    1                      V. Dinielli - 1/4/17

    2         Q     Do you correct instances where you give

    3         inaccurate testimony while under oath?

    4               MS. PANICO:    Object to form.

    5         A     I have not been under oath in quite awhile

    6         so...

    7         Q     What was the contents of that letter?

    8         A     I believe -- I'm just -- she had not come

    9         to -- she had called in sick.       She had not come

   10         back to work and the letter stated that she

   11         needed to -- the doctor's note that she had

   12         sent us said that she was going to return on a

   13         certain date.    She did not return to work on

   14         that date.

   15               About a week, give or take, had passed and

   16         I said if you do not return to work on I think

   17         it was July 8th, we will assume that you're --

   18         that you're abandoning your job.

   19         Q     Earlier I asked you whether or not

   20         Ms. Skates had made a request for sick leave.

   21         You testified no.

   22         A     Yes.

   23         Q     But you just testified a few moments ago

   24         that she called in sick and made a request for

   25         sick leave.
                                                                           113 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 113 of 296 PageID
                                     1841
    1                      V. Dinielli - 1/4/17

    2         A     No.   She called in sick day by day.

    3         Q     When I asked you earlier if she made a

    4         request for sick leave, you told me no.

    5         A     Well, leave to me -- I understand leave to

    6         be --

    7         Q     Or she called in sick.     You said no.

    8         A     I understand leave to be more than a day.

    9         Leave to be -- like when you say leave, that's

   10         what I'm -- that's what I am --

   11         Q     But when I asked you earlier --

   12         A     I understand it to be.

   13         Q     When I asked you earlier whether or not

   14         Ms. Skates had called in sick you said no.

   15               MS. PANICO:    Objection to form.

   16         A     I never said no.

   17               MS. PANICO:    That's a mischaracterization

   18         of testimony again.

   19         Q     When I asked you earlier whether or not

   20         Ms. Skates -- were you aware of any

   21         disabilities she may have had, you said no.

   22               MS. PANICO:    Again, objection to form.

   23         A     I'm not aware of any disabilities.

   24         Q     When I asked you earlier whether or not

   25         Ms. Skates had any medical conditions, you said
                                                                           114 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 114 of 296 PageID
                                     1842
    1                      V. Dinielli - 1/4/17

    2         no.

    3               MS. PANICO:    Objection to form.

    4         A     I'm not aware of any medical condition.

    5         Q     And when I asked you if she requested sick

    6         time, you said no.

    7               MS. PANICO:    Objection to form.

    8         A     A span of sick time.     She never asked to

    9         be off for a length of time.

   10         Q     So it's your testimony here today that the

   11         testimony you gave earlier was inaccurate?

   12               MS. PANICO:    Again, objection to form.

   13               Please stop mischaracterizing her

   14         testimony.

   15         A     No.

   16         Q     You just testified a few moments ago that

   17         you learned directly that Ms. Skates made a

   18         request for sick -- to call in sick on a

   19         certain day.

   20         A     She called in days and she said she wasn't

   21         coming to work.     Some days she said her

   22         daughter was ill.     Some days she said she had a

   23         personal problem.     She never called -- I never

   24         knew -- first of all, she never called in to

   25         me.   So I never spoke to her until that one --
                                                                           115 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 115 of 296 PageID
                                     1843
    1                      V. Dinielli - 1/4/17

    2         until after I sent her the letter.

    3         Q     So when she called in sick and you

    4         testified earlier that she never called in

    5         sick, that was inaccurate, right?

    6               MS. PANICO:    Objection to form.

    7               Mr. Henry, we have a stenographer here for

    8         a reason.

    9               MR. HENRY:    Your objection is noted.

   10               (Counsel speaking simultaneously.)

   11               MS. PANICO:    We have a stenographer here

   12         for reason.    She's recording the record --

   13               MR. HENRY:    Again, your objection is

   14         noted.

   15               MS. PANICO:    Please allow me to make a

   16         record.

   17               MR. HENRY:    No.    Because speaking

   18         objections is not needed.

   19               May I please move forward?

   20               MS. PANICO:    No.   I'm allowed to make a

   21         record.

   22               MR. HENRY:    I accommodated you by allowing

   23         this deposition to happen after 1 o'clock.

   24         And, please, your objection is noted.         But if

   25         you want to have a speaking objection, we can
                                                                           116 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 116 of 296 PageID
                                     1844
    1                      V. Dinielli - 1/4/17

    2         leave a part in the transcript at the end so

    3         you can note it.

    4               MS. PANICO:    You're taking longer to go

    5         through this right now than it would for me to

    6         make my objection.

    7               My objection is that there is a record --

    8               (Counsel speaking simultaneously.)

    9               MR. HENRY:    Your objection is noted.

   10               MS. PANICO:    There is a record of

   11         Ms. Dinielli's --

   12               MR. HENRY:    Your objection is noted.     You

   13         cannot tell me --

   14               MS. PANICO:    Mr. Henry, please allow me to

   15         make my objection.

   16               MR. HENRY:    I'm going to call the Court at

   17         this time.

   18               MS. PANICO:    To allow me to make --

   19               MR. HENRY:    I'm calling the Court because

   20         this counsel is engaging in what I believe to

   21         be obstruction misconduct.      We have a number of

   22         objections that have been made, but in the

   23         spirit of moving this along, I haven't taken

   24         much issue with it.

   25               Now I'm asking this witness pointed
                                                                           117 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 117 of 296 PageID
                                     1845
    1                      V. Dinielli - 1/4/17

    2         questions that tests her credibility and

    3         knowledge.    I note Counsel's objection.      And at

    4         the end of the day, if Counsel does not allow

    5         me to move forward, I'm going to call the Court

    6         because I believe this is completely harassing

    7         and oppressive.

    8               So can I ask my next question or am I

    9         going to have to call the Court.

   10               MS. PANICO:    No.   I'm making a record.

   11               MR. HENRY:    Your objection is noted.

   12         Please --

   13               MS. PANICO:    No.   It's going to take

   14         longer for you to call the Court than it will

   15         for me to just make the objection.

   16               (Counsel speaking simultaneously.)

   17               MR. HENRY:    Let the record reflect I'm

   18         calling the Court.

   19               MS. PANICO:    Okay.   Call the Court again.

   20               MR. HENRY:    I'm not going to deal with

   21         speaking objections.       The Court just admonished

   22         you on it, that you're able to give your

   23         objection and move on.       But you want to give a

   24         speaking dialogue.

   25               (Whereupon, a short recess was taken.)
                                                                           118 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 118 of 296 PageID
                                     1846
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    Back on the record.

    3               Can we agree that the Court said to move

    4         on -- it's objection to form and move on.

    5               MS. PANICO:    No, we can't agree.

    6               Let's just move on with the deposition,

    7         Mr. Henry.

    8               MR. HENRY:    All right.   One second.

    9               Could I have a readback of my last

   10         question, please, before the Court was called.

   11               (Whereupon, the requested record was read

   12         back by the Court Reporter.)

   13               MS. PANICO:    Objection to form.

   14         Q     You may answer.

   15         A     I never said she never called in.       There

   16         were times she called in for a day.        She never

   17         called in for a leave.      She never requested a

   18         leave.   And there were times she didn't call

   19         in.

   20         Q     So did there come a time that you learned

   21         that Ms. Skates would be required to stay in

   22         the hospital and not return to work until

   23         July 8, 2013?

   24         A     No.   There was a different date.

   25         July 8th was the day she was supposed to return
                                                                           119 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 119 of 296 PageID
                                     1847
    1                      V. Dinielli - 1/4/17

    2         to work.

    3         Q     What date was it that you learned she

    4         would be staying in the hospital?

    5         A     I believe the doctor said June 16th.

    6         Q     Did there ever come a time that you

    7         informed Ms. Skates that she would be suspended

    8         for two days without pay for failing to call in

    9         sick due to hospitalization?

   10         A     Yes.   She was -- yes.    She was suspended.

   11         I don't know that it was for a hospitalization

   12         that she was suspended.

   13         Q     Well, was she suspended because of the

   14         fact that she was out sick?

   15         A     She was suspended because she hadn't

   16         called in some of the days, all of days.

   17         Q     Well, did any part of those days have to

   18         do with receiving medical treatment or being

   19         hospitalized?

   20         A     I don't know.

   21         Q     Well, you just testified a few moments ago

   22         that you learned and received medical documents

   23         from her doctor pertaining to the period in

   24         time that she was out of work.

   25         A     That was after the fact.
                                                                           120 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 120 of 296 PageID
                                     1848
    1                      V. Dinielli - 1/4/17

    2         Q     So the suspension for two days -- it's

    3         your testimony that that suspension happened

    4         before?

    5         A     I don't recall.    I would have to look at

    6         the timeline of what the dates were.        I don't

    7         remember.

    8         Q     Did there ever come a time that you

    9         learned that Ms. Skates filed a complaint

   10         against you or against Freeport on a basis of

   11         her race, religion and disability and

   12         retaliation?

   13               MS. PANICO:    Objection to form.

   14         Q     You may answer.

   15               MS. PANICO:    Asked and answered.

   16         A     During her employment, no.      After her

   17         employment, yes.

   18         Q     So at the time that you suspended

   19         Ms. Skates, did you learn shortly thereafter

   20         that you were named in a complaint by her?

   21               MS. PANICO:    Object to form.

   22         A     After her termination, I was advised.        Not

   23         during her employment.

   24         Q     How did you receive that notice?

   25         A     I don't recall.
                                                                           121 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 121 of 296 PageID
                                     1849
    1                      V. Dinielli - 1/4/17

    2         Q     Did there also come a point in time that

    3         you learned that -- you later learned that

    4         Ms. Skates complained about you in that

    5         complaint to the -- that administrative filing

    6         with the EEOC New York State Division of Human

    7         Rights?

    8               MS. PANICO:    Objection.    Asked and

    9         answered.

   10         A     If I was given a copy of it, I'm sure I

   11         read it.

   12         Q     Did there ever come a time that you later

   13         learned that Ms. Skates suffered a work-related

   14         injury on her right wrist?

   15         A     I learned it the day -- the day she was --

   16         she went -- after she went to the emergency

   17         room, she called me and she told me that she

   18         had hurt her wrist.

   19         Q     Do you recall what date that was?

   20         A     October 22nd possibly.

   21         Q     And what did you understand about that

   22         injury that she suffered?

   23         A     I don't understand anything.      I mean she

   24         told me she hurt her wrist and she was in the

   25         emergency room.
                                                                           122 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 122 of 296 PageID
                                     1850
    1                      V. Dinielli - 1/4/17

    2         Q     When you say she told you, how did she

    3         tell you that?

    4         A     She called up.

    5         Q     Did she submit to you any requests in

    6         writing or any notice in writing?

    7         A     No.

    8         Q     And how did you -- what was your

    9         understanding of that work-related injury to

   10         her right wrist?

   11         A     After she left the emergency room, she

   12         came to the recreation center to fill out an

   13         incident report and she told me that she had

   14         hurt her wrist the prior day when she was

   15         cleaning the parking lot, picking up garbage.

   16         Q     Did you look at the FMLA -- I'm sorry.

   17         Did you look at the -- withdrawn.

   18               Do you have any knowledge or experience

   19         with Village of Freeport's work-related injury

   20         policies?

   21         A     No.   That's why I called Human Resources.

   22         Q     Who in Human Resources did you call?

   23         A     I called Conor Kiran who quickly came over

   24         to see Ms. Skates.

   25         Q     Was this the same Conor Kiran that gave
                                                                           123 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 123 of 296 PageID
                                     1851
    1                      V. Dinielli - 1/4/17

    2         you the directive to threaten Ms. Skates with

    3         something that you didn't agree with as it

    4         pertained to her attendance record?        Was that

    5         the same Conor Kiran or a different one?

    6         A     Conor is the director -- Mr. Kiran is the

    7         director of Human Resources.       We only have one

    8         director of Human Resources.       He did not tell

    9         me to threaten her.

   10         Q     Well, he told you to give her a directive

   11         you didn't agree with.

   12         A     He told me to give her a directive --

   13         Q     That you disagreed with, right?

   14         A     I did disagree with it, but I'm not Human

   15         Resources.

   16         Q     Was that the same Conor that you called

   17         when Ms. Skates said --

   18         A     Yes.

   19         Q     Well, do you think that he would have been

   20         fair in evaluating that October 22nd or so 2013

   21         medical leave request from Ms. Skates?        Do you

   22         think he would have been fair?

   23               MS. PANICO:    Objection to form.

   24         A     That's his job.

   25         Q     Was it his job also to give directives
                                                                           124 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 124 of 296 PageID
                                     1852
    1                      V. Dinielli - 1/4/17

    2         that you disagreed with?

    3         A     Yes.

    4         Q     Did there ever come a time that you

    5         learned that Ms. Skates was advised that she

    6         needed to be out of work for several months in

    7         order for the damaged ligaments to heal?

    8         A     No.

    9         Q     So it's your testimony here today that you

   10         never learned that Ms. Skates needed to be out

   11         of work for months due to damaged ligaments?

   12         A     No.

   13               MS. PANICO:    Objection.    Asked and

   14         answered.

   15         Q     Is that no that that's not your testimony

   16         or is that -- is your testimony that you

   17         weren't aware that she needed months?

   18         A     I was not aware.

   19         Q     Did there ever come a time that you

   20         learned that Ms. Skates applied for workers'

   21         compensation?

   22         A     No.

   23         Q     Did there ever come a time that Ms. Skates

   24         provided you with a doctor's note as it

   25         pertained to that October 22, 2013?
                                                                           125 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 125 of 296 PageID
                                     1853
    1                      V. Dinielli - 1/4/17

    2         A      No.    Because she was terminated on that

    3         day.   So I had no -- I had no conversation with

    4         her after that day.

    5         Q      Well, how would you know that she was

    6         terminated?

    7         A      How do I know?   Because when Conor Kiran

    8         came over, he came over with legal counsel the

    9         day that she came in with her arm and they

   10         terminated her.

   11         Q      They terminated Ms. Skates on the day that

   12         she had a work-related injury.

   13                Is that your testimony?

   14         A      The day she claimed she had a work-related

   15         injury.

   16         Q      So the day that Ms. Skates had a

   17         work-related injury, she was terminated, right?

   18         A      Yes.   They were not aware of the

   19         work-related injury prior to making plans to

   20         terminate her.

   21         Q      But you were aware that she --

   22         A      I was aware that morning.

   23         Q      So the decision --

   24         A      It was a decision to terminate her the

   25         prior day when we had no idea she had a
                                                                           126 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 126 of 296 PageID
                                     1854
    1                      V. Dinielli - 1/4/17

    2         work-related injury.     The next morning she

    3         called out.    So I said we cannot terminate her

    4         today.   She called and said she was coming to

    5         fill out a report.     I called over to Human

    6         Resources.    They came over and they terminated

    7         her.

    8         Q      So you stood up for Ms. Skates and said we

    9         can't terminate her on that day, right?

   10         A      No.

   11         Q      Well, didn't you just testify that you

   12         said that they couldn't terminate her on that

   13         day?

   14         A      They couldn't terminate her because she

   15         wasn't coming to work.      She was not here to

   16         terminate her.

   17         Q      So the decision to terminate her, was that

   18         a decision that came from you?

   19         A      It was a collective decision to terminate

   20         her.

   21         Q      Was that collective decision -- were you

   22         at the helm of that collective decision?

   23         A      I wouldn't say I was at the helm, no.       I

   24         don't have that authority.

   25         Q      Was that another decision or another
                                                                           127 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 127 of 296 PageID
                                     1855
    1                      V. Dinielli - 1/4/17

    2         directive that you just received orders?

    3         A      No.   I agreed with it.

    4         Q      So you agreed that Ms. Skates should be

    5         terminated on the day that she learned that --

    6         the day that you learned of a work-related

    7         injury?

    8                MS. PANICO:   Objection to form.

    9         A      I wasn't aware of the work-related injury

   10         when the decision was made to terminate her.

   11         When she left work on the day of the injury,

   12         she told nobody.     In fact, I saw her leave and

   13         she didn't tell me she hurt herself during the

   14         day.

   15         Q      Are you familiar with the Village of

   16         Freeport's work-related injury policy and as it

   17         relates to protection afforded to people who

   18         suffer injuries?

   19         A      No.

   20         Q      Did you care to look at it?

   21         A      Whenever I have a question or something

   22         I'm not aware of that comes up, I call Human

   23         Resources for them to educate me and inform me.

   24         Q      But in this instance you didn't call Human

   25         Resources, did you?
                                                                           128 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 128 of 296 PageID
                                     1856
    1                      V. Dinielli - 1/4/17

    2         A      Yes, I did.

    3         Q      Did you call Human Resources before or

    4         after you agreed with the decision to

    5         terminate?

    6         A      I called -- I called Human Resources on

    7         the morning of the 22nd stating Ms. Skates was

    8         not coming to work so we could not terminate

    9         her.   She then came in.     I did not know she was

   10         coming in.    She then came in with her arm in a

   11         sling.   At that point, I didn't even know it

   12         was a work-related injury.

   13                I called Human Resources.     I said,

   14         Ms. Skates' arm is in a sling.       She was in

   15         Nassau Hospital.     They said try to keep her

   16         there.   We're coming over.     They came over and

   17         she was terminated.

   18         Q      Did you find -- did you think that that

   19         was fair to terminate someone who had a

   20         work-related injury that you stuck in an

   21         exercise room and that had disrespected you?

   22                MS. PANICO:   Objection to form.

   23         A      I didn't stick her anywhere.

   24         Q      You reassigned her, right?

   25         A      That's my job to reassign.     I reassign all
                                                                           129 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 129 of 296 PageID
                                     1857
    1                      V. Dinielli - 1/4/17

    2         my -- I move around all my employees.

    3         Q     Did you think that that was fair?

    4         A     Did I think it was fair, I thought it was

    5         necessary.

    6         Q     Why did you think it was necessary?

    7         A     Because she wasn't -- she was not -- she

    8         did not -- her work was not satisfactory.        Far

    9         from satisfactory.

   10         Q     Had she been written up at all?

   11         A     Yes.

   12         Q     During the period after she disrespected

   13         you to the point in time that she was

   14         hospitalized, was she written up for

   15         performances issues?

   16         A     She sent -- she was spoken to.       She was

   17         written up when she went to the EAP.

   18         Q     That was right after she disrespected you,

   19         right?

   20         A     Yeah.

   21         Q     Were there any other writeups during that

   22         time?

   23         A     I don't recall.

   24         Q     So in fact you can't point to one

   25         performance-related writeup after she
                                                                           130 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 130 of 296 PageID
                                     1858
    1                      V. Dinielli - 1/4/17

    2         disrespected you, right, aside from the EAP,

    3         aside from the insubordination where she

    4         disrespected you?

    5         A     She had disrespect.     She had --

    6         Q     That was it, right?

    7         A     No.   She didn't show up for work.      She

    8         didn't call in for work.      She thought her

    9         daughter was calling in for work.       Then I had a

   10         lot of complaints from employees about her,

   11         about her behavior and how they couldn't get

   12         along with her.

   13         Q     But you didn't write her up for those,

   14         right?   From the time that she was written up

   15         for disrespecting you to the time in

   16         October 2013, you hadn't written her up for any

   17         of those other things, right?

   18               MS. PANICO:    Objection to form.

   19         A     I don't know if I wrote her up.       I kept

   20         administration in the loop of everything that

   21         was happening.

   22         Q     Aside from the request that she made for

   23         sick leave and aside from the time that she

   24         needed off, that she was entitled to, you can't

   25         identify any other instance where you wrote her
                                                                           131 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 131 of 296 PageID
                                     1859
    1                      V. Dinielli - 1/4/17

    2         up.

    3               MS. PANICO:    Objection to form.

    4         Q     Right?

    5               MS. PANICO:    Aside from what she testified

    6         to already?

    7         A     I don't know to be a fact.      I would have

    8         to go back at the time.      I don't know if she

    9         was written up or not.

   10         Q     But as we're seeing here, we know that she

   11         was only written up at least one time from the

   12         time she disrespected you and that was the time

   13         she disrespected you, right?

   14               MS. PANICO:    Objection to form.

   15         A     I sent her a letter that she had to come

   16         back work.

   17         Q     And that was the letter that you sent in

   18         or around July of 2013 and that was after or

   19         before you found out that she was in the

   20         hospital, right?

   21               MS. PANICO:    Objection to form.

   22         A     The doctor said she would return to work

   23         on June 16th.

   24         Q     How would you know what the doctor said if

   25         you testified earlier you didn't receive any
                                                                           132 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 132 of 296 PageID
                                     1860
    1                      V. Dinielli - 1/4/17

    2         medical documentation?

    3         A     I said that I received it after I asked

    4         for it.

    5         Q     Did there ever come a time that Ms. Skates

    6         complained to you or rather have there ever

    7         been a time that Ms. Skates had complained or

    8         filed a grievance against you?

    9               MS. PANICO:    Objection.    Asked and

   10         answered several times.

   11         A     I don't believe.

   12         Q     Did there ever come a time --

   13         A     Not during her employment, yes.

   14         Q     Did there ever come a time that you denied

   15         Ms. Skates' complaint or grievance filed with

   16         respect to how you handled her request?

   17               MS. PANICO:    Objection to form.

   18         A     Well, when she made a call to the union or

   19         when she requested the help of the union, I

   20         guess that would be a complaint, but not

   21         necessarily about me.      Well, I guess maybe

   22         about me, my department.

   23         Q     When you say you guess about you, in fact,

   24         it was about you?

   25         A     It was about the policies or the decisions
                                                                           133 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 133 of 296 PageID
                                     1861
    1                      V. Dinielli - 1/4/17

    2         that were made.

    3         Q     The decisions that were made by you,

    4         right?

    5         A     That were handed down to her by me, yes.

    6         Q     Were you ever the subject of a grievance

    7         filed by Ms. Skates?

    8               MS. PANICO:    Objection.    Asked and

    9         answered.

   10         A     I don't recall.

   11         Q     Did you ever deny any of Ms. Skates'

   12         grievance requests?

   13         A     I don't recall what the grievances were,

   14         so I can't say yes or no.

   15         Q     Did there ever come a time that Ms. Skates

   16         made a grievance to you pertaining to time that

   17         she needed to heal that you denied?

   18         A     No.

   19         Q     Did there ever come a time that Ms. Skates

   20         made a grievance to you for time that she

   21         needed to address a medical condition that you

   22         denied?

   23         A     No.

   24         Q     Did there ever come a time that Ms. Skates

   25         made a grievance to you during the period of
                                                                           134 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 134 of 296 PageID
                                     1862
    1                      V. Dinielli - 1/4/17

    2         June 2013 that you denied?

    3         A      No.   She used every day she had available

    4         to her.

    5         Q      So your testimony here today is that in

    6         June, around June 2013, Ms. Skates didn't make

    7         a grievance to you that you denied?

    8                MS. PANICO:   Objection to form.

    9         A      I never denied anything that she was --

   10         that she was entitled to, no.

   11                MR. HENRY:    At this time, I would like to

   12         mark for identification 1, previously marked as

   13         1.

   14                MS. PANICO:   Do you have a copy for me?

   15                MR. HENRY:    Sorry.   I don't.

   16                MS. PANICO:   Could you make me a copy?

   17                MR. HENRY:    Sorry.   We don't have that

   18         much time.

   19                (Whereupon, the aforementioned document,

   20         was marked as Plaintiff's Exhibit 1 for

   21         identification as of this date by the

   22         reporter.)

   23    BY MR. HENRY:

   24         Q      Do you recognize that document in front of

   25         you?
                                                                           135 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 135 of 296 PageID
                                     1863
    1                      V. Dinielli - 1/4/17

    2               MS. PANICO:    Give me an opportunity to

    3         review it.

    4               MR. HENRY:    How can you review?     You can't

    5         review it.    This is not the trial.

    6               I'm calling the Court.

    7               MS. PANICO:    Allowed to see --

    8               MR. HENRY:    No.   Let the --

    9               MS. PANICO:    I'm allowed to see what

   10         you're showing my client.

   11               (Counsel speaking simultaneously.)

   12               MR. HENRY:    You can see it right there.

   13               MS. PANICO:    Then call the Court again.

   14               MR. HENRY:    I will.   I absolutely will.

   15               The witness needs to see the document

   16         that's there in front her.      You're not even

   17         allowing her to look it.

   18               MS. PANICO:    I will allow her once I get

   19         to see what you're giving her.

   20               MR. HENRY:    Let her see it.    I don't

   21         understand.    You're not going to go through

   22         this with all my exhibits.      I'm not doing this.

   23         I'm calling the Court.

   24               MS. PANICO:    Just give me a copy of

   25         whatever you're giving my client.
                                                                           136 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 136 of 296 PageID
                                     1864
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    I have one copy.    We already

    3         had these previously marked.

    4               MS. PANICO:    Just give me a copy.     How can

    5         you show my client something when you're not

    6         even giving me an opportunity to --

    7               MR. HENRY:    These are documents that you

    8         produced.

    9               (Whereupon, an off-the-record discussion

   10         was held.)

   11               MR. HENRY:    On the record.

   12               Counsel had this one-page document that

   13         has maybe five lines, total word count of 40 in

   14         her hand now for at least two minutes, the time

   15         it took for me to call the Court.       She's

   16         looking, gesturing in a way as if to say she's

   17         holding it, inspecting every corner of it.         We

   18         need to move on.

   19               MS. PANICO:    You're unbelievable.

   20               Mr. Henry, for the record I would like to

   21         state that during those two minutes that I had

   22         this document --

   23               MR. HENRY:    Three minutes, actually.

   24               MS. PANICO:    -- we were on the telephone

   25         with the Court.
                                                                           137 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 137 of 296 PageID
                                     1865
    1                      V. Dinielli - 1/4/17

    2               I guess Mr. Henry expected me while I was

    3         giving my argument to the Court to be reading

    4         the document.    I'm sorry if I'm incapable of

    5         speaking to the Court while I'm also reading a

    6         document.    But I don't have that capability,

    7         Mr. Henry.    I am very proud of you if you do

    8         have that ability, but that's not my

    9         capabilities.

   10               I'm now asking for the opportunity to

   11         review the document as the Court said that I'm

   12         entitled to do.

   13               MR. HENRY:    She said briefly.    See the

   14         exhibit tab and then that's it.       That's where

   15         we're at.

   16               Counsel has had this exhibit now for five

   17         minutes, plus the time we were on the phone

   18         with the Court.

   19               MS. PANICO:    Mr. Henry, I'm not going to

   20         read the document while you're speaking into

   21         the record.    If you will give me an opportunity

   22         to review the document, it will take me all of

   23         30 seconds to do.

   24               (Counsel speaking simultaneously.)

   25               MR. HENRY:    We have 50 exhibits left to
                                                                           138 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 138 of 296 PageID
                                     1866
    1                      V. Dinielli - 1/4/17

    2         go.   I can't afford for you to take five

    3         minutes an exhibit --

    4               MS. PANICO:    If you would just stop

    5         talking, then I can review the exhibit.

    6               MR. HENRY:    The document speaks for

    7         itself.     You provided it to us.    It shouldn't

    8         be difficult for you to recall a document you

    9         gave us.

   10               MS. PANICO:    Are you done speaking?

   11    BY MR. HENRY:

   12         Q     Do you recognize that document there

   13         before you?

   14         A     Yes.

   15         Q     What do you recognize that document to be?

   16         A     As I stated before, I believe this has got

   17         to do with the parking pass which I did state

   18         before that I did deny her.

   19         Q     Drawing your attention to where it says

   20         "To," do you see that?

   21         A     To?

   22         Q     Yes.   To.   Who is it addressed to?

   23         A     To.    Earline Skates.

   24         Q     Who is it from?

   25         A     It's from me.    Okay.
                                                                           139 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 139 of 296 PageID
                                     1867
    1                      V. Dinielli - 1/4/17

    2         Q     And who is cc'd in there?

    3         A     Conor Kiran, Human Resources.      And I sent

    4         it to Earline's e-mail.

    5         Q     What --

    6         A     I don't really remember anything about

    7         this to be totally honest.

    8         Q     Can you go ahead and read what it says

    9         there?

   10         A     Reviewed your June 6th grievance, I don't

   11         remember what the grievance is, and the current

   12         Collective Bargaining Agreement.       After my

   13         review, I'm denying your request.

   14               I don't really recall what the background

   15         of this is.     I have to be honest.

   16         Q     When you testified earlier that you had

   17         not given Ms. Skates or denied Ms. Skates'

   18         grievance in June of 2013, that was inaccurate,

   19         right?

   20         A     It was accurate according to my

   21         recollection.    I do not recall this.

   22         Q     Do you usually give inaccurate testimony

   23         or inaccurate responses when you don't have a

   24         complete picture of the facts?

   25               MS. PANICO:    Objection to form.
                                                                           140 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 140 of 296 PageID
                                     1868
    1                      V. Dinielli - 1/4/17

    2         A     I thought I had a picture of the facts.

    3         Q     So do you usually give inaccurate or

    4         incorrect testimony when you think or you

    5         thought you had a clear picture?

    6               MS. PANICO:    Objection to form.

    7         A     I answer at the time to what I believe is

    8         true.

    9         Q     Well, now that you see this document here

   10         in front of you, that testimony that you gave

   11         earlier that you did not deny her grievance in

   12         2013, that was inaccurate, right?

   13               MS. PANICO:    Objection to form.

   14         A     I don't even know what this was about.        I

   15         would have to see the June 6 grievance.        I

   16         don't even recall that.

   17         Q     But that testimony was inaccurate, right?

   18         A     I don't know that.     I have not seen -- I

   19         don't know what that -- I don't know what this

   20         is.   I don't recall this.

   21         Q     But that's your name, right?

   22         A     It is my name, yes.

   23               So then if I did deny a request, then it's

   24         right here that I did.      Although my signature

   25         is not on here, but usually I sign my things.
                                                                           141 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 141 of 296 PageID
                                     1869
    1                      V. Dinielli - 1/4/17

    2         But I guess, you know, if I sent it, I sent it.

    3         I'm not saying I didn't.      I don't recall.

    4         Q     So the testimony that you gave earlier was

    5         incorrect, right?

    6         A     If this is correct, then it's incorrect.

    7         Then I was mistaken.

    8         Q     Do you usually give mistaken and incorrect

    9         testimony while you're under oath?

   10         A     I'm human.    I'm doing the best I can.

   11         Q     So is it your testimony here today that

   12         because you're human it excuses you from your

   13         obligation to give truthful testimony while

   14         under oath?

   15               MS. PANICO:    Objection to form.

   16         A     It doesn't excuse me but allows me.

   17         Q     You believe here and based upon your

   18         testimony you're allowed to give inaccurate

   19         testimony?

   20         A     I'm allowed to make a mistake.

   21         Q     So that's what you call giving inaccurate

   22         testimony, making a mistake, right?

   23         A     I don't recall this.     I don't recall this

   24         conversation or this issue.

   25         Q     There ever come a time that you learned
                                                                           142 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 142 of 296 PageID
                                     1870
    1                      V. Dinielli - 1/4/17

    2         that Ms. Skates grieved the fact that she did

    3         not have two consecutive days off from work?

    4         A     She agreed to it.     I don't believe she

    5         grieved it because that was the agreement that

    6         we made.

    7         Q     So your testimony here today is that --

    8         A     She wanted the Sunday off.      This was the

    9         agreement that we made.

   10         Q     Earlier when I asked you whether or not

   11         Ms. Skates had complained or grieved or

   12         challenged your decision to have her not have

   13         two consecutive days off, you said no, right?

   14         A     I said she agreed to it.      That was the

   15         agreement that we together came upon.

   16         Q     Then my question to you was:      Why would

   17         she agree to something and then complain about

   18         it?   Do you remember that question?

   19         A     Yes.   I said to you she didn't come to

   20         work on Sunday, but she did come to work on

   21         Monday.

   22         Q     Then I also asked you whether or not

   23         Ms. Skates grieved or complained about that

   24         having two consecutive days off and you said

   25         no, right?
                                                                           143 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 143 of 296 PageID
                                     1871
    1                      V. Dinielli - 1/4/17

    2         A     I believe that after we made that

    3         agreement, she went with the schedule.

    4               MR. HENRY:    At this time I would like to

    5         mark for identification Plaintiff's 2.

    6               (Whereupon, the aforementioned document,

    7         was marked as Plaintiff's Exhibit 2 for

    8         identification as of this date by the

    9         reporter.)

   10    BY MR. HENRY:

   11         Q     Do you see that document there?

   12         A     Yes, I do.

   13         Q     What do you recognize that document to be?

   14         A     It's a document about her grieving the two

   15         days off.

   16         Q     When you testified earlier that Ms. Skates

   17         did not grieve or complain about not having two

   18         days off, that was inaccurate, right?

   19         A     You asked me if I remembered, if I recall,

   20         and I said, no, I didn't and I still do not

   21         remember.

   22         Q     Well, the testimony you gave earlier

   23         pertaining to this particular grieving and

   24         complaint about not having two days off, that

   25         was incorrect, right?
                                                                           144 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 144 of 296 PageID
                                     1872
    1                      V. Dinielli - 1/4/17

    2                MS. PANICO:   Objection to form.

    3         A      I still believe that and I have to check

    4         the records as to when she started the

    5         schedule.    But I still believe that once she

    6         started her schedule, she didn't grieve this

    7         after.   If I'm mistaken -- I run a whole

    8         creation center, so if I'm mistaken, I don't

    9         remember the timeline, that is very well

   10         possible, but I didn't have copies of this.

   11         This isn't part of the stuff that I looked at.

   12         Q      So do you usually give testimony where you

   13         state one thing and then after you look at a

   14         document you state another?

   15                MS. PANICO:   Objection to form.

   16         A      I usually don't give testimony, but when I

   17         do give testimony as today, I do the best I

   18         can.

   19         Q      So when you look at this document here and

   20         you're drawing your attention to the lower

   21         portion of the document where it says from

   22         Earline Skates, sent Thursday, June 6, do you

   23         see that?

   24         A      Uhm-uhm.

   25         Q      Do you see where it says "To"?      Do you see
                                                                           145 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 145 of 296 PageID
                                     1873
    1                      V. Dinielli - 1/4/17

    2         that?

    3         A     Uhm-uhm.

    4         Q     What's the subject line there?

    5         A     "My work schedule starting June 17th."

    6         Q     And who is that addressed to?

    7         A     To me.

    8         Q     Can you go ahead and read what it says

    9         there?

   10         A     "In reference to a memo dated

   11         May 29th from you and presented to me on June 4

   12         concerning my work schedule, I am grieving the

   13         fact that I do not have two consecutive days

   14         off from work."

   15         Q     Isn't that a grieving or complaint that

   16         she doesn't have two consecutive days off?

   17         A     Yes.   It's a complaint, yes.

   18         Q     So when you testified earlier that you

   19         didn't receive a complaint from Ms. Skates,

   20         that was incorrect, right?

   21               MS. PANICO:    Objection to form.

   22         A     I didn't -- well, it was incorrect.       I

   23         didn't recall.

   24         Q     Do you usually give incorrect testimony

   25         while under oath?
                                                                           146 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 146 of 296 PageID
                                     1874
    1                      V. Dinielli - 1/4/17

    2                MS. PANICO:   Objection to form.

    3         A      I don't usually give testimony.

    4         Q      But you usually tell the truth?

    5         A      I usually do.

    6         Q      So why didn't you tell the truth now?

    7         A      Because I didn't remember.

    8         Q      So do you lie when you don't remember?

    9                MS. PANICO:   Objection to form.

   10         A      No, I don't lie.

   11         Q      Do you not tell the truth?

   12         A      I tell the best to my ability.

   13         Q      Is your ability to not tell the truth?

   14         A      I'm not different from anybody else.

   15         Q      So is it your testimony here today that

   16         everybody else lies under oath?

   17         A      Everybody else does the best they -- most

   18         people try to do the best they can.

   19         Q      And that everybody else takes an oath and

   20         lies.

   21                Is that your testimony here today?

   22         A      I took an oath and I'm doing the best I

   23         can.

   24                MS. PANICO:   Mr. Henry, she testified that

   25         she couldn't recall.      Please, let's just move
                                                                           147 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 147 of 296 PageID
                                     1875
    1                      V. Dinielli - 1/4/17

    2         on.

    3         Q      In fact, you weren't in possession of a

    4         complaint that Ms. Skates made pertaining to

    5         the two days --

    6         A      It looks that way.

    7         Q      So there was no agreement between you and

    8         Ms. Skates pertaining to two consecutive days

    9         off.   Is she right?

   10         A      I still say there was an agreement.

   11         Q      Well, why would she agree to something and

   12         then complain about it?

   13         A      I don't know why she did a lot of things.

   14         Q      One of the things we know that she didn't

   15         do was agree to the agreement you say took

   16         place?

   17                MS. PANICO:   Objection to form.

   18         A      She stayed home on Sundays.     She came to

   19         work on Monday.

   20         Q      But you knew that Ms. Skates complained

   21         about not having those two consecutive days

   22         off, right?

   23         A      Right.   She called the union and the union

   24         showed her where -- that she could do it if she

   25         agreed to it.    And we showed her cases where
                                                                           148 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 148 of 296 PageID
                                     1876
    1                      V. Dinielli - 1/4/17

    2         other people at times because of personal

    3         issues also had a broken up schedule.

    4               MS. PANICO:    Can we just go off the record

    5         for a second?

    6               (Whereupon, an off-the-record discussion

    7         was held.)

    8               MS. PANICO:    Back on the record.

    9               MR. HENRY:    May I have a readback of my

   10         last question.

   11               (Whereupon, the requested record was read

   12         back by the Court Reporter.)

   13    BY MR. HENRY:

   14         Q     May I have a response?

   15         A     That was my response.

   16               MR. HENRY:    What was the last question?

   17         The actual question, I'm sorry.

   18               (Whereupon, the requested record was read

   19         back by the Court Reporter.)

   20    BY MR. HENRY:

   21         Q     Did there ever come a time -- rather,

   22         drawing your attention to the earlier part of

   23         this e-mail, do you see there where it says

   24         attached is -- from, do you see that?

   25         A     Yes.
                                                                           149 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 149 of 296 PageID
                                     1877
    1                      V. Dinielli - 1/4/17

    2         Q     Do you see there where it says the date,

    3         when was it sent?

    4         A     On June 6th.    Thursday, June 6th.

    5         Q     Can you go ahead and read what your

    6         response to her was?

    7         A     "Attached is a copy of my response to your

    8         e-mail.    I will give you the hard copy of this

    9         memo upon your return to work at the recreation

   10         center.

   11         Q     So, in fact, you were in possession of

   12         Ms. Skates' complaint and you actually

   13         responded to that complaint, right?

   14         A     I don't recall.

   15         Q     Well, is that not your name?

   16         A     It is -- I'm telling you I don't remember.

   17         I don't remember this particular issue.

   18         Q     Is that not your e-mail address?

   19         A     Yes, it is.

   20         Q     Why didn't you put in the beginning of

   21         this e-mail or why didn't you put in the body

   22         of this e-mail the agreement that you claim

   23         that you had?

   24         A     I have no idea.    I have no idea.

   25         Q     Is it possibly because there was no
                                                                           150 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 150 of 296 PageID
                                     1878
    1                      V. Dinielli - 1/4/17

    2         agreement?

    3         A     I have no idea.    This is four years ago.

    4         I have no -- three years ago.       I have no idea.

    5         Three and a half years ago.

    6         Q     You just testified a few moments ago at

    7         length that there was an agreement that you and

    8         Ms. Skates had and you don't know why she did

    9         half the things she did that you didn't know

   10         why she would complain about an agreement,

   11         right?

   12         A     It was a verbal agreement that took place

   13         with representatives for her from her union.

   14         Q     Why is it that you wouldn't put here in

   15         the e-mail that you wrote to her --

   16         A     I don't know why I didn't do that.

   17         Q     -- Ms. Skates, this is inconsistent with

   18         our agreement?     Why didn't you do that?

   19         A     I don't know why.

   20         Q     Don't you think that would have been

   21         important to put in an e-mail?

   22         A     Hindsight is always 20/20.

   23         Q     Do you usually leave important details out

   24         of e-mails?

   25         A     I don't think -- maybe I didn't think --
                                                                           151 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 151 of 296 PageID
                                     1879
    1                      V. Dinielli - 1/4/17

    2         maybe at that time I didn't think it was

    3         important.    I don't recall.    I don't recall

    4         writing this e-mail.     I'm not denying writing

    5         it.   I'm saying I don't recall writing it or

    6         what I was thinking at the time.

    7         Q     Do you usually write e-mails without

    8         thinking?

    9               MS. PANICO:    Objection to form.

   10         Q     I'm waiting for an answer.

   11         A     I don't believe so, no.      I didn't say I

   12         wasn't thinking when I wrote this e-mail.        I

   13         said I don't recall what I was thinking.

   14         Q     Well, you were thinking that Ms. Skates

   15         was complaining about the two consecutive days

   16         that she didn't get, right?

   17         A     Yes.

   18         Q     And you knew at least in your mind that

   19         you had some verbal agreement -- right?

   20         A     Yes.

   21         Q     -- where Ms. Skates was not complaining

   22         about those two days, right?

   23         A     Uhm-uhm.

   24         Q     Well, why is it that you didn't put it in

   25         your e-mail?
                                                                           152 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 152 of 296 PageID
                                     1880
    1                      V. Dinielli - 1/4/17

    2               MS. PANICO:    Objection.    Asked and

    3         answered.

    4         Q     I'm still waiting for an answer.

    5         A     I don't know why I didn't do it.

    6         Q     Is it because there was no such agreement?

    7               MS. PANICO:    Again, asked and answered

    8         several times.

    9         Q     Did there ever come a time that you

   10         learned in or around June 2013 that Ms. Skates

   11         was in the hospital?

   12         A     According to my recollection, I remember

   13         her calling me and telling me she was in the

   14         hospital after she was in the hospital.        That's

   15         when I said, you need -- you know, could you

   16         give us -- send us some -- you know, a doctor's

   17         note.

   18         Q     Did she make that request directly to you

   19         or did she, rather, provide that information

   20         directly to you or was it provided to someone

   21         else?

   22         A     I believe it was provided to me.

   23         Q     Did you ever receive an e-mail from

   24         Ms. Skates explaining to you or responding to

   25         you advising you that she was in the hospital
                                                                           153 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 153 of 296 PageID
                                     1881
    1                      V. Dinielli - 1/4/17

    2         and that was why she had excessive absences?

    3         A      I don't remember an e-mail.     I'm not

    4         saying yes or no.     I do not remember.     I just

    5         remember a doctor's note saying that she was

    6         going to return to work on the 16th of June.

    7         Q      Did there ever come a time that --

    8         withdrawn.

    9                MR. HENRY:   At this time I would like to

   10         mark for identification Plaintiff's Exhibit 3.

   11                (Whereupon, the aforementioned document,

   12         was marked as Plaintiff's Exhibit 3 for

   13         identification as of this date by the

   14         reporter.)

   15    BY MR. HENRY:

   16         Q      Do you see that document there in front of

   17         you?

   18         A      Yes, I do.

   19         Q      What do you recognize that document to be?

   20         A      When I requested a note from her

   21         physician.

   22         Q      Drawing your attention to where it says

   23         "To," do you see that?

   24         A      Yes.

   25         Q      I'm sorry.   One moment.
                                                                           154 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 154 of 296 PageID
                                     1882
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    Do you have any objection with

    3         striking that part of the transcript because I

    4         have -- the tab was -- I had it misplaced?

    5               MS. PANICO:    You want to just go on the

    6         record and correct -- just change --

    7               MR. HENRY:    She already testified to it,

    8         what that particular one was.       So I didn't want

    9         to -- I just want to make it a nullity as if it

   10         didn't even exist just to make sure that we

   11         stay on track.

   12               MS. PANICO:    I don't understand what

   13         you're asking me.

   14               MR. HENRY:    Would you have any objection

   15         to striking that portion of the record that I

   16         asked her a question about that last exhibit

   17         that I just gave her?

   18               MS. PANICO:    Frankly, I don't remember.

   19         It was just -- didn't you justify it?        That was

   20         it.

   21               Read back that section.

   22               (Whereupon, the requested record was read

   23         back by the Court Reporter.)

   24               MR. HENRY:    So I'm going to give you

   25         previously incorrectly marked as 3.        Do you
                                                                           155 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 155 of 296 PageID
                                     1883
    1                      V. Dinielli - 1/4/17

    2         understand?    Because I had said 3 before and

    3         there was questions about it.       So I was

    4         wondering if you wanted to just --

    5               MS. PANICO:    This is a totally different

    6         exhibit?

    7               MR. HENRY:    Exactly.   This is the correct

    8         3.   But before it was marked incorrectly.

    9               MS. PANICO:    Okay.   Can we say what that

   10         old one is now?

   11               MR. HENRY:    I'm going to give it as the

   12         next one.

   13               MS. PANICO:    Now it's marked as 4.

   14               MR. HENRY:    Bates stamped as 375.

   15               MS. PANICO:    Just go on the record and say

   16         that Plaintiff's Exhibit 3 is marked Bates

   17         stamp 374 and the other one, Exhibit 4, is

   18         Bates stamped whatever it is.

   19               MR. HENRY:    At this time previously

   20         identified as Plaintiff's 3 but was incorrectly

   21         labeled as 3, identified by Document 000375,

   22         that document now is marked as Plaintiff's

   23         Exhibit 4.    And the correct Exhibit 3, Bates

   24         stamped as 000374, is the actual document in

   25         front of the witness.
                                                                           156 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 156 of 296 PageID
                                     1884
    1                      V. Dinielli - 1/4/17

    2    BY MR. HENRY:

    3         Q      Do you see that document there in front of

    4         you?

    5         A      Yes.

    6         Q      What do you recognize that document to be?

    7         A      It was an e-mail sent to me from

    8         Ms. Skates stating that she was in the hospital

    9         and she was supplying copies of doctor's notes.

   10         Q      You see some notation there.     What does

   11         that notation there say?

   12         A      The handwritten notation?

   13         Q      Yes.

   14         A      I sent a copy with the note by e-mail on

   15         the 21st of June.

   16         Q      Who did you send that to?

   17         A      Conor Kiran.

   18         Q      Then you also see there at the bottom that

   19         there's a notation there that says -- what does

   20         that notation say?

   21         A      That's to an individual in the law firm.

   22         Q      Do you know who that individual is?

   23         A      Steve Marquis, I believe.

   24         Q      Do you ordinarily send these type of

   25         documents to HR?
                                                                           157 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 157 of 296 PageID
                                     1885
    1                      V. Dinielli - 1/4/17

    2         A     I assume I was instructed to do so.

    3         Q     Who would have instructed you to do so?

    4         A     Conor Kiran.

    5         Q     Do you recall when you made -- when you

    6         sent this over?

    7         A     It says Friday, June 21st.      So I guess

    8         that's when it was.

    9         Q     So is it typical practice to send an

   10         e-mail or copies of an e-mail with doctor's

   11         notes to Mr. Kiran and to the lawyer?

   12         A     Yes.   Well, to Mr. Kiran, yes.

   13         Q     How about to the lawyer?

   14         A     No.    He probably instructed me to because

   15         obviously I didn't even know his e-mail.

   16         Q     When you testified earlier that you never

   17         received any information or had no knowledge of

   18         any leave requests or disability that

   19         Ms. Skates had or any requests for sick, that

   20         was inaccurate, right?

   21               MS. PANICO:    Objection to form.

   22         A     No.

   23         Q     Well, drawing your attention here, what

   24         does it say in the body of this e-mail here?

   25         A     This was notification after she had taken
                                                                           158 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 158 of 296 PageID
                                     1886
    1                      V. Dinielli - 1/4/17

    2         the sick time.

    3               When I said I was never notified of leave

    4         requests, I assume you're asking me if she

    5         asked me if she could take off because she

    6         needed time off in the future.       This is -- I

    7         was obviously aware of time she took off in the

    8         past and doctor's notes that were implying for

    9         illnesses that were in the past.

   10         Q     Did there ever come a time that you

   11         requested from Ms. Skates a note from her

   12         doctor to substantiate her request for sick

   13         leave time?

   14         A     For sick leave time had been taken

   15         already?

   16         Q     Or for future sick leave time.

   17         A     I never asked for future sick leave time.

   18         Past because she was taking so much time I

   19         asked her for a doctor's note justifying or

   20         verifying the time she had taken.

   21         Q     So it's your testimony here today that the

   22         only note that you requested from her doctor

   23         was that pertaining to past sick leave time?

   24         A     Yes.

   25               MS. PANICO:    Objection to form.
                                                                           159 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 159 of 296 PageID
                                     1887
    1                      V. Dinielli - 1/4/17

    2         Q      Is that right?

    3         A      Yes.

    4                MR. HENRY:   At this time I would like to

    5         mark for identification Plaintiff's 4.

    6                (Whereupon, the aforementioned document,

    7         was marked as Plaintiff's Exhibit 4 for

    8         identification as of this date by the

    9         reporter.)

   10    BY MR. HENRY:

   11         Q      Do you see that document there in front of

   12         you?

   13         A      Yes.

   14         Q      What do you recognize that document to be?

   15         A      This obviously was the document before

   16         that asking for time for the time that she had

   17         for her recent request for sick time that had

   18         been taken already.

   19         Q      Drawing your attention to where it says

   20         "From," do you see that?

   21         A      Yes.   That's me.

   22         Q      Drawing your attention to the date, do you

   23         see that?

   24         A      Yes.   That's June 10th.

   25         Q      Who was it addressed to?
                                                                           160 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 160 of 296 PageID
                                     1888
    1                      V. Dinielli - 1/4/17

    2         A     Earline Skates.

    3         Q     Who was it from?     I'm sorry.   Who was cc'd

    4         in that?

    5         A     Liz Jeffries.    She does the payroll cards

    6         for my department.

    7         Q     Would you agree that if someone makes a

    8         request for something it means that they are

    9         requesting it in the future?

   10         A     No.

   11         Q     Would you agree that if I make a recent

   12         request for something that that pertains to a

   13         recent set of circumstances?

   14         A     The reason why Liz Jeffries is copied is

   15         because she has to justify all of the time that

   16         had been marked on the books that we were

   17         paying her for.

   18         Q     So my question is:     Can one make a recent

   19         request for something that happened in the past

   20         or is it a recent request pertaining to a

   21         request that's made right here recently?

   22               MS. PANICO:    Objection.    Calls for

   23         speculation.

   24         Q     You may answer.

   25         A     It's the past.    It was the immediate past.
                                                                           161 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 161 of 296 PageID
                                     1889
    1                      V. Dinielli - 1/4/17

    2         It wasn't three months ago.       It was the

    3         immediate past.     She was running out of time.

    4         Q     Drawing your attention to this document

    5         here in front of you where it says, I am

    6         requesting a note from your physician to

    7         substantiate your recent request for sick time.

    8         A     Right.

    9         Q     Right?

   10         A     Yes.   She was asking to be paid for days

   11         that she didn't come to work.       She called out

   12         sick and expected to be paid.

   13         Q     Well, is there any reason why you didn't

   14         put in here that you were reviewing a recent

   15         past request for past sick time?

   16               MS. PANICO:    Objection.    Calls for

   17         speculation.

   18         A     No.    This is the way I worded it.

   19         Q     Did there ever come a time -- withdrawn.

   20               You testified earlier that Ms. Skates was

   21         terminated right after she notified you of a

   22         sick -- of a work-related injury, right?

   23         A     She had come in with her arm in a sling

   24         and I notified Human Resources that she was in

   25         the building.
                                                                           162 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 162 of 296 PageID
                                     1890
    1                      V. Dinielli - 1/4/17

    2         Q     So you knew at the very least that she had

    3         a work-related injury that triggered protection

    4         under the FMLA, right?

    5               MS. PANICO:    Objection to form.     Multiple

    6         grounds.

    7         Q     Is that right?

    8               You can answer.

    9         A     I didn't know or believe that it was a

   10         work-related injury.

   11         Q     That's because you had training in FMLA?

   12         A     No.   It's because I saw her leave the day

   13         before in perfect health, in what I assumed to

   14         be perfect health.     I said good-bye to her

   15         because I happened to be in the office.

   16         Q     So your testimony here today is that you

   17         have a trained eye for what is a qualified

   18         disability or not?

   19         A     I'm claiming that when I saw her, she

   20         didn't look like she was injured.       Yes.

   21         Q     So your testimony here today is that you

   22         got the eye --

   23         A     It surprised me.     It surprised me because

   24         I didn't believe her to be injured when I

   25         saw -- when she left at the end of the previous
                                                                           163 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 163 of 296 PageID
                                     1891
    1                      V. Dinielli - 1/4/17

    2         workday.

    3         Q     So is it your testimony here today that

    4         injuries, work-related injuries can't happen in

    5         the space of the day?

    6         A     I said I was surprised.

    7         Q     You have the crystal ball of when

    8         work-related injuries could happen?

    9         A     I said I was surprised.

   10         Q     Well, aren't we all surprised when

   11         accidents happen?

   12               MS. PANICO:    Objection to form.

   13         A     When she left the building, she seemed to

   14         be fine.    She had her pocketbook in her hand.

   15         She didn't seem to be complaining and she

   16         didn't report an injury.

   17         Q     That was the day before, right?

   18         A     That was the day before.

   19         Q     So your testimony here today is that you

   20         are gifted to know when -- withdrawn.

   21               Do you know when and how accidents happen?

   22               MS. PANICO:    Objection to form.

   23         Q     You may answer.

   24         A     Not always.

   25         Q     So you know instances when accidents are
                                                                           164 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 164 of 296 PageID
                                     1892
    1                      V. Dinielli - 1/4/17

    2         going to happen?

    3         A     No.   Not always.    I don't know.

    4         Q     So how would you know that Ms. Skates did

    5         not have a work-related injury based upon what

    6         you claim that you saw her or the condition you

    7         saw her in the day before?

    8               MS. PANICO:    Objection to form.

    9         A     The end of the work day, she came in, she

   10         had her bag, she had her pocketbook.        She

   11         punched out.    She said good-bye to everybody.

   12         She did not fill out an incident report stating

   13         that she was not feeling well or thought she

   14         might have had an injury.      She did not say

   15         anything.    So it surprised me a bit when the

   16         next day she came in with her arm in a sling.

   17         Q     When she came in with her arm in a sling,

   18         did you write her up?

   19         A     Why would I write her up?

   20         Q     Did she engage in any type of erratic

   21         disrespectful behavior?

   22         A     No.   She was pleasant.

   23         Q     What day was that?

   24         A     That was October 22nd.

   25         Q     How about the 23rd?     Was she pleasant on
                                                                           165 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 165 of 296 PageID
                                     1893
    1                      V. Dinielli - 1/4/17

    2         that day too?

    3         A     I don't recall.    If I had my dates mixed

    4         up, then I have my dates mixed up, but I do not

    5         see her after that day.

    6         Q     So after you learned that Ms. Skates had

    7         an injury and that she came in to work with a

    8         sling, was there any point after that that

    9         Ms. Skates was unpleasant or disrespectful or

   10         rude to you?

   11               MS. PANICO:    Objection to form.

   12         A     She was terminated and left the building.

   13         So I didn't see her after that.

   14         Q     Why was she terminated, if you remember?

   15         A     She was terminated for reasons of

   16         excessive absence, for racial comments that she

   17         made to other members of the staff and to

   18         patrons in the facility.

   19         Q     You testified earlier that Ms. Skates was

   20         not written up.     Only time she was written up

   21         was as a result of disrespecting you.

   22               MS. PANICO:    Objection to form.

   23         Q     Isn't that right?

   24         A     You said that.    I said I didn't recall.

   25         Q     Did you write her up?
                                                                           166 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 166 of 296 PageID
                                     1894
    1                      V. Dinielli - 1/4/17

    2         A     I don't recall.

    3         Q     Did you write her up for --

    4         A     I don't recall.

    5         Q     Okay.

    6               Did you write -- withdrawn.

    7         A     We have to go back and see and look at the

    8         files.   I don't recall.

    9         Q     Withdrawn.

   10               During a break, did you confer with your

   11         attorney with respect to my questions?

   12         A     No.

   13               MS. PANICO:    Objection.

   14               This is attorney-client privileged

   15         information.    I'm directing her not to answer.

   16         Q     During the break, were you provided with

   17         any information on how to respond to my

   18         questions without revealing the subject of that

   19         communication with your attorney?

   20               MS. PANICO:    Objection.

   21               Attorney-client privilege.      I'm directing

   22         you not to answer.

   23               MR. HENRY:    I've limited my question.

   24         I've limited my question.

   25
                                                                           167 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 167 of 296 PageID
                                     1895
    1                      V. Dinielli - 1/4/17

    2    BY MR. HENRY:

    3         Q     Without telling me anything at all, any

    4         communications that you had with your attorney,

    5         were you provided with any guidance on how to

    6         respond to my question?

    7               MS. PANICO:    Objection.

    8               Don't answer.

    9         Q     You may answer.

   10               MS. PANICO:    I'm directing you not to

   11         answer.

   12               MR. HENRY:    What grounds?

   13               MS. PANICO:    Attorney-client privilege.

   14               MR. HENRY:    On what grounds.    I've limited

   15         it.   I don't need to know what she --

   16               MS. PANICO:    It doesn't matter.

   17               MR. HENRY:    It does matter.    What is the

   18         basis?

   19               MS. PANICO:    You're still asking her what

   20         we discussed.

   21               MR. HENRY:    No, I'm not.

   22               MS. PANICO:    Yes, you are.

   23               MR. HENRY:    I'm asking her if she received

   24         from any source information on how to respond

   25         to my questions.     It doesn't have to be you.
                                                                           168 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 168 of 296 PageID
                                     1896
    1                      V. Dinielli - 1/4/17

    2         It could be in her e-mail.      It could be a phone

    3         call.

    4    BY MR. HENRY:

    5         Q     We had a break.     Did you receive from any

    6         source, any source without telling me who it

    7         was --

    8               MS. PANICO:    Did you speak to anybody --

    9               MR. HENRY:    No.   You can't answer the

   10         question -- no.     You can't ask my questions.

   11               MS. PANICO:    Well, I'm directing her not

   12         to answer.

   13               (Counsel speaking simultaneously.)

   14               MR. HENRY:    How are you directing her not

   15         to answer a question I haven't asked yet?

   16               MS. PANICO:    You're asking her what we

   17         discussed on the break.

   18               MR. HENRY:    I'm not asking you do that.

   19         And the record is clear.

   20    BY MR. HENRY:

   21         Q     During the break, from anyone, without

   22         telling me who, I don't want to know who it

   23         was, did you receive any instruction on how to

   24         respond to my questions?

   25               MS. PANICO:    Objection.
                                                                           169 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 169 of 296 PageID
                                     1897
    1                      V. Dinielli - 1/4/17

    2         Q     Without telling me who.      I don't want to

    3         know who.

    4               MS. PANICO:    Attorney-client privilege.

    5         Q     I don't know if it's your lawyer.       Anyone.

    6               MS. PANICO:    Don't answer.

    7         Q     You may answer.

    8               MS. PANICO:    I'm telling you not to

    9         answer.

   10               MR. HENRY:    I got to call the Court.

   11               I've limited it.

   12               MS. PANICO:    It's after 5 o'clock.     The

   13         Court is not going to be there.       So you'll have

   14         to preserve your question.

   15               MR. HENRY:    The Court works late.

   16               (Whereupon, a short recess was taken.)

   17               MR. HENRY:    I limited it.    I don't need to

   18         know who it was from.      I'm not asking from you.

   19         I'm asking from anyone because --

   20               MS. PANICO:    Well, why don't you start

   21         off --

   22               MR. HENRY:    I want to make sure --

   23               MS. PANICO:    -- by asking whether or not

   24         she spoke to anybody other than me?        If she

   25         didn't speak to anybody other than me --
                                                                           170 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 170 of 296 PageID
                                     1898
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    No.   I'm not asking you to lay

    3         a foundation.    I'm asking this witness a

    4         pointed question.     I don't need to know --

    5               MS. PANICO:    I'm just saying we could

    6         avoid having to get the Court involved.        If she

    7         didn't speak to anybody other than me --

    8               (Counsel speaking simultaneously.)

    9               MR. HENRY:    We don't know that.     I wish I

   10         could get --

   11               MS. PANICO:    I'm telling you to ask that.

   12               MR. HENRY:    No.   You can't tell me that.

   13               Let the record reflect that the witness is

   14         now looking at her phone and --

   15               THE WITNESS:    I'm just texting my

   16         children --

   17               MR. HENRY:    That's fine.    There's nothing

   18         wrong with you looking at it.

   19    BY MR. HENRY:

   20         Q     My question again is without your --

   21         without asking you any questions about whatever

   22         you and your attorney spoke about, I really

   23         don't care about that, I need to know if you

   24         received from anyone, any human being with a

   25         heart that blood pumps through their body any
                                                                           171 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 171 of 296 PageID
                                     1899
    1                      V. Dinielli - 1/4/17

    2         information or instructions on how to respond

    3         to my questions.

    4               MS. PANICO:    I'm maintaining my objection.

    5         Q     You may answer.

    6               MS. PANICO:    Don't answer.

    7         Q     You may answer the question.

    8               MS. PANICO:    I'm her attorney --

    9               MR. HENRY:    I have every right --

   10               MS. PANICO:    -- and I am directing her not

   11         to answer the question.

   12               MR. HENRY:    Ms. Panico, I have every

   13         right --

   14               MS. PANICO:    Don't tell her to answer the

   15         question when I'm directing her not to.

   16               MR. HENRY:    Let the record reflect that

   17         Ms. Panico is reaching across the table --

   18               MS. PANICO:    I'm not reaching across the

   19         table, Mr. Henry.

   20               MR. HENRY:    -- yelling at me.

   21               I have every right to ask this question if

   22         she -- ask the witness a question if she

   23         received any information on how to respond to

   24         my questions from anyone, number one, is

   25         relevant because these questions are designed
                                                                           172 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 172 of 296 PageID
                                     1900
    1                      V. Dinielli - 1/4/17

    2         to test this witness' credibility.       If this

    3         witness went out and had a discussion with --

    4         and I'm not talking about a lawyer -- with

    5         anyone with a heartbeat.

    6               THE WITNESS:    I didn't leave the room.

    7               MS. PANICO:    Don't answer.    Let him pursue

    8         whatever he wants to with the Court.

    9               MR. HENRY:    She can speak.

   10               MS. PANICO:    No, she can't speak.

   11               MR. HENRY:    Let the record reflect that

   12         the Court Reporter in a sign of what I

   13         interpreted is frustration with Ms. Panico's

   14         continued ability to not allow me to make my

   15         record --

   16               MS. PANICO:    You are amazing.

   17               MR. HENRY:    -- because I was speaking and

   18         Ms. Panico -- my record was incomplete.

   19    BY MR. HENRY:

   20         Q     My question again is, Ms. Dinielli, I

   21         don't want to know what you and your lawyer

   22         talked about.    I really, quite frankly, don't

   23         care what you and your lawyer talked about.         My

   24         question is limited.

   25               Did you receive any guidance, instruction,
                                                                           173 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 173 of 296 PageID
                                     1901
    1                      V. Dinielli - 1/4/17

    2         I'm not talking about what you and your lawyer

    3         talked about, on how to respond to my

    4         questions?

    5               And the reason why I'm asking that is

    6         because I believe that it's wholly improper if

    7         you did.    And I need to be able to test your

    8         credibility.    I don't need to know what you and

    9         your lawyer may or may not have spoke about.          I

   10         just need to know if you received any

   11         information or guidance from anyone with a

   12         heartbeat on how to respond to my questions.

   13               MS. PANICO:    Mr. Henry, the way you're

   14         phrasing the question that way, I'm not going

   15         to allow my client to answer.       However, if you

   16         would like to rephrase it, I have a suggestion.

   17         Perhaps you can ask her whether or not she --

   18         anybody other than her attorney asked her --

   19               MR. HENRY:    I just said I don't care about

   20         her attorney.

   21               MS. PANICO:    I don't feel comfortable with

   22         the way that the question is asked.

   23               MR. HENRY:    It doesn't matter.     You have

   24         now instructed this witness not to answer a

   25         question with no grounds.      I've said it so many
                                                                           174 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 174 of 296 PageID
                                     1902
    1                      V. Dinielli - 1/4/17

    2         different ways.

    3    BY MR. HENRY:

    4         Q     Ms. Dinielli, I do not care about what you

    5         and your lawyer spoke about.       That's not what I

    6         want to know.

    7               What I want to know is:      Did you receive

    8         instruction, guidance, not what you and your

    9         lawyer talked about, from anyone with a

   10         heartbeat.

   11               MS. PANICO:    So from anybody other than

   12         your counsel.    Did anybody direct you on how to

   13         respond?

   14               THE WITNESS:    No.

   15         Q     Did you receive any instruction on how to

   16         respond to my question?

   17         A     No.

   18         Q     From anyone with a heartbeat?

   19         A     No.

   20               MS. PANICO:    With the exception of your

   21         counsel.

   22               MR. HENRY:    Let the record reflect that

   23         Ms. Panico now has wasted 15 minutes of my time

   24         with this nonsense and instructing her client

   25         not to answer a question that I have limited
                                                                           175 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 175 of 296 PageID
                                     1903
    1                      V. Dinielli - 1/4/17

    2         and said that I didn't want to know anything

    3         about the attorney-client communications.

    4               My concern was, and I've had this in other

    5         cases, where witnesses that are under oath go

    6         out and receive e-mails, they receive

    7         documents, they make a phone call and then they

    8         are giving insight on how to respond to my

    9         question.    My question was not designed to test

   10         whether or not you coach her.

   11               MS. PANICO:    You spent the last five

   12         minutes wasting more time.      So why don't you

   13         just move on, Mr. Henry.

   14               MR. HENRY:    I'm making my record.

   15               And for Ms. Panico to do what she just did

   16         by wasting so much time, I think it's just in

   17         line with her conduct the entire course of this

   18         deposition.    And we will certainly deal with it

   19         in kind.

   20    BY MR. HENRY:

   21         Q     Again, so is your answer now with respect

   22         to receiving instructions or guidance from

   23         anyone with a heartbeat, is it your testimony

   24         here today that you didn't receive such

   25         guidance, knowledge or --
                                                                           176 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 176 of 296 PageID
                                     1904
    1                      V. Dinielli - 1/4/17

    2               MS. PANICO:    Objection.

    3         Q     -- during a break?

    4               MS. PANICO:    Objection.

    5               Can you please read back that question?

    6               MR. HENRY:    I said without the lawyer.

    7         With the exception of the lawyer.

    8               MS. PANICO:    I didn't hear the question

    9         that you asked.     I'm asking it to be read back,

   10         please.

   11    BY MR. HENRY:

   12         Q     During the time --

   13               MR. HENRY:    I'm not going to waste any

   14         time.

   15               Can you note this part of the transcript

   16         for a ruling, please?

   17               MS. PANICO:    Are you withdrawing the

   18         question?

   19               MR. HENRY:    No, I'm not.    I'm noting it

   20         for a ruling.

   21               MS. PANICO:    I'm asking -- so you're going

   22         to ask it be marked for a ruling when I didn't

   23         hear the question?

   24               (Counsel speaking simultaneously.)

   25               MR. HENRY:    This is my -- you should have
                                                                           177 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 177 of 296 PageID
                                     1905
    1                      V. Dinielli - 1/4/17

    2         been paying attention.      Maybe if you had taken

    3         your phone call with Dan Panico who was just

    4         calling, as it's on our conference table, as

    5         it's affecting my ability -- vibrating the

    6         table, I think that we would have been --

    7                MS. PANICO:   You know what, you're

    8         harassing me.    I'm ending this deposition right

    9         now.

   10                MR. HENRY:    On what grounds?

   11                MS. PANICO:   You're harassing me.      You've

   12         been harassing the witness throughout the

   13         entire day.    I'm ending the deposition right

   14         now.

   15                MR. HENRY:    Go ahead.   End it.   If that's

   16         what you want to do.     You're terminating the

   17         deposition.    Go ahead.    End it.

   18                MS. PANICO:   Can you please stop attacking

   19         me?

   20                MR. HENRY:    How have I attacked you?

   21                MS. PANICO:   Repeatedly throughout this

   22         deposition.

   23                This is my final warning.      If you

   24         continue, I am leaving.

   25                MR. HENRY:    Ms. Panico, you could do
                                                                           178 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 178 of 296 PageID
                                     1906
    1                      V. Dinielli - 1/4/17

    2         whatever you want to.

    3               MS. PANICO:    Nobody would put up with what

    4         I put up with.

    5               MR. HENRY:    Ms. Panico, you can do

    6         whatever you choose.     The record is clear.      And

    7         this is the reason why I videotape my

    8         depositions.

    9               MS. PANICO:    Yeah.   Exactly.   Because you

   10         are the most difficult person to deal with in

   11         the entire world.     This is exactly why you need

   12         to record.

   13               MR. HENRY:    Thank you.

   14               The record is very clear.      My questions

   15         are in line with those that are asked.

   16               Ms. Panico did not hear the question that

   17         I asked.

   18               MS. PANICO:    And you refusing to allow the

   19         Court Reporter to read it back to me?

   20               THE COURT REPORTER:     I'm sorry.    There's

   21         going to be a lot of "Counsel speaking

   22         simultaneously in the transcript."

   23               MR. HENRY:    I understand.

   24               MS. PANICO:    Yup.

   25               MR. HENRY:    So may I finish my -- what I
                                                                           179 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 179 of 296 PageID
                                     1907
    1                      V. Dinielli - 1/4/17

    2         was stating before Ms. Panico interjected.

    3               MS. PANICO:    If you'll allow me to speak.

    4               THE COURT REPORTER:     And you're still

    5         doing it.

    6               MS. PANICO:    Because he doesn't allow me

    7         to speak.

    8               MR. HENRY:    Could you put that in, please,

    9         that I'm talking and what she said.

   10               Let the record reflect that, again, the

   11         Court Reporter has expressed tremendous

   12         frustration with the direction of this

   13         deposition and the simultaneous discussions.

   14               The last I checked, I had an open

   15         question.    And Ms. Panico asked to have a

   16         readback of my question when it's my

   17         deposition.    All I said was you probably didn't

   18         hear the question because your cell phone,

   19         which is on the conference room table, which

   20         did light up and vibrate, which did have the

   21         name Dan Panico, probably the reason why you

   22         didn't hear it.     That's all I said.     It was not

   23         intended to harass you.

   24               I don't need a readback of my question.        I

   25         just need to move forward with the next
                                                                           180 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 180 of 296 PageID
                                     1908
    1                      V. Dinielli - 1/4/17

    2         question.

    3               MS. PANICO:    And if I may.    Number one,

    4         requested a readback of the question which

    5         Mr. Henry refused to do, which is a common

    6         courtesy that normal professionals grant to one

    7         another.

    8               And second of all, I was not looking at my

    9         phone which is absolutely absurd.       I was

   10         listening and thinking about the question.         And

   11         I asked to have it read back because I wanted

   12         to determine whether or not I needed to make an

   13         objection.

   14               MR. HENRY:    Okay.   Well, you can't -- if

   15         every defendant -- if every defense witness or

   16         defense counsel had the ability to ask a

   17         readback for a question before they decide to

   18         object to that question, I don't think we would

   19         ever get through the rest of questions.

   20               MS. PANICO:    I asked to do it one time,

   21         Mr. Henry.    Is that taking out too much of your

   22         time?

   23               MR. HENRY:    Moving on, please.

   24               MS. PANICO:    Please move on.

   25
                                                                           181 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 181 of 296 PageID
                                     1909
    1                      V. Dinielli - 1/4/17

    2    BY MR. HENRY:

    3         Q      So with respect to the document there in

    4         front of you, marked as Plaintiff's

    5         Exhibit 4 --

    6                MS. PANICO:   Do you have some sort

    7         air-conditioning?     It's like 90 degrees in

    8         here.

    9                MR. HENRY:    I will look into it.

   10                MS. PANICO:   Are you going to look into it

   11         now?

   12                MR. HENRY:    No.   We're in the middle of a

   13         deposition.    I'll send a message.

   14                MS. PANICO:   I'd ask that you do that now

   15         because I am extremely warm.       And I'm normally

   16         a person that's not.

   17                MR. HENRY:    Well, we have water here, but

   18         I have --

   19                MS. PANICO:   You actually took my water

   20         bottle away from me.

   21                MR. HENRY:    Here's another one.    We have

   22         plenty of water here to go around.       Quench your

   23         thirst.

   24    BY MR. HENRY:

   25         Q      Ms. Dinielli, earlier you testified that
                                                                           182 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 182 of 296 PageID
                                     1910
    1                      V. Dinielli - 1/4/17

    2         there had only been one time that Ms. Skates

    3         was written up from the time that she

    4         disrespected you to the time that she was

    5         written up, right?     And that was for the

    6         insubordination.

    7               MS. PANICO:    Objection to form.     That's

    8         not what she testified to.

    9         Q     Was there any other writeups other than

   10         the one for insubordination?

   11         A     I said I don't recall.

   12         Q     Did you ever write Ms. Skates up for using

   13         offensive racial slurs?

   14         A     No.   But there were complaints from

   15         employees that they presented complaints.

   16         Q     Did you ever write Ms. Skates up for --

   17         A     I don't recall.    I don't recall.

   18         Q     Did you ever meet with Ms. Skates in your

   19         office where you have a door to say that you

   20         are being accused of racial --

   21         A     I don't believe so.

   22         Q     So you never met with her, right?

   23         A     No, I don't believe so.

   24         Q     You never wrote her up for racial slurs,

   25         right?
                                                                           183 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 183 of 296 PageID
                                     1911
    1                      V. Dinielli - 1/4/17

    2         A      I don't recall.

    3         Q      But you could recall writing her up and

    4         you can recall writing her up because she waved

    5         her finger and walked out and left your office.

    6         You could recall writing her up for that,

    7         right?

    8         A      Yes.

    9         Q      But you can't recall writing her up for

   10         using racial slurs?

   11         A      (There was no response.)

   12         Q      What do you think is more egregious,

   13         Ms. Dinielli, using racial slurs or walking

   14         out --

   15         A      I never experienced the racial slurs.       The

   16         people that experienced and heard them are the

   17         ones that made the complaint.

   18         Q      Were those complaints in writing?

   19         A      They were forwarded to Human Resources,

   20         yes.

   21         Q      Were those complaints in writing?

   22         A      I don't recall.

   23         Q      Did you ever see a written complaint?

   24         A      I don't recall.

   25         Q      Well, you recall that Ms. Skates turned
                                                                           184 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 184 of 296 PageID
                                     1912
    1                      V. Dinielli - 1/4/17

    2         around and waved her finger and stormed out of

    3         your office that you called her back?

    4         A     Yeah.   Because that was quite impressive.

    5         Q     Well, don't you think racial slurs are

    6         quite impressive too?

    7         A     I didn't -- I wasn't there for the racial

    8         slurs.   If I was there, then I would have.         I

    9         was there when the employees were complaining

   10         about it, that I was there for.       That, I do

   11         remember.

   12         Q     But you don't remember ever receiving

   13         anything in writing about that now, do you?

   14         A     No, I don't.

   15         Q     You had never got any written complaints

   16         about Ms. Skates, right?

   17               MS. PANICO:    Objection to form.

   18         A     I don't recall.

   19         Q     You couldn't recall ever getting any

   20         written complaints from employees pertaining to

   21         racial slurs, right?

   22               MS. PANICO:    Objection to form.

   23         A     I didn't get them, but I believe they were

   24         written up in Human Resources because it's not

   25         really practice for them to come to me.        If
                                                                           185 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 185 of 296 PageID
                                     1913
    1                      V. Dinielli - 1/4/17

    2         they come to me, I tell them to go to Human

    3         Resources.    I believe Human Resources wrote

    4         them up, however, I don't recall seeing it.

    5         Q     But you've never seen any writeup, right?

    6         A     I don't recall seeing the writeup.

    7         Q     Now, your testimony pertaining to these

    8         racial slurs and that you heard about it from

    9         the employees, is it possible that you were

   10         mistaken just as you were mistaken that

   11         Ms. Skates made an agreement with you that she

   12         didn't have a problem with not working two

   13         consecutive days?

   14               MS. PANICO:    Objection to form.     Again

   15         you're mischaracterizing her testimony.        She

   16         never testified that she didn't -- that there

   17         was no agreement.     She never testified to that.

   18               The record will speak for itself as to

   19         what she testified to.      You don't need to

   20         continue to mischaracterize what she's been

   21         saying.

   22    BY MR. HENRY:

   23         Q     You were Ms. Skates' direct supervisor;

   24         isn't that right?

   25         A     Not direct.    I said I was the director of
                                                                           186 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 186 of 296 PageID
                                     1914
    1                      V. Dinielli - 1/4/17

    2         the facility for which 20 full-time employees

    3         are employed and probably close to 75

    4         part-time.

    5         Q     Did John Henry write Ms. Skates up for

    6         racial slurs?

    7         A     I don't believe so.

    8         Q     Did James Beauford write Ms. Skates up for

    9         racial slurs?

   10         A     No.   I believe the individuals that had

   11         the complaints went to Human Resources.

   12         Q     Did Mr. Murphy write Ms. Skates up for

   13         racial slurs?

   14         A     No.

   15         Q     Did the building maintenance maintain or

   16         write Ms. Skates up for racial slurs?

   17         A     No.

   18         Q     Did any of the other rec attendants write

   19         Ms. Skates up for racial slurs?

   20         A     They went to Human Resources and they

   21         filed the complaints.

   22         Q     So your testimony here today is that the

   23         other rec attendants went to Human Resources

   24         and filed complaints?

   25         A     I believe they did.     That is what I
                                                                           187 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 187 of 296 PageID
                                     1915
    1                      V. Dinielli - 1/4/17

    2         believe.

    3         Q     But you don't know for sure because you've

    4         never seen the complaints?

    5         A     I never saw them write it up.      I witnessed

    6         them complain to Human Resources and tell their

    7         recollection.

    8         Q     But you've never seen any writeups?

    9         A     I don't recall seeing anything.

   10         Q     How about the laborers?

   11               MS. PANICO:    Can you allow her to finish

   12         her response before you ask another question?

   13               MR. HENRY:    The objection is noted.

   14         A     I don't recall seeing anything written up.

   15         Q     Did the laborers write her up?

   16         A     No.

   17         Q     So, in fact, as you're sitting here today,

   18         you've never seen a writeup for racial slurs?

   19         A     I don't recall.

   20         Q     But you recall writing her up because she

   21         waved her finger?

   22         A     Yes.

   23         Q     You recall who was in the room -- on the

   24         far side of room when you spoke to her about a

   25         private discussion pertaining to her vacation
                                                                           188 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 188 of 296 PageID
                                     1916
    1                      V. Dinielli - 1/4/17

    2         and comp time, right?      You recall that, right?

    3         A     Yes, I do.    Because that was firsthand

    4         knowledge.

    5         Q     Earlier when I asked you how is your

    6         memory, you testified that your memory was

    7         average, but that you don't forget things

    8         often.   Right?    Why would you forget who or why

    9         or whether or not there was a writing

   10         pertaining to racial slurs that Ms. Skates is

   11         alleged to have made?

   12               MS. PANICO:    Objection to form.

   13         A     I run a 750 square foot facility.       I run

   14         events all over the Village.       Ms. Skates was

   15         not my only priority at the time.

   16         Q     Well, she was your priority certainly from

   17         June, when she disrespected you, to July when

   18         you told her that you were going to fire her if

   19         she didn't come back to work.       And she

   20         certainly was your priority when you told her

   21         that she was going to lose her accumulated time

   22         because she couldn't find her card.

   23               Right?   She was a priority then, right?

   24               MS. PANICO:    Objection to form.

   25         A     She was my priority.     Those issues were a
                                                                           189 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 189 of 296 PageID
                                     1917
    1                      V. Dinielli - 1/4/17

    2         priority at the time such as probably hundred

    3         others.

    4         Q      So you could recall the square footage of

    5         the facility, the employee count and the

    6         program you run in Freeport, but you can't

    7         recall who, where, when, what document, where

    8         the writeup is pertaining to slurs that she's

    9         alleged to have made?

   10                MS. PANICO:   Objection to form.

   11                She specifically testified that she

   12         recalls the conversations that she had with the

   13         individuals who told her about the racial

   14         slurs.    She can't remember written complaints.

   15                Please stop mischaracterizing her

   16         testimony.

   17                MR. HENRY:    At this time I would like to

   18         mark for identification Plaintiff's Exhibit 5.

   19                (Whereupon, the aforementioned document,

   20         was marked as Plaintiff's Exhibit 5 for

   21         identification as of this date by the

   22         reporter.)

   23    BY MR. HENRY:

   24         Q      Do you see that document there in front of

   25         you?
                                                                           190 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 190 of 296 PageID
                                     1918
    1                      V. Dinielli - 1/4/17

    2         A     Yes, I do.

    3         Q     What do you recognize that document to be?

    4         A     I recognize it to be a letter that was

    5         sent to Ms. Skates after her termination

    6         telling her that she was not allowed on the

    7         ground or in the facility.

    8         Q     Can you go ahead and tell me what the date

    9         of that letter is?

   10         A     October 23rd, the day after she was

   11         terminated.

   12         Q     With respect to this letter, can you go

   13         ahead and do me a favor and read the first

   14         paragraph?    Actually, go ahead and read us the

   15         letter.

   16         A     "Dear, Ms. Skates:     As you know, your

   17         employment with the Village of Freeport was

   18         terminated effective 10/22/13.       Including in

   19         the charges and specifications against you are

   20         charges based upon offensive racial slurs made

   21         by you and directed at both employees and

   22         patrons of the recreation center.

   23               "The Village of Freeport will not tolerate

   24         such behavior at its facilities and will

   25         protect its employees and patrons from any such
                                                                           191 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 191 of 296 PageID
                                     1919
    1                      V. Dinielli - 1/4/17

    2         harassment.    Therefore, we are barring you from

    3         entry to the recreation center.       You are not

    4         permitted entry to that facility or its ground

    5         at any time for any reason.      Should you feel

    6         that for some reason entry is critical, you may

    7         contact the undersigned and I will arrange for

    8         you to have supervised escorted access.        We

    9         will consider unauthorized entry as an act of

   10         trespass and pursue charges against you.        Your

   11         compliance with this directive is therefore

   12         critical.

   13               "Very truly yours, Conor Kiran, Executive

   14         Director of Human Resources."

   15               Chief of Police, Howard, the Village

   16         Attorney, and myself were copied on this

   17         letter.

   18         Q     You testified earlier that Ms. Skates was

   19         pleasant in October 2013.      She was specifically

   20         pleasant when you saw her in a sling on her

   21         arm, right?

   22         A     I said that she was pleasant on the

   23         morning of -- that she came in.       She was in

   24         pain and she was pleasant.

   25         Q     You testified that she wasn't rude, right?
                                                                           192 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 192 of 296 PageID
                                     1920
    1                      V. Dinielli - 1/4/17

    2         A     Yes, I did.    On that day she wasn't rude.

    3         Q     You also testified that was the day that

    4         you learned that she suffered a work-related

    5         injury, right?

    6         A     That she claimed she had a work-related

    7         injury.

    8         Q     In fact, you actually saw her in the lobby

    9         as she left, right?

   10         A     No.

   11         Q     You testified that you learned --

   12         A     That was the day before.      The day before I

   13         saw her in the lobby when she left.        I saw her

   14         punching out.    That was on the 21st.

   15         Q     You also testified that she wasn't even in

   16         thereafter, right?

   17         A     In the building?

   18         Q     Yes.

   19         A     Yes, I did.

   20         Q     So the last time that Ms. Skates was in

   21         the building was the day that you saw her out

   22         of the building?

   23         A     I didn't see her out.     But whoever -- but

   24         the day she left after she was terminated.

   25         Q     So, in fact, this letter here that says
                                                                           193 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 193 of 296 PageID
                                     1921
    1                      V. Dinielli - 1/4/17

    2         that Ms. Skates was terminated effective a day

    3         that she wasn't even at work was inaccurate,

    4         right?

    5         A      No.   That was the date.    The 22nd was the

    6         date she came in and they terminated her.        She

    7         was terminated.

    8         Q      Did you ever provide Ms. Skates with

    9         charges and specifications?

   10         A      I didn't but the Village attorney and

   11         Human Resources, they took control of the

   12         meeting.

   13         Q      Did you ever provide Ms. Skates or did you

   14         ever review a -- charges and specifications

   15         that is were filed against Ms. Skates?        Did you

   16         ever see those?

   17         A      As I said, the termination hearing, the

   18         termination meeting was not -- I did not, you

   19         know, spearhead that meeting.

   20         Q      Have you ever seen charges and specifics

   21         against Ms. Skates pertaining to what she's

   22         alleged to have done on the day that she was

   23         off?

   24                MS. PANICO:   Objection to form.

   25         Q      Have you ever seen any charges or
                                                                           194 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 194 of 296 PageID
                                     1922
    1                      V. Dinielli - 1/4/17

    2         specifications against Ms. Skates for racial

    3         slurs?

    4         A     Have I seen documentation?

    5         Q     Yes.

    6         A     Since then I have.

    7         Q     On this date here?

    8         A     On this date, no.

    9         Q     What are "charges and specifications"?

   10         A     I'm sorry?

   11         Q     What are "charges and specifications"?

   12         A     Allegations of misconduct.

   13         Q     Charges and specifications, why are those

   14         important?    Why is a charge and specification

   15         an important piece of document?

   16               MS. PANICO:    Objection to form.

   17         Q     You may answer.

   18         A     Why are they important?

   19         Q     Yes.

   20         A     Because they are important for the reason

   21         so that she would know the reasons why she was

   22         terminated.

   23         Q     So what's the typical process when someone

   24         is given a charge and specification?        What

   25         happens thereafter?
                                                                           195 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 195 of 296 PageID
                                     1923
    1                      V. Dinielli - 1/4/17

    2         A     I don't understand what you're saying.

    3         Q     What is the policy?     What is the procedure

    4         that takes place after someone is issued a

    5         charges and specification outlining grounds for

    6         termination?    What happens after they are given

    7         those charges and specifications?

    8               MS. PANICO:    Objection.    Calls for

    9         speculation.

   10         A     I don't work in Human Resources.       I don't

   11         know.   Thank God I haven't -- had the --

   12         Q     As you're standing here today, you have

   13         never seen or at this point you hadn't seen

   14         charges or specifications against Ms. Skates up

   15         until this point, right?

   16         A     I've heard the charges and allegations.

   17         Q     But you hadn't seen it, right?

   18         A     Personally, no.

   19               As I said at the very beginning of this, I

   20         had very little dealings with Ms. Skates.        I'm

   21         the manager.    I run the facility.     I handle the

   22         finances.    Handle all of that.     I don't really

   23         get involved in much of the day-to-day

   24         operations unless I'm called upon.

   25         Q     Well, you were the and still are the
                                                                           196 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 196 of 296 PageID
                                     1924
    1                      V. Dinielli - 1/4/17

    2         manager and supervisor of the recreation

    3         center, right?

    4         A      That's right.

    5         Q      If there was a charge and specification

    6         alleging or accusing Ms. Skates of offensive

    7         racial slurs made to employees and patrons of

    8         the recreation center, that would have been

    9         something that you would have been directly

   10         involved with, right?

   11                MS. PANICO:   Objection to form.     Calls for

   12         speculation.

   13         Q      Isn't that right?

   14         A      The employees came to me.     They told me

   15         what their problem was and I forwarded them to

   16         Human Resources.

   17         Q      But you never thought once to take a

   18         written statement from any of those employees?

   19         A      Not my job to do that.    That's why we have

   20         Human Resources.

   21         Q      When did they come to you with these

   22         concerns?    When did these employees come to

   23         you?

   24         A      Throughout her employment.

   25         Q      So why did you wait until the day that she
                                                                           197 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 197 of 296 PageID
                                     1925
    1                      V. Dinielli - 1/4/17

    2         had a work-related injury, the day before you

    3         saw her in a sling to make it an issue then?

    4         Why did you wait so long?

    5         A     It was a culmination a lot of events.        It

    6         had nothing to do with her work related because

    7         at the time when the decision was made to

    8         terminate her, we were not even aware of

    9         work-related injury.     Because, as I said, when

   10         she left work on the 21st, she did not tell

   11         anybody nor did she tell the people she was

   12         even working with that she had injured herself.

   13         Nobody was aware.

   14         Q     Why didn't you write Ms. Skates up for

   15         harassing patrons of the recreation center?

   16         Why didn't you do that?

   17         A     I advised Human Resources.

   18         Q     Why didn't you write Ms. Skates up for

   19         offensive racial slurs?

   20         A     I advised Human Resources.

   21         Q     Who told you that Ms. Skates had offensive

   22         racial slurs?    What employees told you that?

   23         A     Vicky Grotton, Anique Adams.      Those are

   24         the two that I can recall right now.

   25         Q     What's Vicky Grotton's title?
                                                                           198 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 198 of 296 PageID
                                     1926
    1                      V. Dinielli - 1/4/17

    2         A      Rec attendant.

    3         Q      And what's Anique Adams' title?

    4         A      Cashier.

    5         Q      Where are they stationed primarily?

    6         A      Vicky Grotton worked alongside of Earline

    7         for much of her employment with us.

    8         Q      And when did that begin and when did that

    9         end?

   10         A      Pretty much on her first day.

   11         Q      When did she stop working with Ms. Skates?

   12         A      As far as I could recall, she always

   13         worked a little bit with her.       Other than when

   14         her days changed, then if Vicky was off a day,

   15         then they weren't together.      But they did work

   16         side by side.

   17         Q      Did they work together in the exercise

   18         room?

   19         A      No.   That's where they split up.

   20                Because the patrons were complaining that

   21         the ladies were making too much noise.        So I

   22         said, you know what, let's not let them

   23         complain so much.     Why don't you girls just

   24         split up so that we don't have to listen to the

   25         seniors complain about you and we don't want
                                                                           199 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 199 of 296 PageID
                                     1927
    1                      V. Dinielli - 1/4/17

    2         them to be making complaints, filing

    3         complaints.

    4         Q      So when Ms. Skates was split up and placed

    5         in the exercise room, she no longer had

    6         interaction with Vicky Grotton in June?

    7         A      No.   That was only for like an hour of the

    8         part of the day.

    9         Q      How about Anique Adams, where was she

   10         stationed?

   11         A      Anique Adams was stationed as a cashier

   12         which is at a desk pretty much to the side in

   13         the middle of the lobby where they all

   14         congregated and spoke during the course of the

   15         day.

   16         Q      Why would you wait until the day after

   17         learning that Ms. Skates had a work-related

   18         injury to complain to Human Resources or notify

   19         Human Resources about complaints that were made

   20         to you as early as June when Ms. Skates was

   21         transferred?

   22                MS. PANICO:   Objection to form.

   23         Q      You may answer.

   24         A      I said to you, and you keep switching it

   25         around, I did not complain.      I did not do it
                                                                           200 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 200 of 296 PageID
                                     1928
    1                      V. Dinielli - 1/4/17

    2         the day after hearing.      I did not know about

    3         the work-related injury until the morning that

    4         the termination was scheduled.       The termination

    5         was scheduled, based on a culmination of all of

    6         these issues, for the 22nd of October.

    7               Ms. Skates called in in the morning.       I

    8         alerted Human Resources and the Village

    9         attorney that Ms. Skates was not coming to

   10         work, so there was no reason for them to come

   11         down and terminate her.

   12         Q     When you say all of the issues, could you

   13         be a little bit more specific?

   14         A     Absence issues, the complaints issues from

   15         employees and from the patrons.

   16         Q     Were those the only issues?

   17         A     Her attitude.    I mean, it was -- she

   18         wasn't a pleasant person to work for as I was

   19         told by -- she was a cancer in our facility.

   20         Q     Who told you that?

   21         A     I believe it was either Vicky Grotton or

   22         Anique Adams or -- I don't recall exactly who.

   23         But whenever they had a complaint, I said you

   24         have to go to Human Resources with your

   25         complaint and file them there.
                                                                           201 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 201 of 296 PageID
                                     1929
    1                      V. Dinielli - 1/4/17

    2         Q     So why doesn't this letter here state that

    3         Ms. Skates had absence issues, she had poor

    4         attitude, she was not pleasant and that she was

    5         a cancer in the facility?      Why doesn't this

    6         letter state that?

    7         A     I didn't write that letter, so I would not

    8         know.

    9         Q     But you got the letter, right?

   10         A     I received the letter.     And this was based

   11         on the employees filing another complaint with

   12         Human Resources that they were scared that she

   13         was going to come in and go postal.        That's why

   14         this letter was written.

   15               Again, it wasn't me.     That's just what I

   16         heard.

   17         Q     So is this letter, again, one of those

   18         instances where you just received marching

   19         orders and followed through, fall in line?

   20         A     I guess so.    I just received the letter.

   21         I didn't write the letter.      I didn't hand the

   22         letter out.    I just received the letter.

   23         Q     But you fell in line?

   24         A     I didn't fall in line.     When the employees

   25         came to me with their fears, I said call Human
                                                                           202 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 202 of 296 PageID
                                     1930
    1                      V. Dinielli - 1/4/17

    2         Resources.

    3         Q     Why didn't you write her up?

    4         A     She was already terminated.

    5         Q     Well, why didn't you write her up when

    6         they first complained?

    7         A     Because I couldn't write their complaints

    8         up.   I sent them to Human Resources.

    9         Q     Earlier I asked you a question whether or

   10         not Ms. Skates had made any medical leave

   11         requests directly to you.

   12               Do you remember that?

   13         A     Yes.

   14         Q     You testified no, right?

   15               MS. PANICO:    Objection to form.

   16         A     I understand medical leave requests to be

   17         for a period of time going forward.        So that is

   18         what I answered no.     She never said to me I

   19         need three weeks off, two weeks off.

   20         Q     You testified when I asked you whether or

   21         not Ms. Skates had -- you had ever denied any

   22         leave or medical leave requests from Ms. Skates

   23         and you said no.

   24               MS. PANICO:    Objection to form.

   25         A     I never did.
                                                                           203 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 203 of 296 PageID
                                     1931
    1                      V. Dinielli - 1/4/17

    2         Q      I also asked you earlier whether or not

    3         Ms. Skates ever made a direct request for leave

    4         to you that you denied.      You said no.

    5                MS. PANICO:   Objection to form.

    6         Q      Isn't that right?

    7         A      I answered those questions to the best my

    8         ability.

    9                MR. HENRY:    At this time I would like to

   10         mark for identification Plaintiff's Exhibit 6.

   11                (Whereupon, the aforementioned document,

   12         was marked as Plaintiff's Exhibit 6 for

   13         identification as of this date by the

   14         reporter.)

   15    BY MR. HENRY:

   16         Q      Do you see that document there in front of

   17         you?

   18                MS. PANICO:   Could you please give us a

   19         second to look at it.

   20         A      Uhm-uhm.

   21         Q      Do you see that document there in front of

   22         you?

   23                MS. PANICO:   Just wait one second.

   24                MR. HENRY:    I think that the witness said,

   25         "Uhm-uhm."    I don't think she needs your
                                                                           204 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 204 of 296 PageID
                                     1932
    1                      V. Dinielli - 1/4/17

    2         approval for --

    3               MS. PANICO:    I think that the Court said

    4         that I have the right to review it, actually

    5         before my client does.      So I'm trying to cut

    6         down --

    7               MR. HENRY:    Very quickly to see the

    8         exhibit and see what it is and move on.

    9               MS. PANICO:    I have an opportunity to

   10         review it before I even give it to my client.

   11               MR. HENRY:    Let the record reflect now at

   12         least two minutes passed that document has been

   13         in front of this witness and it's a very basic

   14         document.

   15               MS. PANICO:    I am cutting down on the time

   16         by reviewing it with my client.       But I do have

   17         the right to review it and I will review it.

   18         Thank you.

   19               MR. HENRY:    Let record reflect that the

   20         witness already acknowledged that she sees the

   21         document.

   22               MS. PANICO:    But I am not acknowledging

   23         that.   And you're wasting more time by going on

   24         this rant.

   25               MR. HENRY:    Counsel's characterization
                                                                           205 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 205 of 296 PageID
                                     1933
    1                      V. Dinielli - 1/4/17

    2         that it's a rant, again, is harassing.

    3               But let the record reflect that this is

    4         documents that the defendant produced to us,

    5         Bates stamped at 00380, as part of this

    6         document product.

    7               So I'm not quite sure --

    8               MS. PANICO:    It wouldn't be something the

    9         plaintiff produced because the plaintiff didn't

   10         produce any discovery.

   11               MR. HENRY:    Again, I totally disagree with

   12         your characterization.      But that's neither here

   13         nor there.

   14               Again, let the record reflect now at least

   15         five minutes has passed that counsel has the

   16         same exhibit in front of her and we are now at

   17         a standstill because counsel wants to bring out

   18         her magnifying glass to inspect document that

   19         she produced months ago.

   20               MS. PANICO:    Please let the record reflect

   21         that since Mr. Henry has put down the document,

   22         he has not stopped talking so that I have not

   23         had an opportunity to actually review the

   24         exhibit.

   25               MR. HENRY:    Record speaks for itself.
                                                                           206 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 206 of 296 PageID
                                     1934
    1                      V. Dinielli - 1/4/17

    2               MS. PANICO:    No, it doesn't.    Not with

    3         respect to whether or not you've given me an

    4         opportunity to review it, it doesn't.

    5               MR. HENRY:    Time now is 6:09.    Counsel has

    6         began looking at this document at

    7         approximately --

    8               MS. PANICO:    You're unbelievable.     You've

    9         given three seconds to look at it.

   10               (Counsel speaking simultaneously.)

   11               MR. HENRY:    -- 6:03 and the time now is

   12         6:09.   Counsel still has the document in her

   13         hand that they produced.

   14               MS. PANICO:    Mr. Henry has still not given

   15         me an opportunity to review it without

   16         speaking.    I have to listen to you while you're

   17         speaking so that I can find out what you're

   18         putting on the record.      So while you're

   19         speaking, I'm not having an opportunity to

   20         review it.

   21               See how quick it goes when you actually

   22         give a chance to look at the document.        Is 30

   23         seconds too much to ask for?

   24               MR. HENRY:    Let the record reflect that

   25         the time now is 6:10.      Counsel has had that
                                                                           207 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 207 of 296 PageID
                                     1935
    1                      V. Dinielli - 1/4/17

    2         document since, I believe, from my notation,

    3         6:03.   The witness has now --

    4               MS. PANICO:    And Mr. Henry continued to

    5         speak the entire time I had the document with

    6         the exception of the last 30 seconds.

    7               (Counsel speaking simultaneously.)

    8               MR. HENRY:    -- eight minutes after the

    9         fact.

   10               MS. PANICO:    That's not accurate.

   11               MR. HENRY:    One moment, please.

   12               Off the record.

   13               (Whereupon, an off-the-record discussion

   14         was held.)

   15               MR. HENRY:    Let the record reflect that

   16         I'm on a phone call right now, an important

   17         phone call.    And as we took the conversation

   18         off the record, counsel in the presence of four

   19         or at least three other people other than

   20         myself told -- stated that I'm the biggest

   21         prick that she knows.

   22               MS. PANICO:    Let the record reflect that

   23         Mr. Henry has made misrepresentations

   24         throughout this entire deposition.

   25               MR. HENRY:    Counsel, did you not off the
                                                                           208 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 208 of 296 PageID
                                     1936
    1                      V. Dinielli - 1/4/17

    2         record call me in the presence of the Court

    3         Reporter, who is an officer of the Court, who

    4         will, and based upon her role as an officer of

    5         the Court, will attest to whatever it is that

    6         you said that she heard?

    7               Is it your testimony that you didn't call

    8         me the biggest prick you know?

    9               MS. PANICO:    Mr. Henry, I'm not the

   10         witness to be deposed here.

   11               MR. HENRY:    Is that your testimony here?

   12               MS. PANICO:    Like I said, you made

   13         numerous misrepresentations throughout the

   14         course of this deposition.

   15               (Counsel speaking simultaneously.)

   16               MR. HENRY:    Well, if you believe that, was

   17         that a misrepresentation?

   18               Did you call me the biggest prick?

   19               MS. PANICO:    I'm not required to answer

   20         your questions.     I'm not the deponent here

   21         today.

   22               MR. HENRY:    Well, at this point, to the

   23         extent that the Court Reporter, as an officer

   24         of the Court heard it, I would request that the

   25         record be noted and that that portion of the
                                                                           209 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 209 of 296 PageID
                                     1937
    1                      V. Dinielli - 1/4/17

    2         conversation was one that the Court Reporter --

    3         in the presence of the Court Reporter was made

    4         while off the record when I took an emergency

    5         phone call from a family member while I'm in

    6         this deposition.     If the Court Reporter could

    7         note what she heard, that would be great.

    8               MS. PANICO:    We were off the record for a

    9         reason.    We were off the record because you

   10         needed to take a personal phone call.        You made

   11         a misrepresentation that I took a personal

   12         phone call, which I did not.

   13               MR. HENRY:    I said the phone rang and it

   14         vibrated.

   15               MS. PANICO:    You made an implication that

   16         I took a personal phone call during the

   17         deposition, which I did not.       Which is a

   18         complete misrepresentation of the record as

   19         you've been doing throughout this entire

   20         deposition and as you continue to do.

   21               MR. HENRY:    Ms. Panico, you just called

   22         me --

   23               MS. PANICO:    As I stated, I am not the

   24         witness.    If you want to continue to question

   25         the witness, then question the witness.         But
                                                                           210 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 210 of 296 PageID
                                     1938
    1                      V. Dinielli - 1/4/17

    2         I'm not one on trial here.

    3               Why don't you proceed with the deposition.

    4               MR. HENRY:    You just called me the biggest

    5         prick in front of everybody in this conference

    6         room.   Why would you do that?

    7               MS. PANICO:    Are we going forward with the

    8         deposition or not?

    9               MR. HENRY:    Why would you make personal

   10         attacks?

   11               MS. PANICO:    Because you've been doing it

   12         throughout the entire day.

   13               MR. HENRY:    I never called you a name.

   14               MS. PANICO:    Mr. Henry, are you ready to

   15         go forward?

   16               MR. HENRY:    Have I ever called you a name?

   17               No.   I want an apology for you calling me

   18         the biggest prick.

   19               MS. PANICO:    No.

   20               MR. HENRY:    So you're not going to

   21         apologize for calling me that?

   22               MS. PANICO:    I'm not going to apologize.

   23               I'm asking you to please go forward with

   24         the deposition.

   25               MR. HENRY:    I'll be the biggest prick and
                                                                           211 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 211 of 296 PageID
                                     1939
    1                      V. Dinielli - 1/4/17

    2         I'm very offended behind it.       I'm actually

    3         quite emotional.

    4               MS. PANICO:    I bet you are.

    5    BY MR. HENRY:

    6         Q     Do you recognize that document --

    7               MS. PANICO:    Let the record reflect that

    8         Mr. Henry is laughing at this time.

    9               MR. HENRY:    It's not going to be a

   10         laughing matter when I sharpen my pencil.

   11               MS. PANICO:    Is that a threat, Mr. Henry?

   12               MR. HENRY:    It is.

   13               MS. PANICO:    Is that a threat?

   14               MR. HENRY:    Yes, it is.

   15               MS. PANICO:    What are you going to do with

   16         your sharpened pencil?

   17               MR. HENRY:    I'm going to sharpen my pencel

   18         and I'm going to outline the appropriate motion

   19         that I'm going to be filing.

   20               MS. PANICO:    What are you going to do,

   21         Mr. Henry, with a sharpened pencil?

   22               (Counsel speaking simultaneously.)

   23               MR. HENRY:    And you're going to get a few

   24         days to respond to it.       Don't worry.   You'll

   25         have enough time to sharpen your pencil as
                                                                           212 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 212 of 296 PageID
                                     1940
    1                      V. Dinielli - 1/4/17

    2         well.

    3    BY MR. HENRY:

    4         Q     Do you see that document in front of you?

    5         A     Yes, I do.

    6         Q     Do you recognize what that document is?

    7         A     Yes.

    8         Q     Okay.

    9               When I asked you earlier whether or not

   10         Ms. Skates had made a request for leave

   11         directly to you, you testified no, right?

   12         A     Yes, I did.

   13         Q     Do you see this document here where it

   14         says:   "Village of Freeport"?

   15         A     Uh-uhm.

   16         Q     What's the word right under there?

   17         A     Leave Request Form.

   18         Q     And who is it from?

   19         A     Earline Skates.

   20         Q     Drawing your attention to the upper

   21         right-hand section of that document, do you see

   22         that too?

   23         A     Yes, I do.

   24         Q     Whose name is that?

   25         A     That's mine.
                                                                           213 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 213 of 296 PageID
                                     1941
    1                      V. Dinielli - 1/4/17

    2         Q     So the testimony that you gave earlier

    3         that Ms. Skates hadn't made any leave requests

    4         to you was inaccurate, right?

    5         A     Based on this, you're absolutely right.

    6         Q     So do you usually give inaccurate

    7         testimony, Ms. Dinielli, when you don't review?

    8         A     First of all, my name it's Dinielli.

    9         Q     I'm sorry.

   10         A     Okay.   Ms. Dinielli.

   11         Q     Ms. Dinielli, do you usually give

   12         inaccurate testimony?

   13         A     I'm going to answer the way I answered

   14         before.    I don't usually, however, this was in

   15         the very beginning of her employment and I did

   16         not recall it.     I can only give -- I'm giving

   17         as honest answers as I can based on what I

   18         recall for something that happened three and a

   19         half years ago.

   20         Q     Ms. Dinielli --

   21         A     She is one of 80 employees.

   22         Q     Well, this is at least the sixth time that

   23         you gave inaccurate testimony under oath.

   24               MS. PANICO:    Objection to form.

   25         Q     Isn't that right?
                                                                           214 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 214 of 296 PageID
                                     1942
    1                      V. Dinielli - 1/4/17

    2         A     So you say.

    3         Q     So you didn't think that you would have

    4         gotten it right the first time you gave

    5         inaccurate testimony under oath?

    6         A     If I would have remembered signing this,

    7         then I would have certainly answered

    8         differently.

    9         Q     So is it your testimony that you give

   10         false answers before you know the truth?

   11               MS. PANICO:    Objection to form.

   12         A     At the beginning of this testimony, I told

   13         you I'm doing the best that I can for something

   14         that happened three and a half years ago.

   15         Q     So now we know that your usual, your

   16         default way of responding to questions is to

   17         tell a lie first.

   18               MS. PANICO:    Objection to form.

   19               Mr. Henry, let's move on.

   20         Q     Isn't that right?

   21         A     I will not answer that question.

   22         Q     Now, what does it say there under your

   23         name, Ms. Dinielli?

   24         A     Denied.

   25         Q     So, in fact, you denied a leave request
                                                                           215 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 215 of 296 PageID
                                     1943
    1                      V. Dinielli - 1/4/17

    2         that Ms. Skates made, right?       Isn't that right?

    3         A     Yes, I did.

    4         Q     What's the date on this here where it says

    5         date received?     Do you see that?

    6         A     May 3rd.   That was the day that --

    7         May 2nd.

    8         Q     Okay.

    9               So what was the dates that Ms. Skates was

   10         requesting?

   11         A     The 3rd and the 10th, the 4th and the

   12         11th.

   13         Q     So when she made this request on

   14         May 1st requesting to have May 3rd and May 10th

   15         and May 4th and May 11th off, wouldn't those

   16         dates have been in the future dates?

   17         A     Yes.

   18         Q     When you testified earlier you hadn't

   19         denied any requests for future dates of leave

   20         for Ms. Skates, that was inaccurate, right?

   21         A     I was mistaken.

   22         Q     Was it a mistake or was it inaccurate

   23         testimony under oath?

   24         A     It was a mistake.

   25               MS. PANICO:    Objection to form.
                                                                           216 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 216 of 296 PageID
                                     1944
    1                      V. Dinielli - 1/4/17

    2         Q     Was it the truth?

    3               MS. PANICO:    Objection to form.

    4         A     I believed it to be the truth when I said

    5         it.

    6         Q     So do you usually say things that you

    7         believe to be the truth, but then when you see

    8         something that has your name on it that

    9         indicates that it's far from the truth, is the

   10         case -- is that what you unusually do?

   11               MS. PANICO:    Objection to form.

   12         A     Always.   I always say things that I

   13         believe to be true and I take responsibility

   14         when I'm wrong.     Always.

   15               MS. PANICO:    Mr. Henry, move on.

   16         Q     Were you wrong when you said that you

   17         never denied a future request for Ms. Skates?

   18               MS. PANICO:    It's been asked and answered.

   19         Move on.

   20               MR. HENRY:    Your objection is noted.

   21    BY MR. HENRY:

   22         Q     Were you wrong when you said that?       Did

   23         you make a mistake when you said that?

   24               MS. PANICO:    She's already asked and

   25         answered that twice.
                                                                           217 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 217 of 296 PageID
                                     1945
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    Please allow me to make my

    3         record.    There's an open question pending.       At

    4         this point, you're limiting my ability to

    5         question this witness.      Your objection is

    6         noted.    I am testing this witness' credibility.

    7         Q     You may answer.

    8         A     I was wrong when -- I did not remember

    9         denying this request.

   10         Q     Were you wrong or did you make a mistake?

   11               MS. PANICO:    Objection.    Asked and

   12         answered.

   13         A     Same thing.

   14         Q     So you made a mistake and you were wrong?

   15               MS. PANICO:    Objection.    Asked and

   16         answered.

   17         A     Yes.

   18         Q     Did there ever come a time that you may

   19         have made a mistake and were wrong and that

   20         resulted in some consequence to Ms. Skates that

   21         you weren't confronted with?

   22               MS. PANICO:    Objection to form.

   23         A     I don't believe so.

   24         Q     So only for those instances or for those

   25         mistakes or for those wrongs that you're
                                                                           218 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 218 of 296 PageID
                                     1946
    1                      V. Dinielli - 1/4/17

    2         confronted with, that's when you admit it,

    3         right?

    4               MS. PANICO:    Objection to form.

    5         A     When it's pointed out to me, I take

    6         responsibility.

    7         Q     But when no one is looking, no one is

    8         looking, right?

    9               MS. PANICO:    Objection to form.

   10         A     I'm sure she's looking and so are you.

   11         Q     I'm sure there's someone else looking too.

   12         A     Okay.

   13         Q     Now that you see that you gave wrong and

   14         mistaken testimony inaccurately under oath, can

   15         you recall any other times that Ms. Skates made

   16         a request for leave directly to you that you

   17         denied?

   18               MS. PANICO:    Objection to form.

   19         A     If Ms. Skates asked for leave and she did

   20         not have time available, I would have signed

   21         fast just like I do other people, and I would

   22         have denied it.     I do not recall every slip

   23         that I sign.

   24         Q     Why didn't you say that to begin with?

   25         Why didn't you be honest to begin with?
                                                                           219 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 219 of 296 PageID
                                     1947
    1                      V. Dinielli - 1/4/17

    2         A     I just didn't think of it.

    3               MS. PANICO:    Objection to form.

    4               Mr. Henry, you're harassing the witness.

    5               MR. HENRY:    I'm testing her credibility.

    6         I have every right to ask that question.

    7               MS. PANICO:    That's not testing somebody's

    8         credibility.    Obviously you don't know what

    9         you're doing then.

   10               MR. HENRY:    Let the record reflect again

   11         counsel's attack on me.      I'm not sure why.

   12               MS. PANICO:    Because you're harassing the

   13         witness.    You've harassed me throughout the

   14         course of the entire time.      And it's only

   15         because of short discovery deadline that I've

   16         remained here.     Otherwise, believe me, we would

   17         have been gone a long time ago.

   18               MR. HENRY:    This is why I had asked that I

   19         record my own deposition.

   20               MS. PANICO:    Because you harass witnesses

   21         throughout the course.      That's exactly right.

   22               MR. HENRY:    I'm sure --

   23               MS. PANICO:    If I knew the harassment that

   24         my client and I were going to be subjected to

   25         throughout the course of this deposition, then
                                                                           220 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 220 of 296 PageID
                                     1948
    1                      V. Dinielli - 1/4/17

    2         I would have recorded it.

    3               MR. HENRY:    Well, if we knew -- if we had

    4         the benefit of recording it, then we wouldn't

    5         have a need for you to feel the way you feel,

    6         right?

    7               MS. PANICO:    Well, only we would be

    8         recorded.

    9    BY MR. HENRY:

   10         Q     Again, my question to you was:       Now that

   11         you know that you gave wrong and inaccurate

   12         information pertaining to Ms. Skates' leave

   13         requests from you as early as May, is there any

   14         other instances where you can think of that you

   15         may have made or given mistaken testimony?

   16         A     No.

   17               MS. PANICO:    Objection to form.     Multiple

   18         grounds.    Objection to form.     Objection.   Asked

   19         and answered.

   20         Q     Are there any other mistaken -- any other

   21         instances where you were mistaken or gave

   22         inaccurate testimony?

   23         A     I don't believe I did, however, if she

   24         didn't have time available, I would have signed

   25         it fast and I would have -- and it would have
                                                                           221 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 221 of 296 PageID
                                     1949
    1                      V. Dinielli - 1/4/17

    2         been the same for everybody else.       So it has

    3         nothing to do with -- if she has no time, she

    4         can't get paid.      And that would not be my

    5         decision.    It would just be you don't have the

    6         time.

    7                MR. HENRY:    At this time I would like to

    8         mark for identification Plaintiff's Exhibit 8.

    9                (Whereupon, the aforementioned document,

   10         was marked as Plaintiff's Exhibit 8 for

   11         identification as of this date by the

   12         reporter.)

   13                MR. HENRY:    Let the record reflect that

   14         the exhibit was provided to the witness minutes

   15         ago.    Counsel, again, in light --

   16                MS. PANICO:   Why are you misrepresenting?

   17         I didn't have it for minutes.

   18                (Counsel speaking simultaneously.)

   19                MR. HENRY:    The way she has been holding

   20         on to the exhibit outside of the purview of the

   21         this witness.    She knows that we are limited

   22         time.

   23                The time now is 6:20 and counsel has not

   24         provided the exhibit to the witness and I'm

   25         unable to test this witness' knowledge on it.
                                                                           222 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 222 of 296 PageID
                                     1950
    1                      V. Dinielli - 1/4/17

    2         And, again, these are documents that were

    3         provided to us by counsel.

    4               MS. PANICO:    Please allow the record to

    5         reflect that I had the document for all of five

    6         seconds before Mr. Henry began speaking.

    7               Please also allow the record to reflect

    8         that Mr. Henry has not provided me as counsel

    9         with a copy of any of the exhibits.        So,

   10         unfortunately, because of Mr. Henry's error, I

   11         have to review the -- my client's exhibit

   12         before I can pass it off to her.        It's

   13         unfortunate that Mr. Henry didn't provide or

   14         prepare for the deposition.      But,

   15         unfortunately, that's what we're left with.

   16               MR. HENRY:    Let the record reflect that

   17         counsel confirmed for the first time this

   18         deposition that we noticed back in September

   19         yesterday, January 3rd at 6:03 p.m.        When I

   20         sent her an e-mail and the e-mail states that

   21         Ms. Panico, I attempted to reach you to confirm

   22         Ms. Dinielli's deposition for tomorrow at

   23         12:30, however was advised that you were out of

   24         the office and was unable to leave -- and I was

   25         unable to leave you a voice mail to confirm
                                                                           223 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 223 of 296 PageID
                                     1951
    1                      V. Dinielli - 1/4/17

    2         Ms. Dinielli's deposition will begin on or

    3         about 12:30 at our North Baldwin office and

    4         should last throughout the afternoon.        We will

    5         see you then.

    6               That e-mail was sent to counsel yesterday

    7         at 4:39 p.m.    Counsel only responded two hours

    8         later with confirmation that Ms. Dinielli and

    9         herself would be here.      And then today she

   10         called in our office and said that she was

   11         running late and wasn't sure what time she

   12         would get here, it may be or may not be, as

   13         reported to me by my assistant, approximately

   14         12:45.   Counsel didn't actually get here until

   15         nearly a little past 1:00 and then we had the

   16         issues that unfolded.

   17               So please forgive me if in our hasted

   18         moving forward with this deposition, which you

   19         only confirmed less than 24 hours ago, that I

   20         don't have copies, courtesy copies, that are

   21         our Court Reporter so graciously exhibited for

   22         us during the time it took for to you get here

   23         as she was waiting since 12:20.

   24               MS. PANICO:    Let the record reflect that I

   25         myself have evidence that the deposition was
                                                                           224 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 224 of 296 PageID
                                     1952
    1                      V. Dinielli - 1/4/17

    2         actually confirmed on January 30th through

    3         e-mail correspondence and from telephone

    4         conversations with Mr. Henry.

    5                MR. HENRY:    January 30 hasn't happened

    6         yet.

    7                MS. PANICO:   I apologize.

    8                MR. HENRY:    I just read an e-mail that I

    9         just sent that I'm actually going to now print

   10         out and have it attached to this as --

   11                You can actually begin with letter

   12         exhibits as Plaintiff's letter Exhibit A.

   13                MS. PANICO:   I apologize.    Mr. Henry is

   14         correct.    The deposition was confirmed by me

   15         through e-mail and telephone conversations on

   16         December 30th --

   17                MR. HENRY:    That's not accurate.

   18                MS. PANICO:   -- prior to today.     I have

   19         e-mails to confirm it.

   20                MR. HENRY:    The e-mail here, as I just

   21         read into the record, that yesterday at --

   22                MS. PANICO:   Just because you sent a

   23         second e-mail doesn't mean it wasn't confirmed

   24         on December 30th.

   25                MR. HENRY:    Well, again, the record will
                                                                           225 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 225 of 296 PageID
                                     1953
    1                      V. Dinielli - 1/4/17

    2         speak for itself.     My apologies if -- within

    3         the 15 minutes that it took you to get here or

    4         20, 30 minutes late that you got here --

    5               MS. PANICO:    I was 15 minutes late and

    6         made a courtesy call to your office to let you

    7         know that I was running late.

    8               (Counsel speaking simultaneously.)

    9               MR. HENRY:    We'll pull the surveillance

   10         camera.

   11               MS. PANICO:    Good.   I hope you do.    Spend

   12         more time on this case.

   13    BY MR. HENRY:

   14         Q     Do you recognize that document there in

   15         front of you?

   16         A     Yes, I do.

   17         Q     Whose signature is that there where it

   18         says "Department"?

   19         A     Me.

   20         Q     So when you testified earlier that you

   21         didn't have any or receive any leave requests

   22         for Ms. Skates, now this is the second time

   23         that you're presented with documents that

   24         indicate otherwise, right?

   25         A     When you said leave requests from her, I
                                                                           226 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 226 of 296 PageID
                                     1954
    1                      V. Dinielli - 1/4/17

    2         mean this is filled out and just handed to me

    3         about somebody else in my office.

    4         Q      Does it say Leave Request Form?

    5         A      Yes.

    6         Q      Okay.

    7         A      All right.

    8                MS. PANICO:    I think the problem is with

    9         the way you're defining leave.

   10                THE WITNESS:   Yes.

   11                MR. HENRY:    Again, let the record reflect

   12         counsel's insistence -- I don't even know if

   13         that was an objection.       I don't know what that

   14         was.   I have an open question pending and

   15         counsel just decided to put her opinion on the

   16         record.

   17                MS. PANICO:    You're creating -- I will --

   18         maybe I should have prefaced it with the word

   19         objection.     But the bottom line --

   20                MR. HENRY:    Well, you should have.    The

   21         Court warned you.

   22                MS. PANICO:    -- is that you're asking

   23         questions that are unclear and that are

   24         confusing and intentionally trying to make --

   25                MR. HENRY:    Your objection is noted.
                                                                           227 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 227 of 296 PageID
                                     1955
    1                      V. Dinielli - 1/4/17

    2               MS. PANICO:    -- intentionally confusing

    3         the witness.

    4               MR. HENRY:    No kidding.

    5    BY MR. HENRY:

    6         Q     That's your signature, right?

    7         A     That is.

    8         Q     So you were inaccurate at least two times.

    9         A     I misunderstood your questions, to be

   10         totally honest.

   11         Q     So that is the excuse for giving

   12         inaccurate or wrong testimony, right?

   13               MS. PANICO:    Objection.

   14         A     It's not an excuse.     It's the reason why I

   15         was answering the questions the way I was

   16         answering.

   17               MS. PANICO:    You're harassing the witness.

   18         A     And this is approved.

   19         Q     What's the date on that approval?

   20         A     6/4.

   21         Q     You made that approval, right?

   22         A     Yes, I did.

   23         Q     Drawing your attention to previously

   24         marked Exhibit 1, do you see that?       Withdrawn.

   25               You testified earlier that you received
                                                                           228 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 228 of 296 PageID
                                     1956
    1                      V. Dinielli - 1/4/17

    2         complaints from members of your staff

    3         pertaining to Ms. Skates; isn't that right?

    4         A     Uhm-uhm.

    5         Q     You also testified that those complaints

    6         were from, I believe the names you provided was

    7         Vicky Grotton and Anique Adams.

    8         A     Yes.

    9         Q     And that those complaints were that

   10         Ms. Skates had used racial slurs, right?

   11         A     Uhm-uhm.

   12         Q     You also testified that those complaints

   13         began as early as Ms. Skates being transferred

   14         to the exercise room, right?

   15         A     No.

   16         Q     When did those complaints begin?

   17         A     I don't recall when the complaints began.

   18         Q     Well, you testified that the complaints

   19         were -- the complaints were made prompting you

   20         to transfer Ms. Skates for her own protection?

   21               MS. PANICO:    Objection to form.

   22         A     No.    That is not what I said.

   23         Q     You testified that you separated

   24         Ms. Skates from --

   25         A     For one hour of the day.      That's not --
                                                                           229 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 229 of 296 PageID
                                     1957
    1                      V. Dinielli - 1/4/17

    2         she wasn't transferred to the fitness center

    3         for the whole period.

    4         Q     But that was in June, right?      Right around

    5         the time that she was transferred.

    6         A     Whatever the date was.     I'm getting

    7         confused now.    Whatever that date was.

    8         Q     So you separated Ms. Skates from Vicky

    9         Grotton and Anique Adams, right?

   10         A     No.

   11               MS. PANICO:    Objection to form.

   12         A     At that time, when the senior room was

   13         being cleaned, which took about one hour, they

   14         separated.    Then they came back together and

   15         they went to the next duty.

   16         Q     With respect to the complaints that you

   17         received from Vicky Grotton and Anique Adams,

   18         did you ever meet with Ms. Skates in June of

   19         2013 to talk to her about those complaints?

   20         A     No, I didn't.

   21         Q     Why didn't you meet with her then to talk

   22         to her?

   23         A     Because I didn't hear any racial slurs.

   24         Q     Did you hear any complaints at all in

   25         June?
                                                                           230 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 230 of 296 PageID
                                     1958
    1                      V. Dinielli - 1/4/17

    2         A     No.   I don't believe I did in June.      I

    3         believe that they started coming towards the

    4         end when they didn't know what to do about it

    5         anymore.

    6         Q     Now, with respect to the issues that you

    7         claimed that Ms. Skates had with patrons and

    8         seniors, that happened in early June, right?

    9         A     Uhm-uhm.

   10         Q     Did you ever meet with Ms. Skates and say

   11         that the patrons and the -- patrons are

   12         complaining about you?

   13         A     Yes, I did.    That's when I separated the

   14         two of them because she was heard calling one

   15         of the patrons, the seniors, a Jew bastard.         So

   16         didn't want that patron to put a formal

   17         complaint in.    So that's why I said to her, why

   18         don't you just go up for the hour, you go up to

   19         the fitness center and leave Vicky down here by

   20         herself.

   21         Q     Why didn't you write Ms. Skates up in

   22         June?

   23         A     Because I didn't hear that.      I was looking

   24         out for her.

   25         Q     Were you looking out for her when you
                                                                           231 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 231 of 296 PageID
                                     1959
    1                      V. Dinielli - 1/4/17

    2         wrote her up when she walked away from you?

    3         A     No, I didn't.

    4         Q     Well, why would you look -- why would you

    5         look out for her patron if she called a patron

    6         in the facility that you're --

    7         A     Because I know the patrons can be a little

    8         difficult.    I don't believe what they were

    9         doing was -- I mean, they were just talking

   10         amongst themselves and the women were trying to

   11         play mahjong.

   12         Q     Well, don't you think the word Jew bastard

   13         is a racial slur?

   14         A     I didn't hear her say it.      So I don't even

   15         know if it really happened.      That is what they

   16         told me.    I just -- I was not there for it.

   17         Q     So in the same way that you didn't hear

   18         the racial slurs that she allegedly made to

   19         Vicky Groten or Anique Adams, the same way you

   20         didn't hear that --

   21         A     And that's why I didn't write any of them

   22         up.   I said the person who heard it should make

   23         the complaint.     I did not hear any -- her say

   24         that.

   25               MR. HENRY:    At this time I would like to
                                                                           232 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 232 of 296 PageID
                                     1960
    1                      V. Dinielli - 1/4/17

    2         mark for identification Plaintiff's 25.

    3               (Whereupon, the aforementioned document,

    4         was marked as Plaintiff's Exhibit 25 for

    5         identification as of this date by the

    6         reporter.)

    7               MR. HENRY:    Let the record reflect that

    8         I've placed the document in front of the

    9         witness --

   10               MS. PANICO:    I'm timing it.

   11               MR. HENRY:    -- on the table.    Counsel

   12         picked it up from the table and is holding it

   13         outside of the purview the witness.        And,

   14         again, this has been in kind with what she has

   15         been doing the entire deposition in terms of

   16         taking exhibits, holding them outside of the

   17         view of the witness, reviewing them for

   18         extended periods, and I guess limiting my

   19         ability to test this witness' knowledge,

   20         limiting my ability to ask questions in the

   21         spur of the moment and what I believe to be an

   22         attempt to delay and run the clock because she

   23         knows that discovery is closing in two days.

   24               Again, I've noted my objection numerous

   25         times.   These are documents that have been
                                                                           233 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 233 of 296 PageID
                                     1961
    1                      V. Dinielli - 1/4/17

    2         produced by the defendant to us.       She has --

    3         counsel has been in possession of these

    4         documents as early as the initial disclosure

    5         period, which, I believe, was earlier this

    6         year.   And for her to take the time that she's

    7         taking to review documents as I'm in the middle

    8         of a deposition, to me, is just unheard of.

    9               At this point only 15 seconds has passed

   10         in my objection and counsel certainly can

   11         continue from that.

   12               MS. PANICO:    I started this after you were

   13         about two minutes in.      So if you're looking at

   14         this, this is not accurate.

   15               MR. HENRY:    Again, let the record reflect

   16         counsel is holding up what appears to be an

   17         iPhone, looks as though she may have

   18         triggered -- I don't know -- I can't tell from

   19         where I'm at, but she may be recording this

   20         deposition.    And I know earlier we had -- she

   21         raised the very issue about recording.        But

   22         again, I don't know.     I can't see.    But I have

   23         iPhone and it looks like she's activated the

   24         recording button, although she raised the huge

   25         issue and terminated the deposition earlier
                                                                           234 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 234 of 296 PageID
                                     1962
    1                      V. Dinielli - 1/4/17

    2         because she had concerns with me recording.

    3               So I just wanted the record to be clear.

    4               Counsel, again, there's is an open

    5         question.    You have the exhibit.     The witness

    6         hasn't looked at it yet and you're affecting my

    7         ability to move forward.

    8               MS. PANICO:    So Mr. Henry has now gone on

    9         a rant for about three minutes where during

   10         that time period he has provided me absolutely

   11         no opportunity to review the document that he

   12         gave to my client.

   13               Again, the Court did indicate during a

   14         prior telephone conference with the Court that

   15         I do have the right to review the document, not

   16         only while my client is reviewing it but that I

   17         actually have the right to review the document

   18         before it goes to my client.

   19               I'm just asking --

   20               MR. HENRY:    That's not what the Court

   21         said.

   22               MS. PANICO:    -- for the opportunity to

   23         review the document as the Court indicated that

   24         I am allowed to do.

   25               Mr. Henry who so concerned about the time,
                                                                           235 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 235 of 296 PageID
                                     1963
    1                      V. Dinielli - 1/4/17

    2         has wasted several minutes going on a rant

    3         about this issue and indicating that I'm

    4         recording this, which is entirely false.        I am

    5         not technologically savvy.      I have no idea how

    6         to even record on my telephone.       So his

    7         misrepresentation in that regard is, again,

    8         harassment and is entirely baseless and

    9         unsupported.    He has nothing to substantiate it

   10         and no reason to believe whatsoever that I'm

   11         recording this.

   12               I do, in fact, have the stopwatch going

   13         and that is only because Mr. Henry has made

   14         numerous misrepresentations over and over again

   15         indicating that I've had the document for five

   16         minutes when I haven't even had it for ten

   17         seconds.    I have the stopwatch going so that

   18         way I know exactly how long has gone by.

   19               I'll now take the opportunity to review

   20         the exhibit which has not been given to me yet.

   21               MR. HENRY:    The exhibit was given to you.

   22         It was placed on the table before you picked it

   23         up.

   24               MS. PANICO:    But you wouldn't stop talking

   25         to give me the opportunity to look at it.
                                                                           236 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 236 of 296 PageID
                                     1964
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    You have no reason at all to

    3         review it.

    4               MS. PANICO:    Oh, really.    You know what,

    5         then I'll give you the same exact courtesy on

    6         Friday when I see your client.       See how you

    7         feel about it then.

    8               MR. HENRY:    We have nothing to hide.

    9               MS. PANICO:    You think I'm trying to hide

   10         something by reviewing a document?

   11               MR. HENRY:    You called me a prick for no

   12         reason.

   13               MS. PANICO:    Okay, Mr. Henry.

   14               MR. HENRY:    And then lied about it.

   15               MS. SKATES:    May I ask a question?

   16               MR. HENRY:    Again, now it's three minutes

   17         that's passed and the witness still does not

   18         have the exhibit.

   19               MS. PANICO:    Again, that's a

   20         misrepresentation on the time.

   21               MR. HENRY:    The Court was very clear that

   22         you -- note.

   23               MS. PANICO:    Mr. Henry, if you would just

   24         stop talking, then I can review the document.

   25               MR. HENRY:    Let record reflect that
                                                                           237 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 237 of 296 PageID
                                     1965
    1                      V. Dinielli - 1/4/17

    2         Ms. Panico has raised her voice --

    3               MS. PANICO:    Oh, my God.

    4               MR. HENRY:    -- and flailed her arms.

    5               MS. PANICO:    That's, again -- I never

    6         flailed my arms.     Thank you.

    7               MR. HENRY:    Have you finished your review?

    8               MS. PANICO:    Mr. Henry, you know I don't

    9         have the document in front of me.       So I feel

   10         like you're chastising me by asking me that

   11         question.

   12               MR. HENRY:    Let the record reflect that

   13         counsel had not notified me when she finished

   14         her review.    I've been sitting here waiting.

   15               MS. PANICO:    Let the record reflect that

   16         Ms. Dinielli had the document a minute or so

   17         ago --

   18               MR. HENRY:    Did you tell me that?

   19               MS. PANICO:    -- and Mr. Henry was looking

   20         down at his notes.

   21               MR. HENRY:    Did you tell me that?

   22               MS. PANICO:    I don't have no obligation to

   23         tell you I'm done reviewing the document.        I

   24         passed the document to Ms. Dinielli.

   25               MR. HENRY:    And when you take five minutes
                                                                           238 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 238 of 296 PageID
                                     1966
    1                      V. Dinielli - 1/4/17

    2         to review a single-page document, I think that

    3         you should at least tell me when you're done

    4         reviewing it.

    5               MS. PANICO:    I didn't take five minutes to

    6         review it.    So maybe that's the

    7         misunderstanding.     I took 30 seconds to review

    8         it after you finally stopped talking.

    9    BY MR. HENRY:

   10         Q     Ms. Dinielli, do you see that document

   11         there in front you?

   12         A     Yes.

   13         Q     What do you recognize that document to be?

   14         A     It was a letter that -- to Conor Kiran,

   15         Director of Human Resources, from me on June 27

   16         outlining Ms. Skates' work schedule or days

   17         that she had not come to work or had time off,

   18         I should say.

   19         Q     What's the date of that letter?

   20         A     June 27, 2013.

   21         Q     Do you see here where it says Earline

   22         Skates first day of work was 4/2/2013?

   23         A     Yes.

   24         Q     Do you also see she was disciplined in a

   25         memo dated April 17, 2013 for an incident that
                                                                           239 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 239 of 296 PageID
                                     1967
    1                      V. Dinielli - 1/4/17

    2         took place in your office on 4/16?

    3         A     Yes.

    4         Q     Was that the incident where you claim

    5         Ms. Skates disrespected you?

    6         A     Yes.

    7         Q     Do you also see here these are the dates

    8         she did not report to work and the category

    9         from which she is paid?

   10         A     Yes.

   11         Q     Do you see that it runs through a list of

   12         dates beginning in April 2013 and ending in or

   13         about June 20th of 2013 beginning with the

   14         first date April 3, 2013 to the last date?

   15         A     I believe it goes to June 27th, but...

   16         Q     Well, it says here these are the dates she

   17         did not report to work and the category from

   18         which she was paid.

   19               Do you see that?

   20         A     But then there's the days that she didn't

   21         come to work that she wasn't paid.

   22         Q     The very least -- at the earliest this

   23         reflects dates from as early of April 3, 2013

   24         and as late as June 27, 2013?

   25         A     Yes.
                                                                           240 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 240 of 296 PageID
                                     1968
    1                      V. Dinielli - 1/4/17

    2         Q     You also see at the become where it says

    3         June 19th you received an e-mail with a

    4         doctor's note stating when she would be able to

    5         return to work?

    6         A     Yes.

    7         Q     Do you see that?

    8         A     Uhm-uhm.

    9         Q     Did you author this correspondence, this

   10         interoffice correspondence?

   11         A     Did I what?

   12         Q     Did you author it?

   13         A     Did I author it?

   14         Q     Author.    Did you write this?

   15         A     Yes.

   16         Q     Why is it that in this -- well, withdrawn.

   17               Would you say that this was a fair

   18         characterization of the events involving

   19         Ms. Skates up and until and including June 27,

   20         2013?

   21         A     I believe so, yes.     I believe so.

   22         Q     Was there any reason you failed to put in

   23         here that Ms. Skates had called the patron a

   24         Jew bastard?

   25         A     That wasn't what I was asked to provide at
                                                                           241 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 241 of 296 PageID
                                     1969
    1                      V. Dinielli - 1/4/17

    2         that time.    This is probably because Human

    3         Resources does payroll and they probably were

    4         asking what her time off was.

    5         Q     Well, when you wrote that she was

    6         disciplined in a memo dated for an incident

    7         that took place on April 16th, that has nothing

    8         to do with payroll, does it?

    9         A     No.

   10         Q     So, in fact, this memo contains instances

   11         where Ms. Skates was alleged to have been

   12         disciplined.

   13         A     And the reason why I probably didn't

   14         mention that was because that was just hearsay

   15         and, again, I was not there.

   16         Q     Well, is there any reason why you didn't

   17         even notate that you've received numerous

   18         complaints from patrons and employees alike

   19         regarding Ms. Skates?

   20               MS. PANICO:    Objection to form.

   21         A     No.

   22               MS. PANICO:    In that particular document?

   23         A     Because anybody who had a complaint, I

   24         told them they have to bring their complaint

   25         either to the union or to Human Resources.
                                                                           242 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 242 of 296 PageID
                                     1970
    1                      V. Dinielli - 1/4/17

    2         Q     But you failed to in the summarized --

    3         what you testified is a fair summary, an

    4         accurate summary of Ms. Skates' employee status

    5         up until June 27th, you failed to put facts in

    6         here that you now are stating on the record,

    7         right?

    8         A     I put facts here at the time on

    9         June 27th of facts that I believed to be

   10         important at the time.

   11         Q     Well, you didn't think it's important that

   12         if Ms. Skates was disciplined for waving her

   13         finger and walking out of your office that it

   14         wasn't important to put in here that she called

   15         someone a Jew bastard?

   16               MS. PANICO:    Objection to form.

   17         A     No.   Because I was not there.

   18         Q     You didn't think it was important to put

   19         that you received complaints from employees and

   20         from different and various patrons about

   21         Ms. Skates' behavior and conduct?

   22               MS. PANICO:    Objection to form.

   23         Q     That wasn't important?

   24         A     I handled things the way I thought they

   25         were appropriate to handle.
                                                                           243 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 243 of 296 PageID
                                     1971
    1                      V. Dinielli - 1/4/17

    2         Q     So, once again --

    3         A     I was not going to write Ms. Skates up for

    4         an instance that I did not witness.        If

    5         somebody else wanted to follow through with

    6         those complaints, it was their duty to report

    7         them to the proper department or individual.

    8               I believe the Jew bastard remark, she

    9         denied and I gave her the benefit of the doubt

   10         at the time.     This is why I moved her from that

   11         area so that she would have no problems going

   12         forward.

   13         Q     In light of time, I'm trying to skip

   14         through certain portions of my outline so that

   15         I can try to get you out as soon as possible.

   16               Do you have any objections to that?

   17         A     No.

   18         Q     You testified earlier when I asked you

   19         whether or not it was typical for employees to

   20         be given access to parking in the back of

   21         building.

   22               Do you remember that?

   23         A     Uhm-uhm.

   24         Q     You testified that, no, employees were not

   25         allowed to park in the back of the building
                                                                           244 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 244 of 296 PageID
                                     1972
    1                      V. Dinielli - 1/4/17

    2         unless they were closing the building, right?

    3               What was the other reason why you said.

    4         A     I said -- first, I didn't say they weren't

    5         allowed.     I said the people that had passes to

    6         the back and that parked in the back were the

    7         individuals that opened the building, closed

    8         the building, the mechanical -- the man that

    9         runs the mechanics of the building, the girl

   10         that does the bank run daily, myself.        Those

   11         are the ones that I recall.

   12         Q     You testified earlier that they don't even

   13         make those parking key cards anymore, that

   14         there were only about five.

   15         A     I didn't say five.     I said there's about

   16         five spots back there.      I don't know how many

   17         were -- the company that issues them is no

   18         longer or we don't have -- the Village doesn't

   19         have contract with them any longer.        So we

   20         cannot make additional passes.       We recycle the

   21         ones that we have.     In my tenure, I have never

   22         issued a pass.

   23         Q     So your testimony here today is that

   24         you've never issued a pass during your tenure?

   25         A     Yep.
                                                                           245 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 245 of 296 PageID
                                     1973
    1                      V. Dinielli - 1/4/17

    2         Q     But in or around May of 2013, Ms. Skates

    3         had disrespected you, right?

    4               MS. PANICO:    Objection to form.

    5         Q     Isn't that right?

    6         A     That's what you said.

    7         Q     And that you also did not issue pass or

    8         limit anyone's ability to park in the back,

    9         right, besides Ms. Skates.

   10               Isn't that right?

   11               MS. PANICO:    Objection to form.

   12         A     I don't understand.

   13         Q     Was there anyone else other than

   14         Ms. Skates that was prevented from parking in

   15         the back?

   16         A     Yes.   There are 22 full-time employees at

   17         the time.

   18         Q     How many of those employees were not

   19         allowed to park in the back?

   20         A     I would say -- I would say more than half

   21         of them didn't have access.      Some of them

   22         worked nights.     Some of them worked days.     So

   23         they would probably be more than five people.

   24         However, there wouldn't be five people there at

   25         the same time.
                                                                           246 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 246 of 296 PageID
                                     1974
    1                      V. Dinielli - 1/4/17

    2         Q     So prior to a decision being made that

    3         Ms. Skates could no longer park in the back --

    4         A     She never parked in the back.

    5         Q     It's your testimony here today that

    6         Ms. Skates, as a recreation center staff

    7         member, never parked in the back?

    8               MS. PANICO:    Objection.    Asked and

    9         answered.

   10         A     I'm not aware of any time that she had the

   11         ability to park in the back.       If she did, it

   12         was not to my knowledge.

   13         Q     Was Ms. Skates ever tasked with opening or

   14         closing the building?

   15         A     I don't believe so, no.      She never had

   16         keys to have -- for the facility.

   17         Q     Were you familiar -- during the time of

   18         2013, were you familiar with the agreement by

   19         and between the Village of Freeport and CSEA

   20         Local 1000 AFSCME?     Were you familiar with that

   21         agreement?

   22         A     The union for -- agreement, yes.

   23         Q     And what was the most current -- during

   24         that time, what would have been the most

   25         current agreement in play?
                                                                           247 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 247 of 296 PageID
                                     1975
    1                      V. Dinielli - 1/4/17

    2         A     I don't remember.

    3         Q     How frequent is the agreement changed?

    4         A     I think there's a contract -- I don't

    5         know.   I'm not sure.    It's not annually though.

    6         I'm not sure.    I don't want to say --

    7         Q     Well, do you remember --

    8         A     -- because I'm in the union.      So I don't

    9         really --

   10         Q     Was Ms. Skates in the union?

   11         A     I don't know.

   12         Q     Well, you said --

   13         A     I assume so.

   14         Q     You said you met with Ms. Skates and the

   15         union rep.

   16         A     I assume she was in the union although --

   17         I don't know.    That's a Human Resources issue.

   18         I don't know.

   19         Q     Well, why would you meet with

   20         Ms. Skates --

   21         A     She had union representation.      So I assume

   22         she was in the union.

   23         Q     Well, does the union usually represent

   24         people that are not a part of it?

   25         A     I believed everybody was in the union.
                                                                           248 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 248 of 296 PageID
                                     1976
    1                      V. Dinielli - 1/4/17

    2         But, again, I'm not quite sure about that.

    3         Q     Do you have any reason now to believe that

    4         Ms. Skates was not a part of the union?

    5         A     No.   That's -- I'm -- I don't have any

    6         reason to ask or need to know that information.

    7         Q     But at the very least, you knew the union

    8         agreement, right?

    9         A     I referred to the union agreement, yes.

   10         Q     The union agreement was provided to you to

   11         address a variety of different issues affecting

   12         a union member.

   13               Isn't that right?

   14         A     No.

   15         Q     So it's your testimony here today that the

   16         union agreement doesn't provide guidance with

   17         dealing with union-related issues?

   18         A     It is.   But that's not why I had it.      I

   19         had it because I asked for a copy for my own --

   20         anytime there was an issue, I sent people to

   21         Human Resources.

   22         Q     You testified earlier that you were

   23         familiar with the compensatory time, right?

   24               MS. PANICO:    Objection to form.

   25         Q     Did you not testify earlier that you were
                                                                           249 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 249 of 296 PageID
                                     1977
    1                      V. Dinielli - 1/4/17

    2         aware of comp time?

    3         A     What do you mean?

    4         Q     What comp time was and accumulated time.

    5         A     What comp time was, yes.

    6         Q     Where would you have found the definition

    7         for comp time?

    8         A     That would be in the union book.

    9         Q     You would rely on the union book for

   10         guidance on?

   11         A     If I was looking for information, yes.

   12         Q     You also testified that you were familiar

   13         with the sick leave policy.

   14         A     I don't remember saying.

   15         Q     Were you familiar -- are you familiar with

   16         the sick leave policy?

   17         A     As far as what?

   18         Q     As far as a leave request, leave sick

   19         time?

   20         A     Yes.   Yes.

   21         Q     Where would you have found that?       Where

   22         would you have obtained that knowledge?

   23         A     From Human Resources.

   24         Q     How about the union agreement?

   25         A     Union agreement.     How many days people are
                                                                           250 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 250 of 296 PageID
                                     1978
    1                      V. Dinielli - 1/4/17

    2         entitled to, when those days go into effect,

    3         yes.

    4         Q      So would you defer to the union agreement

    5         when you had a question pertaining to time that

    6         an employee would be entitled to?

    7         A      No.

    8         Q      Well, what else would you look at?      What

    9         other source?

   10         A      I had a girl that handled that for me and

   11         she would have the cards and she kept the cards

   12         and she would give me the information.        And

   13         she's been working there for many years and

   14         she's very familiar.

   15         Q      Is there any source or were there any

   16         source of policy that pertained to the sick

   17         leave, Freeport sick leave practice and policy

   18         or was it only contained in the union

   19         agreement?

   20         A      Well, the Village adhered to the union

   21         agreement.    Everybody was -- worked under the

   22         whatever the union agreement was for benefits,

   23         sick time, personal time, everybody was -- fell

   24         under that umbrella.

   25         Q      Did there ever come an instance where
                                                                           251 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 251 of 296 PageID
                                     1979
    1                      V. Dinielli - 1/4/17

    2         or -- withdrawn.

    3               So as far as your understanding of the

    4         union agreement is concerned and the sick leave

    5         portion, was there any limitations on your

    6         ability to take action against an employee out

    7         on sick leave during the time that they are out

    8         on sick leave?

    9               MS. PANICO:    Objection to form.

   10         A     I would have -- I don't know.

   11               MS. PANICO:    Do you understand the

   12         question?

   13               THE WITNESS:    I don't understand the

   14         question really.

   15    BY MR. HENRY:

   16         Q     How many consecutive days of sick leave is

   17         an employee entitled to before any action can

   18         be taken against that employee?

   19         A     I don't know.    If there was an issue, I

   20         would have called Human Resources.

   21         Q     Did you ever look at the union manual?

   22         A     I've looked at it, yes.

   23         Q     You testified earlier when I asked you

   24         pertaining to Ms. Skates when you threatened

   25         that she would be terminated for failure --
                                                                           252 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 252 of 296 PageID
                                     1980
    1                      V. Dinielli - 1/4/17

    2         A     I never threatened.

    3         Q     You testified earlier that Ms. Skates was

    4         given a certain day to return to work because

    5         she failed to notify or however you

    6         characterized it.

    7               Do you recall that?

    8         A     Uhm-uhm.

    9         Q     The testimony also indicated that

   10         Ms. Skates had been out for at least two

   11         consecutive days?

   12         A     Uhm-uhm.

   13         Q     But you had issued her a letter advising

   14         her that she would be terminated during those

   15         consecutive day periods --

   16               MS. PANICO:    Objection to form.

   17         Q     -- right?

   18         A     No.

   19               MS. PANICO:    Mischaracterization of

   20         testimony.

   21               MR. HENRY:    At this time I would like to

   22         mark for identification Plaintiff's 36.

   23               (Whereupon, the aforementioned document,

   24         was marked as Plaintiffs' Exhibit 36 for

   25         identification as of this date by the
                                                                           253 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 253 of 296 PageID
                                     1981
    1                      V. Dinielli - 1/4/17

    2         reporter.)

    3               MR. HENRY:    Marked for identification

    4         Plaintiff's Exhibit 36.

    5    BY MR. HENRY:

    6         Q     Just take a moment to take a look at the

    7         document.    I just want to make sure your lawyer

    8         has an opportunity to look at it.

    9               MS. PANICO:    He just wants to make a phone

   10         call.

   11    BY MR. HENRY:

   12         Q     Have you had an opportunity to take a look

   13         at that document?

   14         A     I've seen it before, yes.

   15         Q     Do you recognize that document?

   16         A     Yes, I do.

   17         Q     What do you recognize that document to be?

   18         A     This is the books of the Village of

   19         Freeport CSEA union agreement.

   20         Q     Now, drawing your attention to Page 15 of

   21         that document, do you see that?

   22         A     Yes.

   23         Q     Now, would you say that this section here,

   24         Section 19, where it says "sick leave," that

   25         that section accurately reflects the section
                                                                           254 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 254 of 296 PageID
                                     1982
    1                      V. Dinielli - 1/4/17

    2         that was in play --

    3         A     Yes.

    4         Q     -- during the time that --

    5         A     Yes.

    6         Q     -- Ms. Skates --

    7         A     Yes.

    8         Q     -- worked for Freeport?

    9         A     Yes.

   10         Q     One moment.

   11               Drawing your attention to the first page

   12         of that document there, where it says March 1,

   13         2004 to February 20, 2010, would this have been

   14         the same agreement?

   15         A     Yes.   The context would be the same.

   16         Q     But this is not the actual --

   17         A     I think it is.    I don't know that they

   18         came out with another one.

   19               Like I said, I don't -- I had a copy of my

   20         own in my office.     I don't have it anymore.

   21         Somebody took it and I'm not sure even where it

   22         went, so...

   23               MR. HENRY:    Ms. Panico, you produced this

   24         document to us.     Is this the latest -- would

   25         this have been the version that would be in
                                                                           255 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 255 of 296 PageID
                                     1983
    1                      V. Dinielli - 1/4/17

    2         place during the year 2013 when Ms. Skates was

    3         working there?

    4               MS. PANICO:    I would have to look back.      I

    5         believe that that is the one that was in play.

    6         There may have been separate memorandum of

    7         agreements that were also attached and annexed

    8         thereto which generally deal with increases in

    9         pay, et cetera.

   10               But, generally, what happens is after a

   11         CBA expires, the CBA remains in place with

   12         memorandums of agreement annexed thereto until

   13         a new CBA replaces it.      I'm not aware of a new

   14         CBA replacing this one.

   15    BY MR. HENRY:

   16         Q     So drawing your attention to where it says

   17         sick leave on Page 15, do you see that?

   18         A     Yes.

   19         Q     Would you say, now that we've had an

   20         opportunity to review this document, that this

   21         sick leave section would have accurately or

   22         closely reflected what was in play during the

   23         year of 2013?

   24         A     Yes.

   25         Q     Were you familiar with this policy?
                                                                           256 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 256 of 296 PageID
                                     1984
    1                      V. Dinielli - 1/4/17

    2         A     I was familiar with the policy but not

    3         really on the details.      Because, like I said,

    4         it really didn't come up that often.        I had an

    5         employee who handled this for me.       And if had I

    6         had questions, I called Human Resources.

    7         Q     So during the instances where you denied

    8         Ms. Skates sick leave requests, did you look at

    9         this manual at all?

   10         A     No, I didn't.

   11         Q     So you failed to look at a policy that

   12         provided you with direction as to whether or

   13         how to approve or deny sick leave?

   14         A     I called Human Resources and they directed

   15         me.

   16         Q     So is it your testimony here today that

   17         every time you denied Ms. Skates sick leave

   18         request you done so after you called Human

   19         Resources?

   20         A     Yes, I did.

   21         Q     And who did you call in Human Resources?

   22         A     Conor Kiran.

   23         Q     So not once did you review this policy

   24         whatsoever to ensure whether or not the

   25         direction that was given to you by Conor Kiran
                                                                           257 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 257 of 296 PageID
                                     1985
    1                      V. Dinielli - 1/4/17

    2         sometimes, which you disagreed, with whether or

    3         not that direction was accurate?

    4         A     Well, I didn't have to.      When I denied

    5         her, she had no time available.       So, therefore,

    6         I denied the time.     If I had a question as to

    7         my -- if my interpretation was correct, then I

    8         called Human Resources to find out what the

    9         correct interpretation was because I most

   10         certainly did not want to go against any union

   11         benefit.

   12         Q     Drawing your attention to Page 17 of that

   13         document where it says personal leave, do you

   14         see that section there?

   15         A     Yes, I do.

   16         Q     Would you say that this section also

   17         accurately reflects the section that was in

   18         place in the year of 2013?

   19         A     Yes.

   20         Q     Did you ever review the section here

   21         before you approved or denied any of

   22         Ms. Skates' personal leave requests?

   23         A     The only time I denied her personal -- her

   24         leave request was when she didn't have time

   25         available.
                                                                           258 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 258 of 296 PageID
                                     1986
    1                      V. Dinielli - 1/4/17

    2         Q     Did you review this document before you

    3         did so to verify whether or not you had the

    4         ability?

    5         A     Possibly.    But, like I said, I always

    6         checked with Human Resources to make sure that

    7         my interpretation was correct.

    8         Q     Drawing your attention to Subpart B of

    9         Section 21, do you see that?

   10         A     Yes.

   11         Q     Drawing your attention to where it begins

   12         with "In the event," do you see that?        It's the

   13         second sentence.     Do you see that?

   14         A     On B?

   15         Q     Yes.

   16         A     That's the third sentence, the third line.

   17         All right, "in the event," right?

   18         Q     Do you see that?

   19         A     Yep.

   20         Q     Can you go ahead and read until you get to

   21         a period?

   22         A     "In the event of an emergency, an employee

   23         may be permitted to take a personal day without

   24         the requisite two business day notice provided

   25         the employee calls in to the supervisor or
                                                                           259 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 259 of 296 PageID
                                     1987
    1                      V. Dinielli - 1/4/17

    2         manager and requests the day prior to the start

    3         of the employee scheduled work day and provided

    4         the employee provides written proof upon return

    5         to work and within 24 hours of the personal day

    6         satisfactory to the department head and the

    7         said emergency."

    8         Q     In the year 2013, you were Ms. Skates

    9         supervisor or manager, right?

   10         A     Yes, I was.

   11         Q     You testified that there was a time that

   12         she didn't come to work because of an

   13         emergency, in fact, the hospitalization that

   14         she called you, right?

   15         A     No.   I never said that.

   16         Q     You learned that she was in the hospital,

   17         right?

   18         A     After she didn't come to work for two

   19         weeks.

   20         Q     Well, there was at least two days that had

   21         passed that you had learned that Ms. Skates was

   22         in the hospital; isn't that right?

   23         A     I don't recall knowing that.      Maybe I did.

   24         Maybe I didn't.

   25         Q     But doesn't it state here in the policy
                                                                           260 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 260 of 296 PageID
                                     1988
    1                      V. Dinielli - 1/4/17

    2         that in the event of an emergency an employee

    3         may be --

    4         A     She always got paid for days -- when those

    5         days -- when she had time available.        I never

    6         denied time available when she had time

    7         accrued.

    8         Q     But it says here that in the event of an

    9         emergency, she's permitted to take that day.

   10         A     If she has it available.      If it's accrued.

   11         If there's no time accrued, then she cannot

   12         take the time.

   13         Q     Where does it say here, Ms. Dinielli, that

   14         there's a requirement for time accrued?

   15         A     That's probably why I called Human

   16         Resources.    It's a matter of interpretation.

   17         Q     But it doesn't say here the accrued time,

   18         right?

   19         A     That's probably why I called Human

   20         Resources.

   21         Q     But the fact --

   22         A     Because she had no time and what am I to

   23         do.   How will the Village pay her.      That is

   24         what I did.

   25         Q     Well, how about read the agreement and see
                                                                           261 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 261 of 296 PageID
                                     1989
    1                      V. Dinielli - 1/4/17

    2         what it says?

    3         A     It's a very it -- doesn't say like you

    4         said what you're supposed to do if somebody

    5         doesn't have time available.

    6         Q     Well, do you disagree with the people that

    7         drafted this agreement?      Do you disagree with

    8         it?   Is this one of those things that you

    9         disagree with?

   10               MS. PANICO:    Objection to form.

   11         A     I don't agree or disagree.      If I don't

   12         understand it, I call for verification.

   13         Q     But the agreement, as it stands in front

   14         of you, doesn't say anything about accrued

   15         time, does it?

   16               MS. PANICO:    Objection to form.

   17         A     She called most mornings in the morning

   18         and she was never denied because she called

   19         late.

   20         Q     Can you answer my question, please?

   21               Is there anything in Subpart B of

   22         Section 21 under personal leave that mentions

   23         anything about accrued time?

   24               MS. PANICO:    Objection to form.     You're

   25         asking her for legal conclusions.
                                                                           262 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 262 of 296 PageID
                                     1990
    1                      V. Dinielli - 1/4/17

    2         Q     Does it say anything about accrued time in

    3         here, Ms. Dinielli?

    4         A     No.    It doesn't say that you could take

    5         time off if you don't have it available either.

    6         There's a page in here that says what you're

    7         entitled to.

    8               Don't roll your eyes at me.

    9               There's a page in here that says what

   10         time -- how do you accrue time also.        And if

   11         you don't have the time accrued, therefore you

   12         can't take it.

   13         Q     Ms. Dinielli, it says here in the event of

   14         an emergency, an employee may be permitted to

   15         take a personal day without the requisite two

   16         days business notice.

   17               Do you see that?

   18         A     Yes.

   19         Q     Provided that the employee calls the

   20         supervisor and request the day prior to the

   21         start.

   22         A     But if you don't have a personal day, you

   23         can't take that.

   24         Q     Well, where does it say here anything

   25         about a requirement for a personal day or a
                                                                           263 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 263 of 296 PageID
                                     1991
    1                      V. Dinielli - 1/4/17

    2         requirement for accrual?

    3         A     It says you can take a personal day.       You

    4         have to have it in order to take it.        Such as a

    5         vacation day.    You can't take a vacation day if

    6         you don't have a vacation day.

    7         Q     It doesn't say that here, does it?

    8         A     Well, that's interpretation.      I interpret

    9         it as to mean you need to have it.       You can't

   10         use something you don't have.

   11         Q     But it doesn't say that here in the

   12         policy, right?

   13         A     To me that's common sense, but...

   14         Q     Well --

   15         A     That's interpretation.     That's why I would

   16         call to make sure that the way I interpret

   17         something is right.     And the way I interpreted

   18         it was right according to Human Resources.

   19         Q     What's the purpose of an agreement if

   20         you're left to your interpretation,

   21         Ms. Dinielli?

   22               MS. PANICO:    Objection to form.

   23         Q     Isn't the purpose of an agreement so that

   24         people are not left to their interpretation?

   25         A     There's always reading into something.
                                                                           264 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 264 of 296 PageID
                                     1992
    1                      V. Dinielli - 1/4/17

    2         Q     Well, here it's pretty clear-cut to me.

    3         A     It's pretty clear-cut to me.      You can't

    4         take a personal day if you don't have a

    5         personal day.

    6               MS. PANICO:    Please.

    7         Q     But it doesn't say that there, does it?

    8               MS. PANICO:    Asked and answered.

    9         Objection.

   10         Q     Drawing your attention to Page 26, do you

   11         see that where it begins Section 34,

   12         disciplinary procedures?

   13         A     Yes.

   14         Q     Would you say that this section here

   15         accurately reflects the section that was in

   16         play during the year of 2013?

   17         A     I would think this does.      To be totally

   18         honest, I haven't read it.

   19         Q     Drawing your attention to Subpart H, do

   20         you see that, where it begins "no penalty"?

   21         A     Uhm-uhm.

   22         Q     Can you go ahead and read what it says

   23         here?

   24         A     "No penalty or punishment beyond a

   25         reprimand or warning may be imposed unless the
                                                                           265 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 265 of 296 PageID
                                     1993
    1                      V. Dinielli - 1/4/17

    2         employee has been given a reasonable

    3         opportunity to a union representative present

    4         at the time any such penalty or punishment is

    5         imposed.      It is the employee's responsibility

    6         to have his or her union representative be

    7         available within a two-hour minimum period."

    8         Q      Would you say that that after reading it

    9         is an accurate summarization of the

   10         disciplinary procedure?

   11         A      Yes.

   12         Q      Drawing your attention to Plaintiff's

   13         Exhibit 5 which was provided to you previously,

   14         let me know once you have that document there

   15         in front of you.

   16                Do you see that document there in front of

   17         you?

   18         A      Yes, I do.

   19         Q      Do you see where it says that as you know,

   20         your employment was terminated effective 10/22.

   21         Included in the charges and specifications

   22         against you where charges were based upon

   23         offensive racial slurs.

   24                Do you see that?

   25         A      Uhm-uhm.
                                                                           266 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 266 of 296 PageID
                                     1994
    1                      V. Dinielli - 1/4/17

    2         Q     Drawing your attention to Subpart H of the

    3         disciplinary procedures, does it not say here

    4         that no penalty or punishment beyond a

    5         reprimand or warning should be imposed unless

    6         the employee has been give a reasonable

    7         opportunity to have a union rep present at the

    8         time that the penalty is imposed it.

    9               Do you see that?

   10         A     Yes.

   11         Q     So at what point in time was Ms. Skates

   12         given a reasonable opportunity to have a union

   13         representative present before she was

   14         terminated when she was terminated on a day

   15         that she wasn't even at work?

   16               MS. PANICO:    Objection to form.

   17         A     We always -- she always had a union

   18         representative with her.

   19         Q     You testified previously that the last day

   20         you saw Ms. Skates was the last day that she

   21         worked was October 21st, right?

   22         A     Uhm-uhm.

   23         Q     She was terminated, based upon this

   24         letter, the day after, right?

   25         A     No.    She was terminated on 10/22 and I
                                                                           267 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 267 of 296 PageID
                                     1995
    1                      V. Dinielli - 1/4/17

    2         believe a union representative was present.

    3         Q     You just testified that the last day you

    4         saw Ms. Skates at the facility was on

    5         October 21st.

    6         A     No, I did not.    I did not.    That was the

    7         22nd.   The 21st was the day I saw her leave the

    8         facility when she claimed she was injured.

    9               So don't roll your eyes at me when you're

   10         not right yourself.

   11         Q     You testified -- did you see Ms. Skates on

   12         the 22nd?

   13         A     Yes, I did.

   14         Q     When did you see Ms. Skates on the 22nd?

   15         A     She called me and said she was coming in

   16         to fill out an incident report.       She called out

   17         sick in the morning.     I did not speak to her.

   18         Then she came in.

   19               She didn't call me.     I take that back.

   20               She called in the morning.      She called out

   21         sick.   She was having -- she was having -- she

   22         was in the hospital.     Then on her way home, she

   23         came to the rec center to fill out an incident

   24         report.    That is when I saw her.

   25         Q     So Ms. Skates was not in on the 22nd.
                                                                           268 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 268 of 296 PageID
                                     1996
    1                      V. Dinielli - 1/4/17

    2         Only came in to fill out a sick form, right?

    3         A     Correct.

    4         Q     Okay.

    5               So I was correct when I said the last day

    6         you saw Ms. Skates work was the day that you

    7         saw her leave which was on October 21st?

    8         A     Last day I saw that she worked.       The next

    9         day she came in, but I did see her.

   10         Q     Now, it states here that effective

   11         October 22nd, right?     That would have been the

   12         last day you saw Ms. Skates work, right?

   13               MS. PANICO:    Objection.

   14         A     Uhm-uhm.

   15         Q     Is that a yes?

   16         A     That's the last day I saw her in the

   17         workplace.

   18         Q     That's a yes?

   19         A     In the workplace, right.

   20         Q     At what point in time -- from the last day

   21         you saw Ms. Skates in the workplace on

   22         October 21st --

   23         A     22nd.

   24         Q     Well, you said the last day -- withdrawn.

   25               The last day you saw Ms. Skates work was
                                                                           269 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 269 of 296 PageID
                                     1997
    1                      V. Dinielli - 1/4/17

    2         October 21st.

    3         A      I saw her punch out, yes.

    4         Q      So the last time you saw Ms. Skates punch

    5         out was on October 21st.

    6         A      Correct.

    7         Q      So when between October 21st, the last day

    8         you saw her punch out to the next day that she

    9         was terminated October 22nd, did Ms. Skates

   10         have an opportunity to have -- a reasonable

   11         opportunity to have her union representative

   12         present before she was terminated?

   13         A      Human Resources called them and notified

   14         them.

   15         Q      Does it say in here in Subpart H that

   16         Human Resources can take the place of a union

   17         rep?    Can you show me where it says that in

   18         Subpart H?

   19                MS. PANICO:   Objection.

   20         Mischaracterization of testimony.

   21         A      I didn't say --

   22         Q      Can you show me anywhere in Subpart H

   23         where Human Resources is even mentioned.        Can

   24         you take a look at it?

   25         A      I don't need to take a look at it.      I
                                                                           270 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 270 of 296 PageID
                                     1998
    1                      V. Dinielli - 1/4/17

    2         don't know that it says or it doesn't say.

    3               Human Resources is who -- I am management.

    4         I work with Human Resources.       I don't work with

    5         the union.    The union won't even speak to me.

    6         Q     But with respect to Subpart H where it

    7         says no penalty or punishment beyond reprimand

    8         or warning may be imposed, there's nothing in

    9         here that indicates a requirement for clearance

   10         or approval through Human Resources, right?

   11         A     Human Resources is the one that deals with

   12         the employees.

   13         Q     Show me here where it says that Human

   14         Resources is even a part of this discussion in

   15         Subpart H.

   16         A     Human Resources is the one that terminated

   17         here.

   18         Q     My question, Ms. Dinielli --

   19         A     Human Resources terminated her.       I did not

   20         terminate her.

   21         Q     My question, Ms. Dinielli, is where in in

   22         Subpart H do you see the word Human Resources?

   23         A     Where does it say anybody?      Where does it

   24         say who to -- who terminated her.       Human

   25         Resources, the members of Human Resources and
                                                                           271 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 271 of 296 PageID
                                     1999
    1                      V. Dinielli - 1/4/17

    2         legal counsel terminated her.

    3         Q     You testified earlier that you learned

    4         that there were charges and specifications made

    5         against Ms. Skates for offensive racial slurs

    6         that she had made to Ms. Vicky Grotton and

    7         Anique Adams.

    8               You testified to that, right?

    9               MS. PANICO:    Objection to form.

   10         A     Yes.

   11         Q     Drawing your attention to Subpart M of

   12         Page 27, do you see that?

   13               Go ahead and read that to me, please,

   14         Subpart M.

   15         A     "Notice of Discipline and Charges.       An

   16         employee who is entitled to the protection of

   17         this section shall within 20 days of the

   18         imposition of a penalty be served with a

   19         written notice of the discipline and charges of

   20         incompetence and/or misconduct either in person

   21         or by certified mail, return receipt requested

   22         to his or her current address as it appears on

   23         the Village personnel records.       If the employee

   24         wishes to contest said" --

   25         Q     Okay.
                                                                           272 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 272 of 296 PageID
                                     2000
    1                      V. Dinielli - 1/4/17

    2               MS. PANICO:    Can she finish?

    3         A     -- "employee must proceed in accordance

    4         with disciplinary review procedure set forth in

    5         this section.    A copy of notice and charges

    6         shall simultaneously be served upon the union."

    7         Q     How is it possible that Ms. Skates would

    8         have been served with such notice called for

    9         under Section 21 Subpart M in less than a day

   10         after the decision to terminate her?        How is

   11         that possible?

   12         A     I don't know.    You would have to check

   13         with Human Resources.      I don't know.

   14         Q     Now that you read the policy, would you

   15         say that that -- the termination process

   16         followed this agreement?

   17         A     I don't know what went on in that office,

   18         so I'm not going to say anything.

   19         Q     But you can read, right?

   20         A     I could read, but I don't know what steps,

   21         what actions they took.

   22         Q     Based upon --

   23         A     I'm not going to speak for a department

   24         that I don't work in.

   25         Q     Well, you were her supervisor, right?
                                                                           273 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 273 of 296 PageID
                                     2001
    1                      V. Dinielli - 1/4/17

    2         A     Uhm-uhm.

    3         Q     And you were cc'd in the letter dated

    4         October 23rd, right?

    5         A     Yes.

    6         Q     You were the one that received the

    7         complaints from Vicky Grotton and Anique Adams

    8         about the racial slurs, right?

    9         A     Uhm-uhm.

   10         Q     So why is it that you have no idea about

   11         whether or not the policy was followed with

   12         respect to the notice of discipline and

   13         charges?

   14               MS. PANICO:    Objection.

   15               You're asking for a legal interpretation

   16         in an area she already indicated she's not

   17         familiar with.

   18               I'm asking you to please move on.

   19         Q     You may answer.

   20         A     When the complaints were made, I told them

   21         that they had to follow Village protocol and go

   22         to Human Resources or call their union

   23         representative.

   24         Q     Well, why would you tell them to follow

   25         Village protocol when you don't follow it
                                                                           274 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 274 of 296 PageID
                                     2002
    1                      V. Dinielli - 1/4/17

    2         yourself?

    3               MS. PANICO:    Objection to form.

    4         A     I believe I follow it.

    5         Q     Was Ms. Skates afforded the protection of

    6         this section as set forth here?

    7               MS. PANICO:    Objection.

    8         A     She always had union representation.

    9         Q     Was she given 21 days at the imposition of

   10         a penalty to be served with that?

   11         A     I do not know.

   12               MR. HENRY:    I think we have about an hour

   13         and probably -- about an hour maybe 30 minutes

   14         left.   So would you be willing to stipulate to

   15         the production of this witness and also to

   16         provide us with the dates for the other

   17         witnesses by January 6th, Ms. Panico?

   18               MS. PANICO:    In regards to the present

   19         witness that's being deposed, I will agree if

   20         Mr. Henry doesn't want to complete her

   21         deposition today, which Ms. Dinielli has

   22         indicated that she is, in fact, available to

   23         continue the deposition today.       And I have also

   24         indicated that I am available to complete the

   25         deposition today.     But, nevertheless, if
                                                                           275 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 275 of 296 PageID
                                     2003
    1                      V. Dinielli - 1/4/17

    2         Mr. Henry does not want to complete the

    3         deposition today, I will make Ms. Dinielli

    4         available for another hour and a half on a

    5         separate date.

    6               In regards to the witnesses that Mr. Henry

    7         is referring to, we will have to deal with that

    8         off the record in a separate stipulation.        I'm

    9         not going to deal with that during

   10         Ms. Dinielli's deposition.      I don't believe

   11         that that's the appropriate way to handle those

   12         depositions.

   13               MR. HENRY:    I disagree with your

   14         characterization.     For one, it's not that I'm

   15         not able to continue.      The time now is 7:36.

   16         We've spent a considerable amount of time.         I

   17         made an accommodation for you to start at

   18         12:30.   You showed up 30 minutes later or

   19         actually a little bit more than 30 minutes

   20         later.   And I've made that accommodation

   21         because of representations you made to me in

   22         terms of your scheduling.

   23               With that said, I'm -- there certain

   24         documents that we requested that are subject to

   25         our ongoing issues.     For instance, there was
                                                                           276 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 276 of 296 PageID
                                     2004
    1                      V. Dinielli - 1/4/17

    2         some policy paperwork that I requested

    3         pertaining to FMLA policies.       This witness here

    4         testified that there was some notes in her file

    5         that she reviewed separate and apart from

    6         Ms. Skates' file.     We requested those documents

    7         pursuant to the rule which I cited on the

    8         record earlier.     There are a number of

    9         documents that will be forthcoming based upon

   10         the testimony that this witness has provided

   11         today.   Some of those requests, as I indicated,

   12         earlier were made months ago and I never got

   13         them.

   14               So what I'm saying is is that if you're

   15         agreeing to stipulate, it's not because I'm not

   16         prepared to go forward, it's just that it will

   17         save the time of me making an application to

   18         the Court because of your failure to turn over

   19         documents that you could have turned over

   20         months ago.

   21               Based upon this witness' testimony

   22         earlier, she didn't indicate at all that you

   23         even requested any documents or notes from her.

   24         I couldn't even test her knowledge on what

   25         documents were requested of her or did she
                                                                           277 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 277 of 296 PageID
                                     2005
    1                      V. Dinielli - 1/4/17

    2         review because you raised the issue of

    3         attorney-client privilege.

    4               So to that end --

    5               MS. PANICO:    I would like to correct the

    6         record.

    7               First of all, Ms. Dinielli did indicate

    8         that she turned over her files to counsel.

    9               MR. HENRY:    Not you.

   10               MS. PANICO:    I indicated on the record

   11         that I have, in fact, produced Ms. Dinielli's

   12         file.

   13               MR. HENRY:    That you may have.

   14               MS. PANICO:    I indicated on the record

   15         that we produced -- not that I may have.        I

   16         know for absolute certainty that I did.        I also

   17         indicated for absolute certainty that we

   18         produced a copy of the Village's FMLA policy.

   19         So if Mr. Henry --

   20               MR. HENRY:    Again, I don't have that

   21         policy.    Again, I asked for the Bates number.

   22         You were able to look in your phone and find

   23         e-mails dated --

   24               MS. PANICO:    I have access to my e-mail on

   25         my phone.    I don't have access to my case files
                                                                           278 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 278 of 296 PageID
                                     2006
    1                      V. Dinielli - 1/4/17

    2         on my phone.

    3               MR. HENRY:    You're stipulating that you're

    4         going to produce this witness again.

    5               Now, I don't want to have an

    6         off-the-record discussion about the other

    7         witnesses.    As you know, we've noticed these

    8         witnesses months ago.      Whether you want to

    9         believe -- whether we agree to disagree on when

   10         you could actually confirm Ms. Dinielli's

   11         deposition, the earliest of that confirmation

   12         based upon your numbers would have been

   13         December 30th, which was four days ago and

   14         factoring the weekend and New Year's Day that

   15         actually is only one business day ago.

   16               That was what you stated on the record

   17         when you read your phone and showed when you

   18         believed you confirmed it.      And at the latest

   19         in that spectrum, I requested a confirmation

   20         yesterday after 4:00 which you confirmed at

   21         6:03.

   22               MS. PANICO:    I confirmed it on

   23         December 30th, the same exact day that you

   24         asked me whether or not we could proceed on

   25         January 4th.
                                                                           279 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 279 of 296 PageID
                                     2007
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    I asked because you were

    3         giving me dates outside of discovery and I

    4         demanded that we get a date while within the

    5         period of discovery and the e-mails will

    6         reflect that you were going to get me at least

    7         one witness as you testified and the rest

    8         afterwards.

    9               So, again, I'm not going to go back and

   10         forth with you, especially with someone who

   11         called me a prick in front of a whole

   12         conference room.     What I'm saying is is that we

   13         need some finality on these other witnesses.

   14               Right now I have an associate in my office

   15         that's in the process of preparing a motion to

   16         compel.    I believe we've exhausted our good

   17         faith efforts numerous times.       And my intention

   18         was not to file this motion to compel because I

   19         wanted to work with you.

   20               My question to you is:     Can you provide to

   21         me by January 6th dates for the witnesses that

   22         were noticed months ago?

   23               To that end, I know that you have some

   24         issues with documents and productions.        And,

   25         again, I have every document here that was
                                                                           280 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 280 of 296 PageID
                                     2008
    1                      V. Dinielli - 1/4/17

    2         produced to you.     I could print them out, give

    3         them to you again.

    4               You gave me a whole list of issues that

    5         you had with our production and I gave you

    6         issues that I had with our production.        I

    7         remember in a conference call with the Court it

    8         was clear that the source -- best source of

    9         information would have been a deposition for

   10         the majority of the questions you had.        And I

   11         had agreed to supplement our response, which I

   12         believe was sent to you.      But one thing has

   13         nothing to do with the other.

   14               We noticed witnesses to be deposed.

   15         Discovery closes in two days.       You promised

   16         that you would produce those witnesses.        And

   17         now it seems that you've made an about-face in

   18         doing so and that promise to do so and I wanted

   19         to get some finality.

   20               MS. PANICO:    What I would like to indicate

   21         on record is that Mr. Henry was supposed to

   22         produce HIPAA authorizations back in June of

   23         this past year.     To date, we are still looking

   24         like for a HIPAA authorization for the physical

   25         therapist that plaintiff saw related to wrist
                                                                           281 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 281 of 296 PageID
                                     2009
    1                      V. Dinielli - 1/4/17

    2         injury.    Complaint indicates that the plaintiff

    3         saw physical therapist in Paragraph 81 of the

    4         complaint.    We've requested this numerous

    5         times.    We still have not received it.

    6               In addition, the plaintiff was served with

    7         discovery demands after months and multiple

    8         telephone calls with the Court in which we

    9         requested a motion to compel.       We requested

   10         permission to file a motion to compel regarding

   11         the plaintiffs failure to produce responses to

   12         our document demands.

   13               After multiple telephone calls with the

   14         Court, Mr. Henry agreed that he would, in fact,

   15         produce responses to our document demands.

   16         However, rather than providing a good faith

   17         response to our document demands, he simply

   18         objected to every single demand and indicated

   19         that he was objecting and that investigation

   20         was ongoing with regards to our demands.

   21               It is our position that this is wholly

   22         improper and that Mr. Henry should be required

   23         to indicate whether or not he is objecting to

   24         the demand, whether or not the documents cannot

   25         be located.    Essentially a definitive answer as
                                                                           282 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 282 of 296 PageID
                                     2010
    1                      V. Dinielli - 1/4/17

    2         to whether or not these documents even exist.

    3         We have no basis to believe that these

    4         documents are not in existence at this point.

    5               At this point, it seems that Mr. Henry is

    6         simply refusing to produce them.       Although off

    7         the record he has indicated that they don't

    8         exist, I need something in writing from

    9         Mr. Henry indicating with respect to each of

   10         our demands whether or not the documents that

   11         we've requested exist or not.

   12               MR. HENRY:    They don't exist, on the

   13         record.    And I told you this before, I told you

   14         this in the presence of the Court's clerk,

   15         whatever we haven't turned over to you does not

   16         exist.

   17               Also, let the record reflect that

   18         Ms. Panico is merely reading from an e-mail

   19         that she sent dated in or around December -- I

   20         believe we have several e-mails here on the

   21         same point, but it seems as though the earliest

   22         of those was December 21st where in sum and

   23         substance she wrote --

   24               MS. PANICO:    Mr. Henry, can you please

   25         allow me --
                                                                           283 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 283 of 296 PageID
                                     2011
    1                      V. Dinielli - 1/4/17

    2               MR. HENRY:    I just want it clear on record

    3         that the e-mail you're reading from is one

    4         dated December 21st.

    5               MS. PANICO:    Okay.

    6               MR. HENRY:    And that's what I have here.

    7         And that e-mail, again, predates the time that

    8         we made our production to Ms. Panico of the

    9         items that she is contending that she did not

   10         receive.

   11               In fact, Ms. Panico sent us an e-mail

   12         thereafter, I'll give you the exact date, where

   13         she actually --

   14               MS. PANICO:    Mr. Henry, please allow me to

   15         go --

   16               MR. HENRY:    I'm not going to have you

   17         lying.

   18               MS. PANICO:    I'm not lying.

   19               MR. HENRY:    Yeah, you are.    Because I'm

   20         reading exactly from the e-mail that you

   21         sent --

   22               MS. PANICO:    Mr. Henry, please.

   23               MR. HENRY:    -- and where you acknowledge

   24         receipt.    I'm reading it right here.

   25               MS. PANICO:    Time and time again I've
                                                                           284 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 284 of 296 PageID
                                     2012
    1                      V. Dinielli - 1/4/17

    2         demonstrated to you that what you consider to

    3         be my lies are not actually lies but are

    4         actually truth.     I've shown you e-mail after

    5         e-mail indicating that you contend are me lying

    6         and making misrepresentations are not

    7         misrepresentations.

    8               MR. HENRY:    You called me a prick off the

    9         record, right?

   10               MS. PANICO:    Mr. Henry, please.

   11               MR. HENRY:    Is that a yes or no?

   12               MS. PANICO:    Like I said, I'm not your

   13         witness.    I'm not the one on trial here.      Can

   14         you please refrain from harassing me?

   15               MR. HENRY:    I'm not harassing you.

   16               MS. PANICO:    In addition to what I set

   17         forth already regarding the HIPAA

   18         authorizations and plaintiff's failure to

   19         response to discovery document demands --

   20               MR. HENRY:    Disagree.

   21               MS. PANICO:    -- we also requested that the

   22         plaintiff -- within those documents demands to

   23         produce phone records.      There's simply no

   24         reason why Ms. Skates can't produce phone

   25         records or at least authorizations for the
                                                                           285 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 285 of 296 PageID
                                     2013
    1                       E. Skates - 1/4/17

    2         defendant to obtain her phone records from the

    3         phone in which she alleges that she called in

    4         sick to work.

    5               MR. HENRY:    One moment, please.

    6               May I please have the plaintiff,

    7         Ms. Skates, sworn in.

    8    E A R L I N E     S K A T E S, called as a witness,

    9         having been first duly sworn by a Notary Public

   10         of the State of New York, was examined and

   11         testified as follows:

   12    EXAMINATION BY

   13    MR. HENRY:

   14         Q     Ms. Skates, how many times have I asked

   15         for you to produce to me all the documents that

   16         you have?

   17         A     Maybe twice.

   18         Q     Did you produce to me all the documents

   19         that you had?

   20         A     I provided everything except out-of-pocket

   21         monies.    That I -- my medications.

   22         Q     Did I not provide you with a copy of the

   23         requests that Freeport sent me for you to?

   24         A     Yes.

   25         Q     Did you not type the responses --
                                                                           286 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 286 of 296 PageID
                                     2014
    1                       E. Skates - 1/4/17

    2         A     Yes.

    3         Q     -- to each and every question?

    4         A     Yes.

    5         Q     Did you not respond truthfully and verify

    6         those?

    7         A     Yes.

    8         Q     How many times did I have you come in and

    9         notarize and sign a verification form to the

   10         responses that you gave, that they were true?

   11         A     Twice.

   12         Q     As you're standing here today, are there

   13         any documents that you have that I don't have?

   14         A     No.

   15         Q     As you're standing here today, are there

   16         any phone records that you have that I don't

   17         have?

   18         A     I don't think so.

   19         Q     Have you searched and looked as far and

   20         high and low as you could to give me everything

   21         that I've asked you for?

   22         A     Yes.

   23         Q     How many times have I called you here in

   24         the middle of the night or in the middle of the

   25         afternoon to make sure and reverify and double
                                                                           287 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 287 of 296 PageID
                                     2015
    1                          Proceedings

    2         verify that what you wrote and gave me was

    3         everything that was the case?

    4         A     At least five times.

    5               MR. HENRY:    Let the record reflect that I

    6         just asked Ms. Skates questions on the record

    7         pertaining to documents that she may or may not

    8         have had that counsel believes that I'm somehow

    9         holding on to.     Ms. Skates has testified under

   10         oath, under oath right on the spot, that there

   11         is no such documents.

   12               MS. PANICO:    What I'm asking for are

   13         proper responses to my discovery demands.

   14               MR. HENRY:    Now you have the testimony of

   15         Ms. Skates on the record that you can certainly

   16         ask her on Friday or what date it is for her

   17         deposition, on the 6th, you can follow up.         You

   18         now have sworn testimony from her that there's

   19         nothing else.

   20               MS. PANICO:    If you want me to go through

   21         each one of my discovery demands with

   22         Ms. Skates right now, then I'm happy to do

   23         that.

   24               MR. HENRY:    Ms. Skates just testified that

   25         there's nothing else further that she has.
                                                                           288 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 288 of 296 PageID
                                     2016
    1                          Proceedings

    2               MS. PANICO:    But you're not asking her

    3         pointed questions.

    4               MR. HENRY:    You can do so on Friday.

    5               MS. PANICO:    I'm not going to waste my

    6         time compelling responses to discovery demands

    7         that should have been responded to several

    8         months ago.

    9               MR. HENRY:    The record will speak for

   10         itself.

   11               I'm done here.

   12               MS. PANICO:    Again, the last thing that

   13         we're still looking for are copies of the

   14         plaintiff's phone records or at least an

   15         authorization to obtain phone records from the

   16         telephones of Ms. Skates allegedly called to

   17         the Village to let them know that she's going

   18         to be out for the day.

   19               We are willing to produce the individuals

   20         who the plaintiff noticed for deposition

   21         contingent upon our receipt of these three

   22         outstanding items.     To date, Mr. Henry and the

   23         plaintiff have not produced any responses to

   24         our discovery demands.

   25               With respect to the interrogatories,
                                                                           289 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 289 of 296 PageID
                                     2017
    1                          Proceedings

    2         nearly every single interrogatory was objected

    3         to.

    4               With respect to our document demands, as

    5         I've indicated already, every single demand was

    6         objected to with an indication that there was

    7         simply an ongoing investigation.

    8               There's still HIPAA authorizations that's

    9         outstanding since the booking of June.        And

   10         because of fact that Mr. Henry did not produce

   11         the HIPAA authorizations until about a week or

   12         two weeks ago, there's no way that we'll have

   13         Ms. Skates' medical records by the time of her

   14         deposition which obviously prejudices the

   15         defendant.

   16               So because of the fact that Mr. Henry and

   17         the plaintiff have been so delinquent in there

   18         responses to our discovery demands, we simply

   19         cannot, without prejudicing ourselves, produce

   20         five more witnesses for Mr. Henry and the

   21         plaintiff where we're still requesting and

   22         looking for simple responses to our document

   23         demands.

   24               MR. HENRY:    Ms. Panico, have you ever sent

   25         me a deficiency letter?
                                                                           290 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 290 of 296 PageID
                                     2018
    1                          Proceedings

    2               MS. PANICO:    Yes.   I sent you an e-mail

    3         indicating --

    4               MR. HENRY:    Have you ever sent me a

    5         deficiency letter prior to December 21st of

    6         2016?

    7               MS. PANICO:    I have sent you probably --

    8         I'm not the one you're deposing.       In case you

    9         forgot I'm your adversary.      I'm opposing

   10         counsel.    So don't speak to me like I'm the

   11         witness here.

   12               (Counsel speaking simultaneously.)

   13               MR. HENRY:    Let the record reflect that

   14         Ms. Panico is yelling at me.

   15               MS. PANICO:    That's number one.

   16               Number two, yes I have sent you multiple

   17         correspondences since June.

   18               MR. HENRY:    We're finished here.     We're

   19         going to adjourn and the second part, as

   20         counsel stated, and we are going to be

   21         proceeding with our motion.      And there you have

   22         it.

   23               So do you have a date in mind now that we

   24         can select?

   25               THE WITNESS:    I don't know when --
                                                                           291 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 291 of 296 PageID
                                     2019
    1                          Proceedings

    2               MS. PANICO:    I'll speak to Ms. Dinielli

    3         after we leave.

    4               MR. HENRY:    All right.   Thank you.

    5               Let the record reflect now that the time

    6         is 7:49 and that we believe we have at least an

    7         hour and a half remaining.

    8               And counsel is being served with a notice

    9         to depose for -- dated for tomorrow for

   10         Ms. Dinielli.    And subject to her providing me

   11         with a new date, I would expect to see her

   12         tomorrow.

   13               MS. PANICO:    Mr. Henry is currently being

   14         so served with a Notice of Deposition for

   15         Ms. Skates for this upcoming Friday, January 6

   16         at 10 o'clock a.m.     This was a second Notice of

   17         Deposition.    Mr. Henry is unnecessarily

   18         requiring me to jump through hoops.        Generally,

   19         I have relationships with my adversary whereby

   20         we can consent to production of witnesses.         But

   21         Mr. Henry is now requiring me to produce a

   22         second Notice of Deposition.

   23    BY MR. HENRY:

   24         Q     Ms. Skates, as you've already been sworn

   25         in, did you not indicate to me, on
                                                                           292 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 292 of 296 PageID
                                     2020
    1                          Proceedings

    2         January 6th that you were previously scheduled

    3         for jury duty?

    4         A     Yes.

    5         Q     Did you not request from me something in

    6         writing indicating when -- the date of that

    7         deposition so you can produce if asked for?

    8         A     Yes.

    9               MR. HENRY:    Let the record reflect that I

   10         requested from Ms. Panico on at least two

   11         occasions prior to today this very same Notice

   12         of Deposition as she gave to me now because

   13         Ms. Skates needed it because of the impending

   14         jury duty that she has so that she wouldn't be

   15         running into any issues with it.       And that's

   16         the reason why I asked.      Not because I wanted

   17         her to jump through loops but because

   18         Ms. Skates needed to ensure that her civic duty

   19         of jury duty -- she wasn't in violation.

   20         That's why I asked for this.

   21               MS. PANICO:    Let record reflect that

   22         Mr. Henry never informed me that Ms. Skates had

   23         jury duty on January 6th.

   24               MR. HENRY:    Why would I have to?     I just

   25         asked for a notice, an updated notice with the
                                                                           293 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 293 of 296 PageID
                                     2021
    1                          Proceedings

    2         dates because Ms. Skates needed it for personal

    3         reasons.

    4               MS. PANICO:    And, like I said, that's

    5         generally -- that is not the way that is

    6         generally professionally done.

    7               MR. HENRY:    E-mail says she needed it for

    8         personal reasons, I believe.       What more do you

    9         want me to say?

   10               (Whereupon, at 7:52 p.m., the Examination

   11         of this Witness was concluded.)

   12

   13                          ________________________

   14                          VICTORIA DINIELLI

   15

   16    Subscribed and sworn to before me

   17    this ____ day of _________, 2017.

   18

   19    _________________________

   20         NOTARY PUBLIC

   21

   22

   23

   24

   25
                                                                           294 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 294 of 296 PageID
                                     2022


    2

    3                             I N D E X

    4    WITNESS                                              PAGE

    5    VICTORIA DINIELLI

    6    EXAMINATION BY

    7    MR. HENRY                                            15

    8    EARLINE SKATES

    9    EXAMINATION BY

   10    MR. HENRY                                           285

   11

   12    PRODUCTION REQUESTS                              PAGE/LINE

   13    Copy of documents reviewed by the witness         30/ 7
         on the date of the deposition
   14
         Witness' job application with Freeport            38/21
   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
                                                                           295 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 295 of 296 PageID
                                     2023


    2                         E X H I B I T S

    3    PLAINTIFF'S          DESCRIPTION                    PAGE

    4      EXHIBIT 1          Document                       134

    5      EXHIBIT 2          Document                       143

    6      EXHIBIT 3          Document                       153

    7      EXHIBIT 4          document                       159

    8      EXHIBIT 5          document                       189

    9      EXHIBIT 6          Document                       203

   10      EXHIBIT 8          Document                       221

   11      EXHIBIT 25         Document                       232

   12      EXHIBIT 36         Document                       253

   13

   14                  QUESTIONS MARKED FOR A RULING

   15                          PAGE/LINE

   16                          176/ 2

   17

   18

   19

   20

   21

   22

   23

   24

   25
                                                                           296 #:
Case 2:15-cv-01136-SJF-AYS Document 49-22 Filed 02/24/17 Page 296 of 296 PageID
                                     2024


    2    CERTIFICATION

    3    STATE OF NEW YORK      )

    4                       :   SS.:

    5    COUNTY OF NEW YORK     )

    6               I, CHANDRA D. BROWN, a Notary Public for

    7    and within the State of New York, do hereby certify:

    8               That the witness whose examination is

    9    hereinbefore set forth was duly sworn and that such

   10    examination is a true record of the testimony given

   11    by that witness.

   12               I further certify that I am not related to

   13    any of the parties to this action by blood or by

   14    marriage and that I am in no way interested in the

   15    outcome of this matter.

   16               IN WITNESS WHEREOF, I have hereunto set my

   17    hand the 25th day of January, 2017.

   18

   19                           _________________________

   20                           CHANDRA D. BROWN, RPR, CLR

   21

   22

   23

   24

   25
